                         UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS




IN RE BROILER CHICKEN ANTITRUST         Case No. 1:16-cv-08637
LITIGATION
This Document Relates To: All Actions
                                        DIRECT PURCHASER PLAINTIFFS’
                                        SECOND AMENDED AND
                                        CONSOLIDATED CLASS ACTION
                                        COMPLAINT




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         Plaintiffs bring this action on behalf of themselves individually and on behalf of a

plaintiff class (the “Class”) consisting of all persons who purchased Broilers1 directly from any

of the Defendants or their subsidiaries or affiliates for use or delivery in the United States from at

least as early as January 1, 2008 until the Present (the “Class Period”). Plaintiffs bring this

action for treble damages under the antitrust laws of the United States against Defendants, and

demand a trial by jury.


                                    I.   NATURE OF ACTION

         1.     Plaintiffs are informed and believe, and thereon allege, that in order to maintain

price stability and increase profitability, beginning at least as early as January 2008 Defendants

and their co-conspirators conspired and combined to fix, raise, maintain, and stabilize the price

of Broilers. The principal (but not exclusive) method by which Defendants implemented and

executed their conspiracy was by coordinating their output and limiting production with the

intent and expected result of increasing prices of Broilers in the United States. In furtherance of

their conspiracy, Defendants exchanged detailed, competitively sensitive, and closely-guarded

non-public information about prices, capacity, sales volume, and demand, including through

third party co-conspirator Agri Stats. Plaintiffs are further informed and believe that Defendants

fraudulently concealed their anticompetitive conduct from Plaintiffs and the Class in furtherance

of the conspiracy, and as a result there may be other methods by which Defendants carried out

their conspiracy which presently are not known to Plaintiffs. For instance, it was not publicly




1
  “Broilers,” as defined in ¶ 79 and as used in this complaint, are chickens raised for meat consumption to
be slaughtered before the age of 13 weeks, and which may be sold in a variety of forms, including fresh or
frozen, raw or cooked, whole or in parts, or as a meat ingredient in a value added product, but excluding
chicken that is grown, processed, and sold according to halal, kosher, free range, or organic standards.



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known until November 2016 that certain Defendants and their co-conspirators apparently

manipulated and artificially inflated a widely used Broiler price index, the Georgia Dock.

         2.    Broilers constitute approximately 98% of all chicken meat sold in the United

States. Defendants are the leading suppliers of Broilers in an industry with over $30 billion in

annual wholesale revenue. The Broiler industry is highly concentrated, with a small number of

large producers in the United States controlling supply.           Defendants collectively control

approximately 90% of the wholesale Broiler market. Since the 1950s, the production of Broilers

has become highly industrialized and commoditized.

         3.    Historically, the Broiler industry was marked by boom and bust cycles where, in

response to rising prices, producers increased production, which caused an oversupply and

resulting decrease in pricing. However, that market pattern changed markedly in 2008. By their

wrongful conduct as alleged in this complaint, Defendants not only materially reduced or

eliminated the historical boom and bust cycle of the Broiler industry, they propped up Broiler

prices during periods of rapidly falling input costs by, among other means, coordinating supply

restrictions and manipulating one or more Broiler price indices.

         4.    In 2007, Pilgrim’s and Tyson attempted to cut their production levels enough to

cause industry prices to rise. However, despite Pilgrim’s and Tyson’s combined 40% market

share, their production cuts in 2007 were not enough to increase prices through supply cuts

because other Broiler companies increased their production.

         5.    As a result, in January 2008 Pilgrim’s and Tyson changed tactics and concluded

that only through broader cooperation among major producers in the Broiler industry could

supply be cut enough to force prices to increase. In January 2008, both Pilgrim’s and Tyson

made clear to the Broiler industry that neither Pilgrim’s nor Tyson would continue to cut




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production while their competitors used the opportunity to take away Pilgrim’s and Tyson’s

market share. A few days after attending an industry event in late January 2008, Tyson’s CEO

announced Tyson would be raising prices because “we have no choice [but] to raise prices

substantially.” A day later, a Pilgrim’s executive announced publicly that Pilgrim’s would be

cutting its production and “the rest [] of the market is going to have to pick-up a fair share in

order for the production to come out of the system.”

         6.    Subsequently, as described in detail below, the other Defendants and Producer

Co-Conspirators followed Pilgrim’s and Tyson’s call to arms and made substantial cuts to their

own production. However, unlike Pilgrim’s and Tyson’s prior production cuts, in 2008 the

Defendants did not rely solely on the ordinary mechanisms available to temporarily reduce

production, which would have permitted production to be quickly ramped up if prices rose.

Instead, Defendants and their Producer Co-Conspirators cut their ability to ramp up production

for 18 months or more by destroying Broiler breeder hens in their Broiler breeder flocks

responsible for supplying the eggs Defendants raise into Broilers. This destruction of the Broiler

breeder flock was unparalleled and the consequences continue to reverberate in the Broiler

industry to present day. Further, when some Defendants in 2010 became “undisciplined” and

began gradually increasing their production, Defendants made a second wave of coordinated

production cuts in 2011 and 2012, which included further substantial destruction of industry

Broiler breeder flocks.   Defendants continued to limit the United States Broiler supply in

subsequent years by destroying eggs, relying upon one another’s production to meet customer

needs, and exporting excess Broiler breeder flocks to Mexico, even when doing so was against

their independent economic interest.




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         7.    The consequence of Defendants’ cuts in 2008 and 2011-2012 has been a nearly

50% increase in Broiler wholesale prices by one measure since 2008, despite input costs

(primarily corn and soybeans) falling roughly 20% to 23% over the same time period. The rise

in Broiler prices relative to input costs has led to record profits for Defendants.

         8.    To effectuate their conspiracy, Defendants turned to a modernized version of an

antitrust conspiracy in the Broiler industry during the 1970s. During the 1970s, major Broiler

producers held a weekly conference call to discuss production levels and prices for Broilers.

After the Department of Justice and civil antitrust plaintiffs sued, that practice was stopped.

However, by January 2008, modern technology provided a way for Defendants to share detailed

production and pricing information without industry-wide conference calls. Producers now

electronically transfer vast amounts of production data to Agri Stats which, while supposedly

anonymous, in fact provide Defendants with sufficient detail to determine with reasonable

accuracy producer-level data on production, cost, and general efficiencies. This permits the

Defendants to share, on a weekly and/or monthly basis, their confidential production and pricing

information, including forward-looking production information, which is easily forecasted on

Broiler breeder flock data that is reported and shared.

         9.    From late 2014 into 2016, Broiler input costs fell significantly. Economic theory

predicts that in a competitive market, all else being equal, Broiler prices similarly would fall.

However, prices remained artificially inflated due to Defendants’ and their Broiler Co-

Conspirators’ agreement to artificially restrict production and their manipulation of the Georgia

Dock Broiler price index, published by the Georgia Department of Agriculture (“GDA”). The

facts surrounding this episode were unknown to Plaintiffs and the public until November 2016,

when it became public that the United States Department of Agriculture (“USDA”) had




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requested in July 2016 that the GDA investigate and verify the accuracy of the Broiler prices

provided to the GDA by several Defendants and their Producer Co-Conspirators. When the

GDA declined to do so, citing the industry’s and its own lack of interest in verifying prices,

USDA began publishing its own Broiler price statistic, which confirmed that the Georgia Dock

price was inflated over already supracompetitive prices.

         10.   There are numerous “plus factors” in the Broiler industry during the Class Period

including, but not limited to, the following: (a) extensive information sharing through Agri Stats,

(b) numerous opportunities to collude in a variety of forums, (c) a coordinated change from

contracts with fixed Broiler prices to Broiler prices that float with the Broiler spot market, (d)

inter-Defendant trades and purchases that often are against independent self-interest, and (e)

multiple industry characteristics which facilitate collusion, such as high vertical integration, high

barriers to entry, high Broiler industry consolidation and concentration, inelastic supply and

demand, a lack of significant substitutes for Broilers, and a history of government investigations

and collusive conduct.

         11.   Defendants’ restriction of Broiler supply had the intended purpose and effect of

increasing Broiler prices to Plaintiffs and the Class.          First, as Defendants themselves

acknowledge, supply and demand in the Broiler industry are inelastic. Therefore, a coordinated

decrease in supply as alleged herein necessarily will result in an increase in prices. As one

industry consultant noted, “[b]ecause of the inelastic nature of the supply and demand [of

Broilers,] a reduction in supply will produce an outcome more preferable to the industry than

maintaining supply with a lower price.”

         12.   Second, as acknowledged by industry experts and Defendants themselves, pricing

in virtually all Broiler sales is tied to spot market prices, which are publicly known and available




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through industry price indices. An expert economist has testified that “internal [Defendant]

documents show that virtually all chicken products, even if they’re not sold spot, are tied to the

spot prices. . . .”

         13.      Therefore, Defendants knew and intended that their coordinated limitation and

reduction in Broiler supply would artificially increase all Broiler prices—for spot market and

contract sales—above the level they would have been absent the conduct alleged herein.

         14.      As a result of Defendants’ unlawful conduct, Plaintiffs and the other members of

the Class paid artificially inflated prices for Broilers during the Class Period. Such prices

exceeded the amount they would have paid if the price for Broilers had been determined by a

competitive market. Thus, Plaintiffs and Class members were directly injured by Defendants’

conduct.

         15.      Plaintiffs bring this action on behalf of all Class members to recover for the injury

caused by Defendants’ conduct in restricting the supply of Broilers and increasing the price of

Broilers.      Plaintiffs seeks injunctive relief, treble damages, costs of suit, and reasonable

attorneys’ fees arising from Defendants’ violation of Section 1 of the Sherman Act (15 U.S.C.

§1).

                               II.   JURISDICTION AND VENUE

         16.      This action is instituted under Sections 4 and 16 of the Clayton Act, 15 U.S.C.

§§15 and 26, to recover treble damages and the costs of this suit, including reasonable attorneys’

fees, against Defendants for the injuries sustained by Plaintiffs and the members of the Plaintiff

Class by virtue of Defendants’ violations of Section 1 of the Sherman Act, 15 U.S.C. §1, and to

enjoin further violations.

         17.      This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337, and Sections 4 and 16

of the Clayton Act, 15 U.S.C. §§15(a) and 26.


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         18.   Venue is appropriate in this District under Sections 4, 12, and 16 of the Clayton

Act, 15 U.S.C. §§15, 22 and 26 and 28 U.S.C. §1391(b), (c) and (d), because one or more

Defendants resided or transacted business in this District, is licensed to do business or is doing

business in this District, and because a substantial portion of the affected interstate commerce

described herein was carried out in this District.

         19.   This Court has personal jurisdiction over each Defendant because, inter alia, each

Defendant: (a) transacted business throughout the United States, including in this District; (b)

manufactured, sold, shipped, and/or delivered substantial quantities of Broilers throughout the

United States, including this District; (c) had substantial contacts with the United States,

including this District; and/or (d) engaged in an antitrust conspiracy that was directed at and had

a direct, foreseeable, and intended effect of causing injury to the business or property of persons

residing in, located in, or doing business throughout the United States, including this District.

         20.   The activities of the Defendants and all co-conspirators, as described herein, were

within the flow of, were intended to, and did have direct, substantial and reasonably foreseeable

effects on the foreign and interstate commerce of the United States.

         21.   No other forum would be more convenient for the parties and witnesses to litigate

this case.

                                          III. PARTIES

   A. Plaintiffs

         22.   Maplevale Farms, Inc. is a New York corporation with its principal place of

business in Falconer, New York. It purchased Broilers directly from one or more Defendants

during the Class Period and suffered antitrust injury as a result of the violations alleged in this

Complaint.




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         23.   John Gross and Company, Inc. is a Pennsylvania corporation with its principal

place of business in Mechanicsburg, Pennsylvania. It purchased Broilers directly from one or

more Defendants during the Class Period and suffered antitrust injury as a result of the violations

alleged in this Complaint.

         24.   Ferraro Foods, Inc. is a New Jersey corporation with its principal place of

business in Piscataway, New Jersey. It purchased Broilers directly from one or more Defendants

during the Class Period and suffered antitrust injury as a result of the violations alleged in this

Complaint.

         25.   Ferraro Foods of North Carolina, LLC, is a North Carolina Limited Liability

Company with its principal place of business in Mebane, North Carolina. It purchased Broilers

directly from one or more Defendants during the Class Period and suffered antitrust injury as a

result of the violations alleged in this Complaint.

         26.   Joe Christiana Food Distributors, Inc. is a Louisiana corporation with its principal

place of business in Baton Rouge, Louisiana. It purchased Broilers directly from one or more

Defendants during the Class Period and suffered antitrust injury as a result of the violations

alleged in this Complaint.

         27.   Barters International LLC, is a Mississippi Limited Liability Company with its

principal place of business in Jackson, Mississippi. It purchased Broilers directly from one or

more Defendants during the Class Period and suffered antitrust injury as a result of the violations

alleged in this Complaint.

         28.   Cedar Farms Co., Inc. is a Pennsylvania corporation with a principal place of

business in Philadelphia, Pennsylvania.         It purchased Broilers directly from one or




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more Defendants during the Class Period and suffered antitrust injury as a result of the violations

alleged in this Complaint.

   B. Defendants

         1.    Koch Foods Defendants

         29.   Koch Foods, Inc. is a privately held Illinois corporation with its corporate

headquarters in Park Ridge, Illinois. It has its sales office in Flowood, Mississippi and its export

office in Chattanooga, Tennessee. During the Class Period, Koch Foods, Inc. sold Broilers in

interstate commerce, directly or through its wholly-owned or controlled affiliates, to purchasers

in the United States.

         30.   JCG Foods of Alabama, LLC is an Alabama corporation with its headquarters in

Park Ridge, Illinois, and is a wholly-owned subsidiary of Koch Foods, Inc. During the Class

Period, JCG Foods of Alabama, LLC sold Broilers in interstate commerce, directly or through its

wholly-owned or controlled affiliates, to purchasers in the United States.

         31.   JCG Foods of Georgia, LLC is a Georgia corporation with its headquarters in

Park Ridge, Illinois, and is a wholly-owned subsidiary of Koch Foods, Inc. During the Class

Period, JCG Foods of Georgia, LLC sold Broilers in interstate commerce, directly or through its

wholly-owned or controlled affiliates, to purchasers in the United States.

         32.   Koch Meat Co., Inc. is an Illinois corporation with its headquarters in Chicago,

Illinois, and is a wholly-owned subsidiary of Koch Foods, Inc. During the Class Period, Koch

Meat Co., Inc. sold Broilers in interstate commerce, directly or through its wholly-owned or

controlled affiliates, to purchasers in the United States.

         33.   Defendants Koch Foods, Inc., JCG Foods of Alabama, LLC, JCG Foods of

Georgia, LLC, and Koch Meat Co., Inc. are collectively referred to as “Koch Foods.”




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               2.      Tyson Defendants

         34.   Tyson Foods, Inc. is a publicly traded Delaware corporation headquartered in

Springdale, Arkansas. During the Class Period, Tyson Foods, Inc. and/or its predecessors,

wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce,

directly or through its wholly-owned or controlled affiliates, to purchasers in the United States.

         35.   Tyson Chicken, Inc. is a Delaware corporation headquartered in Springdale,

Arkansas and is a wholly-owned subsidiary of Tyson Foods, Inc. During the Class Period,

Tyson Chicken, Inc. sold Broilers in interstate commerce, directly or through its wholly-owned

or controlled affiliates, to purchasers in the United States.

         36.   Tyson Breeders, Inc. is a Delaware corporation headquartered in Springdale,

Arkansas and is a wholly-owned subsidiary of Tyson Foods, Inc. During the Class Period,

Tyson Breeders, Inc. sold Broilers in interstate commerce, directly or through its wholly-owned

or controlled affiliates, to purchasers in the United States.

         37.   Tyson Poultry, Inc. is a Delaware corporation headquartered in Springdale,

Arkansas and is a wholly-owned subsidiary of Tyson Poultry, Inc. During the Class Period,

Tyson Poultry, Inc. sold Broilers in interstate commerce, directly or through its wholly-owned or

controlled affiliates, to purchasers in the United States.

         38.   Defendants Tyson Foods, Inc., Tyson Chicken, Inc., Tyson Breeders, Inc., and

Tyson Poultry, Inc. are collectively referred to as “Tyson.”

               3.      Pilgrim’s Pride Corporation

         39.   Pilgrim’s Pride Corporation is a Delaware corporation headquartered in Greeley,

Colorado (hereinafter “Pilgrim’s”). JBS USA Holdings, Inc. holds a 75.3% controlling interest

in Pilgrim’s. JBS USA Holdings and Pilgrim’s are subsidiaries of JBS SA, a Brazilian

corporation headquartered in Sao Paulo, Brazil. During the Class Period, Pilgrim’s sold Broilers


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in interstate commerce, directly or through its wholly-owned or controlled affiliates, to

purchasers in the United States.

               A.      Around December 1, 2008, Pilgrim’s filed a voluntary Chapter 11 petition
                       in the United States Bankruptcy Court for the Northern District of Texas.
                       Effective December 28, 2009, Pilgrim’s was discharged from bankruptcy
                       under a plan of reorganization that paid all creditors in full largely due to
                       rising Broiler prices leading to increased profits at Pilgrim’s. Pilgrim’s
                       participated in the conspiracy alleged herein throughout the Class Period
                       through the actions of many of Pilgrim’s most senior executives, including
                       former CEO Dr. Don Jackson and current President & CEO Bill Lovette,
                       and others with responsibility for Broilers.
               B.      After its discharge from bankruptcy, Pilgrim’s reaffirmed its participation
                       in the conspiracy, in part by calls-to-arms and pledges by and between
                       Defendants that were followed by actions that resulted in further idling of
                       production capacity, reduced production, and price increases. Other
                       specific post-discharge actions taken by Pilgrim’s in furtherance of the
                       conspiracy are alleged (see below) and are consistent with the actions
                       taken by all of the Defendants and Pilgrim’s throughout the Class Period.
               C.      Regardless of whether Pilgrim’s participated in the conspiracy throughout
                       the Class Period or joined or reaffirmed membership in the conspiracy
                       immediately after its discharge from bankruptcy, this Complaint seeks to
                       recover damages from Pilgrim’s only for Pilgrim’s post-discharge
                       conduct, and in no way seeks to violate any Orders of the above-
                       referenced Bankruptcy Court. However, by operation of law, the damages
                       arising from Pilgrim’s post-discharge conduct include damages incurred
                       by Plaintiffs and the Class throughout the Class Period. This Complaint
                       also seeks to recover damages from the other Defendants for Pilgrim’s
                       pre-discharge conspiratorial conduct. Therefore, Plaintiffs plead only a
                       single Class Period as to all Defendants, but damages as to Pilgrim’s are
                       governed by the principles of joint and several liability as noted above.

               4.      Perdue Defendants

         40.   Perdue Farms, Inc. is a privately held Maryland corporation headquartered in

Salisbury, Maryland. During the Class Period, Perdue Farms, Inc. and/or its predecessors,

wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce,

directly or through its wholly-owned or controlled affiliates, to purchasers in the United States.




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         41.   Perdue Foods LLC is a privately held Maryland limited liability company

headquartered in Salisbury, Maryland. Perdue Foods LLC is a subsidiary of Perdue Farms, Inc.

During the Class Period, Perdue Foods, LLC and/or its predecessors, wholly-owned or controlled

subsidiaries, or affiliates sold Broilers in interstate commerce, directly or through its wholly-

owned or controlled affiliates, to purchasers in the United States.

         42.   Defendants Perdue Farms, Inc. and Perdue Foods LLC are collectively referred to

as “Perdue.”

               5.       Sanderson Farms Defendants

         43.   Sanderson Farms, Inc. is a publicly held Mississippi corporation headquartered in

Laurel, Mississippi. During the Class Period, Sanderson Farms, Inc. and/or its predecessors,

wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce,

directly or through its wholly-owned or controlled affiliates, to purchasers in the United States.

         44.   Sanderson Farms, Inc. (Foods Division) is a Mississippi corporation located in

Laurel, Mississippi, and is a wholly-owned subsidiary of Sanderson Farms, Inc. During the

Class Period, Sanderson Farms, Inc. (Foods Division) sold Broilers in interstate commerce,

directly or through its wholly-owned or controlled affiliates, to purchasers in the United States.

         45.   Sanderson Farms, Inc. (Production Division) is a Mississippi corporation located

in Laurel, Mississippi, and is a wholly-owned subsidiary of Sanderson Farms, Inc. During the

Class Period, Sanderson Farms, Inc. (Production Division) sold or supplied for sale Broilers in

interstate commerce, directly or through its wholly-owned or controlled affiliates, to purchasers

in the United States.

         46.   Sanderson Farms, Inc. (Processing Division) is a Mississippi corporation located

in Laurel, Mississippi, and is a wholly-owned subsidiary of Sanderson Farms, Inc. During the




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Class Period, Sanderson Farms, Inc. (Processing Division) sold Broilers in interstate commerce,

directly or through its wholly-owned or controlled affiliates, to purchasers in the United States.

         47.     Defendants Sanderson Farms, Inc., Sanderson Farms, Inc. (Foods Division),

Sanderson Farms, Inc. (Production Division), and Sanderson Farms, Inc. (Processing Division)

are collectively referred to as “Sanderson Farms.”

                 6.     Wayne Farms, LLC

         48.     Wayne Farms, LLC is a Delaware corporation headquartered in Oakwood,

Georgia. It is an operating affiliate of its parent company, Continental Grain Company, a

privately held company in Arlon, Belgium. During the Class Period, Wayne Farms, LLC and/or

its predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the

United States.

                 7.     Mountaire Farms Defendants

         49.     Mountaire Farms, Inc. is a privately held Delaware corporation with its

headquarters in Millsboro, Delaware. During the Class Period, Mountaire Farms, Inc. and/or its

predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the

United States.

         50.     Mountaire Farms, LLC is a privately held Arkansas corporation located in Little

Rock, Arkansas, and is a wholly-owned subsidiary of Mountaire Farms, Inc. During the Class

Period, Mountaire Farms, LLC and/or its predecessors, wholly-owned or controlled subsidiaries,

or affiliates sold Broilers in interstate commerce, directly or through its wholly-owned or

controlled affiliates, to purchasers in the United States.




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         51.   Mountaire Farms of Delaware, Inc. is a privately held Delaware corporation

located in Millsboro, Delaware, and is a wholly-owned subsidiary of Mountaire Farms, Inc.

During the Class Period, Mountaire Farms of Delaware, Inc. and/or its predecessors, wholly-

owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or

through its wholly-owned or controlled affiliates, to purchasers in the United States.

         52.   Defendants Mountaire Farms, Inc., Mountaire Farms, LLC, and Mountaire Farms

of Delaware, Inc. are collectively referred to as “Mountaire.”

               8.      Peco Foods

         53.   Peco Foods, Inc. is a privately held Alabama corporation headquartered in

Tuscaloosa, Alabama.      During the Class Period, Peco Foods, Inc. and/or its predecessors,

wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce,

directly or through its wholly-owned or controlled affiliates, to purchasers in the United States.

               9.      Foster Farms

         54.   Foster Farms, LLC is a privately held California corporation headquartered in

Modesto, California. During the Class Period, Foster Farms, LLC and/or its predecessors,

wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce,

directly or through its wholly-owned or controlled affiliates, to purchasers in the United States.

               10.     House of Raeford Farms

         55.   House of Raeford Farms, Inc. is a privately held North Carolina corporation

headquartered in Rose Hill, North Carolina. During the Class Period, House of Raeford operated

in part through a division referred to as “Columbia Farms,” which is a group of Broiler facilities

and operations originally named Columbia Farms, Inc. and Columbia Farms of Georgia, Inc.

when purchased by House of Raeford in 1998. During the Class Period, House of Raeford

Farms, Inc. and/or its predecessors, wholly-owned or controlled subsidiaries, or affiliates sold


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Broilers in interstate commerce, directly or through its wholly-owned or controlled affiliates, to

purchasers in the United States.

                 11.    Simmons Foods

         56.     Simmons Foods, Inc. is a privately held Arkansas corporation headquartered in

Siloam Springs, Arkansas.          During the Class Period, Simmons Foods, Inc. and/or its

predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the

United States.

                 12.    Fieldale Farms

         57.     Fieldale Farms Corporation is a privately held Georgia corporation headquartered

in Baldwin, Georgia.        During the Class Period, Fieldale Farms Corporation and/or its

predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the

United States.

                 13.    George’s Defendants

         58.     George’s, Inc. is a privately held Arkansas corporation headquartered in

Springdale, Arkansas. During the Class Period, George’s, Inc. and/or its predecessors, wholly-

owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or

through its wholly-owned or controlled affiliates, to purchasers in the United States.

         59.     George’s Farms, Inc. is a privately held Arkansas corporation headquartered in

Springdale, Arkansas, and is a wholly-owned subsidiary of George’s Inc. During the Class

Period, George’s Farms, Inc. and/or its predecessors, wholly-owned or controlled subsidiaries, or

affiliates sold and/or supplied Broilers in interstate commerce, directly or through its wholly-

owned or controlled affiliates, to purchasers in the United States.


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         60.   Defendants George’s, Inc. and George’s Farms, Inc. are collectively referred to as

“George’s.”

               14.      O.K. Foods Defendants

         61.   Defendant O.K. Foods, Inc. is an Arkansas corporation headquartered in Fort

Smith, Arkansas. O.K. Foods, Inc. is a subsidiary of Industrias Bachoco S.A., a Brazilian

corporation headquartered in Sao Paulo, Brazil. During the Class Period, O.K. Foods, Inc.

and/or its predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in

interstate commerce, directly or through its wholly-owned or controlled affiliates, to purchasers

in the United States.

         62.   O.K. Farms, Inc. is an Arkansas corporation headquartered in Fort Smith,

Arkansas, and is a wholly-owned subsidiary of O.K. Foods, Inc. During the Class Period, O.K.

Farms, Inc. and/or its predecessors, wholly-owned or controlled subsidiaries, or affiliates sold

Broilers in interstate commerce, directly or through its wholly-owned or controlled affiliates, to

purchasers in the United States.

         63.   O.K. Industries, Inc. is an Arkansas corporation headquartered in Fort Smith,

Arkansas, and is a wholly-owned subsidiary of O.K. Foods, Inc. During the Class Period, O.K.

Industries, Inc. and/or its predecessors, wholly-owned or controlled subsidiaries, or affiliates sold

Broilers in interstate commerce, directly or through its wholly-owned or controlled affiliates, to

purchasers in the United States.

         64.   Defendants O.K. Foods, Inc., O.K. Farms, Inc., and O.K. Industries, Inc. are

collectively referred to as “O.K. Foods.”

         65.   “Defendant” or “Defendants” as used herein, includes, in addition to those named

specifically above, all of the named Defendants’ predecessors, including Broilers companies that

merged with or were acquired by the named Defendants and each named Defendant’s wholly-


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owned or controlled subsidiaries or affiliates that sold Broilers in interstate commerce, directly or

through its wholly-owned or controlled affiliates, to purchasers in the United States during the

Class Period.

         66.    To the extent that subsidiaries and divisions within each Defendant’s corporate

family sold or distributed Broilers to direct purchasers, these subsidiaries played a material role

in the conspiracy alleged in this Complaint because Defendants wished to ensure that the prices

paid for such Broilers would not undercut the artificially raised and inflated pricing that was the

aim and intended result of Defendants’ coordinated and collusive behavior as alleged herein.

Thus, all such entities within the corporate family were active, knowing participants in the

conspiracy alleged herein, and their conduct in selling, pricing, distributing and collecting

monies from Plaintiffs and the members of the Plaintiff Class for Broilers was known to and

approved by their respective corporate parent named as a Defendant in this Complaint.

                          IV. AGENTS AND CO-CONSPIRATORS

         67.    Agri Stats, Inc. is an Indiana corporation located in Fort Wayne, Indiana and is a

subsidiary of Eli Lilly & Co. Eli Lilly & Co. is an Indiana corporation located in Indianapolis,

Indiana. Throughout the Class Period, Agri Stats acted as an agent and/or co-conspirator of

Defendants by facilitating the exchange of confidential, proprietary, and competitively sensitive

data among Defendants and their co-conspirators.

         68.    Claxton Poultry Farms, Inc. is a Georgia corporation located in Claxton, Georgia.

Norman W. Fries, Inc., d/b/a Claxton Poultry Farms, Inc. is a Georgia corporation located in

Claxton, Georgia. Claxton Poultry Farms, Inc. and Norman W. Fries, Inc. are collectively

referred to as “Claxton Poultry.” Throughout the Class Period, Claxton Poultry acted as a co-

conspirator of Defendants by participating in the conspiracy alleged herein.




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         69.   Harrison Poultry, Inc. is a Georgia corporation located in Bethlehem, Georgia.

Throughout the Class Period, Harrison Poultry, Inc. acted as a co-conspirator of Defendants by

participating in the conspiracy alleged herein.

         70.   Mar-Jac Poultry, Inc. is a Delaware corporation located in Gainesville, Georgia.

Mar-Jac Poultry MS, LLC is a Mississippi limited liability corporation located in Gainesville,

Georgia. Mar-Jac Poultry AL, LLC is an Alabama limited liability corporation located in

Gainesville, Georgia. Mar-Jac AL/MS, Inc. is a Delaware corporation located in Gainesville,

Georgia. Mar-Jac Poultry, LLC is a Delaware corporation located in Gainesville, Georgia. Mar-

Jac Holdings, LLC is a Delaware corporation located in Gainesville, Georgia and is the parent

company of Mar-Jac Poultry, Inc., Mar Jac Poultry MS LLC, Mar-Jac AL, LLC, Mar-Jac

AL/MS, LLC, and Mar-Jac Poultry, LLC. Co-Conspirators Mar-Jac Poultry, Inc., Mar-Jac

Poultry MS, LLC, Mar-Jac Poultry AL, LLC, Mar-Jac AL/MS, Inc., Mar-Jac Poultry, LLC and

Mar-Jac Holdings, LLC are collectively referred to as “Mar-Jac Poultry.” Throughout the Class

Period, Mar-Jac Poultry acted as a co-conspirator of Defendants by participating in the

conspiracy alleged herein.

         71.   When appropriate in the context, Mar-Jac Poultry, Harrison Poultry, and Claxton

Poultry are referred to collectively in this Complaint as the “Producer Co-Conspirators.”

         72.   Various other persons, firms and corporations not named as defendants have

participated as co-conspirators with Defendants and have performed acts and made statements in

furtherance of the conspiracy. The Defendants are jointly and severally liable for the acts of

their co-conspirators whether or not named as defendants in this Complaint.

         73.   Whenever reference is made to any act of any corporation, the allegation means

that the corporation engaged in the act by or through its officers, directors, agents, employees or




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representatives while they were actively engaged in the management, direction, control or

transaction of the corporation’s business or affairs.

          74.   Each of the Defendants named herein acted as the agent or joint-venturer of or for

the other Defendants with respect to the acts, violations and common course of conduct alleged

herein.

          75.   Defendants are also liable for acts done in furtherance of the alleged conspiracy

by companies they acquired through mergers and acquisitions.

                                   V. TRADE AND COMMERCE

          76.   During the Class Period, each Defendant, directly or through its subsidiaries or

other affiliates, sold Broilers in the United States in a continuous and uninterrupted flow of

interstate commerce and foreign commerce, including through and into this judicial district.

          77.   During the Class Period, Defendants collectively controlled a majority of the

market for Broilers in the United States.

          78.   Defendants’ business activities substantially affected interstate trade and

commerce in the United States and caused antitrust injury in the United States.

                               VI. FACTUAL ALLEGATIONS

    A. Background on Broilers.

                1.   “Broilers.”

          79.   As used in this Complaint, “Broilers” are chickens raised for meat consumption to

be slaughtered before the age of 13 weeks, and which may be sold in a variety of forms,

including fresh or frozen, raw or cooked, whole or in parts, or as a meat ingredient in a value

added product, but excluding chicken that is grown, processed, and sold according to halal,

kosher, free range, or organic standards.




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                  2.   Broilers Are A Commodity.

          80.     According to a 2012 report by Focus Management Group, Broilers “are a

commodity product with little or no product differentiation based on the processors.”

          81.     Defendants acknowledge that Broilers are a commodity. For instance, Pilgrim’s

CEO commented in February 2014 that “I would add too, our business…the [Broiler] chicken

business per se is a commodity business.”

                  3.   The United States Broiler Market Is A National Market Worth Tens Of
                       Billions Of Dollars Annually.

          82.     According to the U.S. Poultry & Egg Association, the value of wholesale U.S.

Broilers produced in 2014 was $32.7 billion, up 6 percent from 2013. The market value varied

between $21.8 and $30.7 billion from 2008-2013.

          83.     There is a single national market for Broilers in the United States. Prices for

Broilers sold in the United States are quoted in whole bird or disassembled parts, with

adjustments for transportation, product form (i.e., degree of processing or added value), and

packaging at the time of sale.

          84.     About 50-70% of Broilers are sold under contract with a customer, about 10-20%

are sold on the spot market, and roughly 17-20% are exported.

          85.     According to expert testimony in July 2011 in Adams v. Pilgrim’s Pride,2 spot

market Broilers are “anything left over [that is] sold fresh” within 3 days. Broiler industry

executives sometimes refer to the Broiler spot market as the “sell it or smell it market,” meaning

that if the Broiler isn’t sold within 3 days, then it will rot. According to Janette Barnard, founder

of a spot market trading platform called The Poultry Exchange, “there are no secrets in the spot

market, very few anyway. As soon as a sales manager picks up the phone and calls a customer

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or trader, the word is out and other people will soon know that X company has one load

available.”

         86.   Exports of Broilers from the United States account for approximately 45% of all

United States meat exports. Broilers produced in the U.S. are exported to well over 100 different

countries, with the major export markets including Mexico, Canada, Hong Kong, and China.

Some of the exports from the United States include products less desirable to United States

consumers, such as chicken feet or dark meat, but exports also increasingly include white meats

and other products widely consumed in the United States.

         87.   Exports of Broilers from the United States have increased since 2007 both in

quantity and value. Before the Class Period, in 2006 exports constituted only 14.8% of U.S.

exports and increased to 16.5% by 2007. But between 2008-2014 export levels were never lower

than 18.5% of U.S. production levels, dropping down to 16% in 2015 due to export bans by

countries due to Avian Flu concerns.

         88.   While this complaint does not seek damages for Broilers sold into export

commerce, Broilers exported from the United States decrease available supply and increase

Broiler prices in the United States.    Therefore, exports by Defendants were an important

mechanism used by Defendants to effect their United States-based Broiler market conspiracy.

               4.   Broiler Prices Have Risen Steadily Since 2008.

         89.   Broiler prices were significantly elevated during the Class Period due to

Defendants’ conduct. This is contrary to pricing patterns prior to the Class Period, and contrary

to what would be expected in a competitive market. For instance, during much of the Great

Recession, Broiler prices steadily rose despite flat or declining input costs. Similarly, Broiler

prices during the 2015 through 2016 time period remained artificially inflated and failed to




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account for the historic drop in corn and soybean prices, which constitute 50 – 70% of Broiler

input costs (see below, ¶ 327).




         90.   As of November 2013, a Bloomberg News compilation of industry analyst

forecasts predicted Broiler prices would drop 7.1% in 2014 due to a 50% fall in corn prices, but

instead, Broiler prices increased 9.2%. Since January 1, 2008, by one measure Broiler prices

have been at or near all-time highs roughly half of the time, even though the 2008-2009 period

was during the Great Recession.

               5.   Overview of the Georgia Dock, USDA Composite, Urner Barry, and EMI
                    Broiler price indices.

         91.   Broiler prices are reported primarily by three entities: Urner Barry (a commodity

price reporting service), the Georgia Department of Agriculture (aka “Georgia Dock,”), and the



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USDA.      Additionally, as discussed below, Agri Stats collects detailed pricing information

through its subsidiary Express Markets, Inc. (“EMI”).

         92.    Urner Barry collects and publishes daily price information for Broilers, while for

the USDA’s Composite index, USDA collects and publishes Broiler price information on a

weekly basis. USDA’s Composite price index is publicly available for free. Urner Barry’s

Broiler price information is subscription-based, so all Broiler producers and many Broiler

purchasers subscribe for a fee. The USDA and Urner Barry’s Broiler price indices are based

upon a system of double verification, which includes telephonic and written surveys of all or

nearly all Broiler producers, but also verification of reported prices from Broiler purchasers such

as brokers and customers.       The Georgia Dock price survey methodology, which contrasts

materially with those of the USDA and Urner Barry, is discussed below in Section VI(B).

         93.    The most detailed price report is not publicly available and is produced by Agri

Stats and its subsidiary, Express Markets, Inc. According to a May 2010 FarmEcon study,

EMI’s pricing report3 includes “pricing data on whole birds and chicken parts that is

considerably more detailed than the USDA,” Urner Barry, or Georgia Dock reports, as it is based

on actual sales invoices from Broiler companies.

         94.    Published prices for Broilers from Urner Barry, Georgia Dock, and USDA relate

to the spot market for Broilers. However, prices for Broilers, whether sold under contract or on




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  Agri Stats subsidiary EMI was formed around 2000 to compete with the price reporting service of Urner
Barry. Unlike Agri Stats reports for Defendants, EMI releases daily pricing data to both Defendants and
potential purchasers of Broilers, though the reporting service costs thousands of dollars and is not
publicly available. EMI reports capture all transactions by Broiler producers, who automatically transmit
invoice information electronically from each transaction to EMI. The reports include all sales volume
information from the previous day, including the size of containers, type of cut, whether the product was
chilled with ice or CO2, the price, and numerous other pieces of information.



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the spot market, generally move with spot market prices as reported by Georgia Dock or Urner

Barry.

         95.   Statements by Broiler company executives and industry experts confirm that

Broiler sales, whether by contract or on the spot market, are tied to spot market pricing. For

instance, Sanderson Farms CEO Joe Sanderson explained in a May 2008 speech that Sanderson

Farms’ contract sales to retail customers have prices tied to the Georgia Dock price survey and

Sanderson Farms’ contract sales to food distributors are “based on formulas tied to the Urner

Barry.” Similarly, expert economist Dr. Colin A. Carter from the University of California

(Davis) testified that “internal Pilgrim’s documents show that virtually all chicken products, even

if they’re not sold spot, are tied to the spot prices. . . . 83 percent of Pilgrim’s chicken sales are

reflecting the spot price within a given year. So there’s only about 16 percent of their sales that

are not tied to the spot market over a relatively short period of time.” Further, because half of

“fixed contracts” actually had terms tied to Broiler spot market prices, Dr. Carter concluded that

92% of Pilgrim’s Broiler sales were tied to Broiler spot market prices such as Georgia Dock.

         96.   As a consequence of the inelasticity of supply and demand in the Broiler industry

(discussed below) and the availability of the spot market price indices (discussed above), public

price increase announcements by Defendants were unnecessary. Defendants knew and intended

that a decrease in supply pursuant to their agreement would increase Broiler spot market prices,

and therefore that all Broiler prices would increase.


   B. The Georgia Dock Price Index Is Highly Susceptible To Collusion. In Fact, Certain
      Defendants And Producer Co-Conspirators Apparently Have Manipulated It To
      Further Their Conspiracy.

         97.   The Georgia Dock price is compiled on a weekly basis by the GDA. For decades,

it has been used by producers and others as a benchmark to set Broiler prices. Until very



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recently, little if any information was publicly available regarding how the GDA compiles the

Georgia Dock price.     In fact, Defendants and their Producer Co-Conspirators intentionally

disseminated misinformation that the Georgia Dock price is derived through a complex

algorithm and is an accurate and reliable measure of actual Broiler transaction prices. Public

revelations in early November 2016, however, indicate for the first time that the Georgia Dock

price index not only may be unreliable, but that its survey methodology makes it susceptible to

manipulation by Broiler producers.

         98.   To compile the Georgia Dock price index, according to an internal GDA

document provided recently to the New York Times through an open records request, “each

participating [Broiler producer] company is called [by the GDA] on Wednesday every week to

report the price offered to companies in which they have contracts in place with.” A single price

is given by each Broiler producer company and it is accepted without any verification of actual

invoices, double-verification with purchasers, or any other form of auditing to verify accuracy.

Remarkably, in response to a recent press inquiry, the GDA justified its failure to audit any self-

reported data from Defendants and their Producer Co-Conspirators by stating, “We don’t see any

reason they would submit information that wasn’t truthful.”

         99.   Despite the GDA’s public statements about confidence in the Georgia Dock price

index, the GDA employee who collected prices each week from Broiler companies, Arty

Schronce, was deeply concerned. In a September 2016 internal GDA memorandum (hereinafter,

“September 2016 Schronce Memorandum”) disclosed publicly for the first time on November

17, 2016, in a Washington Post article, Mr. Schronce wrote that he “continue[d] to have concerns

about” the Georgia Dock, had “voiced concerns in the past,” and that he thought the Georgia

Dock price index was “a flawed product that is a liability to the Georgia Department of




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Agriculture.” Mr. Schronce also noted, “I was told that poultry companies know what they are

doing and all I need to do is to gather and consolidate the info I am provided. However, I have

come to question the validity of some of the information provided.” Mr. Schronce also reported

that the Broiler companies reporting prices to him gave “lackadaisical and rude responses to my

requests for information,” such as responding “just keep em’ the same” when asked for a

company’s updated Broiler price.

         100.   The Broiler companies that participated in the Georgia Dock price survey during

the relevant time period all own at least one Broiler processing facility located within the State of

Georgia. They included Defendants Pilgrim’s, Tyson, Fieldale Farms, Perdue, Sanderson Farms,

Koch Foods, and Wayne Farms, and Producer Co-Conspirators Claxton Poultry, Mar-Jac

Poultry, and Harrison Poultry. According to the GDA, each weekly price report from these

Broiler producers is weighted to account for the particular company’s market share of Broilers

processed in Georgia (referred to by GDA as that company’s “voice”).                 A preliminary

calculation is made based on the single price quotation from each company, then “[a]ny

company that provides a whole bird quote that is more than one cent above or below the initial

dock price calculation will not be included in the calculation for the whole bird dock price that

week. Its voice is taken out of the formula and the dock price is recalculated without it”

(hereinafter, the “One Cent Rule”). According to internal GDA documents, the One Cent Rule is

meant “to shield [] one company having the ability to greatly influence the price up or down.”

         101.   The price quoted by each company to the GDA is based on 2.5-to-3 pound whole

Broilers, but only a handful of companies who report to GDA actually process 2.5-to-3 pound

birds in Georgia, so internal GDA documents state that Broiler companies “are supposed to

adjust their whole bird quote as if they are producing that sized bird.” Once the final Georgia




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Dock whole bird price is calculated, then the GDA uses a formula to calculate prices for different

Broiler cuts and parts of those whole birds, but that calculation is based entirely on the single

original price that each Broiler company provided to the GDA each Wednesday.

         102.   Historically, the Georgia Dock price was roughly comparable to the prices

reflected by the Urner Barry, EMI, and USDA Composite indices. However, beginning around

January 2015, the Georgia Dock price began to depart significantly from the pricing reflected by

the EMI, Urner Barry, and USDA Composite indices (see above, ¶ 89).4

         103.   The significant difference between the Georgia Dock price index and other

Broiler price indices in recent years cannot be explained by only one or two outlier companies

reporting artificially high Broiler prices to the GDA, as the One Cent Rule requires that outlier

prices deviating by more than one cent from the initial dock price be excluded from the final

Georgia Dock price. Instead, the deviation of the Georgia Dock price index from other indices –

indices that are themselves based on verified sales by Defendants – can only be attributed to all

or nearly all participating Broiler producers collectively submitting artificially high and identical

or very nearly identical Broiler prices to the GDA.

         104.   The September 2016 Schronce Memorandum confirms the significance of the

One Cent Rule. Mr. Schronce’s memorandum noted that after a January 2016 article about the

Georgia Dock price index in the Wall Street Journal (see below, ¶ 266), one “company appears to

basically not take part in the Whole Bird Dock Price process. They seem to deliberately submit a

low bid that they know will be kicked out. However, they can claim that they are submitting




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  To be clear, Plaintiffs allege that prices reported in the EMI, Urner Barry, and USDA Composite price
indices during the Class Period were also supracompetitive and artificially inflated by the conduct of
Defendants and their Producer Co-Conspirators, as alleged in this Complaint.



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something lower.     In essence, they can take advantage of a high whole bird price while

maintaining that they want it to be lower.”

         105.   To facilitate their control of the Georgia Dock price, Defendants convinced the

GDA to convene a secret “Georgia Dock Advisory Committee” composed of senior executives

from eight Defendants and Producer Co-Conspirators to advise the GDA on the Georgia Dock

price. The Georgia Dock Advisory Committee recently included Gus Arrendale (CEO, Fieldale

Farms), Mike Welch (CEO & President, Harrison Poultry), Jerry Lane (Former CEO, Claxton

Poultry), Jayson Penn (EVP Sales & Operations, Pilgrim’s), Pete Martin (VP of Operations,

Mar-Jac), Vernon Owenby (Plant Manager (Cumming, GA), Tyson), Steve Clever (VP of Fresh

Sales, Wayne Farms), and Dale Tolbert (VP of Sales, Koch Foods). Prior to November 10,

2016, the existence and conduct of this secret Georgia Dock Advisory Committee was not

known to Plaintiffs. In his September 2016 Schronce Memorandum, Mr. Schronce wrote “I have

questions about the ‘Advisory Board’ and its role over an office of a state regulatory agency that

is supposed to be independent. I was told I could not make any changes without clearing them

with the Advisory Board.”

         106.   USDA publishes a weekly report on poultry production and prices called the

Broiler Market News Report (“USDA BMNR”), which until very recently included a re-print of

the GDA’s separately compiled Georgia Dock price. According to the November 17, 2016,

Washington Post article, the GDA stated that “a review process began in December 2015 after

‘serious concerns’ emerged” with the Georgia Dock price. Sometime in the first half of 2016,

the USDA began investigating how the Georgia Dock price survey was conducted.

         107.   On July 19-20, 2016, high level USDA officials met with GDA representatives in

Atlanta, Georgia to discuss the Georgia Dock price. The USDA officials shared their conclusion




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that GDA could no longer simply accept Broiler prices from Defendants and their Producer Co-

Conspirators without verification, and instead would have to verify invoice-level data to confirm

reported prices. On July 20-21, 2016, USDA officials requested that the GDA provide the

USDA with data from Broiler producers to “test and review” the Georgia Dock price for

accuracy.

         108.   On July 22, 2016 USDA’s weekly BMNR publication noted that beginning on

August 5, 2016, GDA “will be issuing a new weekly market report for negotiated Georgia

broiler/fryer whole birds and bird parts, which will replace the current [Georgia Dock price].”

The GDA did not comply with USDA’s August 5 deadline, however, and in the August 5 USDA

BMNR all price information from the GDA and Georgia Dock was removed and only a

hyperlink to the GDA’s website was included.

         109.   During the weeks after the July 19-20 meeting with the USDA, the GDA

coordinated closely with Defendants, their Producer Co-Conspirators, and the Georgia Poultry

Federation—the Broiler industry’s representative—to determine how to deal with the USDA’s

inquiry into the Georgia Dock price. Within the GDA, high level officials began to raise

antitrust concerns regarding the Georgia Dock. For instance, a July 27, 2016, report from GDA

Director of Regulatory Compliance & Budget Alec Asbridge to GDA Commissioner Gary Black

concluded that “[t]he top 10 poultry producing companies now control over 80% of the industry

output. The combination of vertical integration, limited competition and lowered production

periods has led to steady prices that have shown to be fairly resistant to changing market

conditions. These factors alone illicit [sic] anti-trust review.” (emphasis added).

         110.   GDA Director Asbridge’s July 27, 2016, report also noted that over time, the

GDA became a vehicle for Defendants and their Producer Co-Conspirators to “report[] a




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weighted average price per pound on broilers [Georgia Dock price] based off of contracts that

have been determined at the private level and reported without regulatory oversight. The

formulas to calculate weighted average prices have been determined on the private level

and have not been standardized since the inception of the [GDA Poultry Market News division]

in 1968, which there is no written record of.” (emphasis added). In other words, it was

Defendants and their Producer Co-Conspirators themselves who wrote the rules and formulas

that make up the Georgia Dock price, not the GDA.

         111.   Director Asbridge’s July 27, 2016, report also concluded that “[t]he extent of the

use of the [Georgia Dock price] in contract negotiations is presently unknown but inquiries made

by media and other governmental entities indicate that it is utilized on a more regular basis

than previously expected.” (emphasis added). In short, the GDA had been publishing the

Georgia Dock price for decades, but until the last few months, apparently did not know the scope

of reliance on the Georgia Dock price. Notably, a revised and highly sanitized version of the

July 27, 2016 report from Director Asbridge to GDA Commissioner Black was circulated

internally at GDA on August 5, 2016. The sanitized August 5 report removed references to the

existence of factors in the Broiler industry eliciting “antitrust review” and to the fact that the

Georgia Dock price was reported for decades by GDA “without regulatory oversight.”

         112.   On August 12, 2016, GDA Director Asbridge provided Georgia Poultry

Federation President Mike Giles with the sanitized version of the report and asked Giles to

review it before the GDA sent it to the USDA, “to ensure what I presented is accurate and best

represents industry’s concern with only reporting a spot price.” As noted elsewhere in this

Complaint, the Georgia Poultry Federation represents the poultry industry in Georgia, and most




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Defendants and all of their Producer Co-Conspirators are members.5 Remarkably, the GDA also

noted in a separate email the same day to Giles and the Georgia Poultry Federation that “[t]he

GDA is in agreement with the poultry industry that there is no desire to review invoices for

verification of data reported,” even though the information and means to do so are readily at

hand—Defendants and their co-conspirators already report such invoice information to Agri

Stats on a daily basis. According to a subsequent email dated August 24, 2016, Georgia Poultry

Federation President Giles called GDA Director Asbridge back and gave “his and industry’s sign

off on the dock price summary report. We can move forward with sending to USDA.” GDA

Director Asbridge also proposed another meeting between GDA and the Georgia Poultry

Federation to discuss recommendations about verifying Georgia Dock data.

          113.    On October 6, 2016, a USDA press release noted the expansion of its National

Whole Broiler/Fryer report, which included new weekly price information regarding 2.5-to-3

pound Broilers that replaced the same weight Broiler previously reported by the Georgia Dock

price. Importantly, the new USDA price roughly matched the Urner Barry price, suggesting that

the Georgia Dock price continues to be subject to manipulation by Defendants and their Producer

Co-Conspirators and does not reflect actual market prices.

          114.    In an email dated October 7, 2016, a GDA official reported to the USDA that it

had not determined how to proceed with new verification procedures for the Georgia Dock price,

as it was “cultivating multiple opinions on usefulness as well as playing with various

algorithms.”

          115.    On November 3, 2016, the New York Times published the first account of the

USDA’s inquiry into the Georgia Dock, based on information received via Freedom of


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    See ¶ 303 below.



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Information Act and open records requests for internal USDA and GDA documents.

Subsequently, a November 8, 2016, article by the Washington Post provided additional detail on

the inquiry, including a comment from the USDA that “they discontinued publishing the Georgia

Dock price ‘when data from the source report could not be independently verified.’” In the

Washington Post article, Sanderson Farms CFO Mike Cockrell was quoted as saying “the

Georgia Dock has come to be a trusted reflection of the supply and demand for retail stores.” In

a press release cited in a Bloomberg News article on November 17, 2016, Tyson stated that

“[w]hen the Georgia Department of Agriculture asks us for pricing data, we provide accurate

information based on actual and recent transactions.” Sanderson Farms’ and Tyson’s continued

defense of the Georgia Dock price index as one that customers should trust shows that

Defendants continue their efforts to conceal the conspiracy alleged in this Complaint.

    C. Defendants Relied Upon Co-Conspirator Agri Stats To Facilitate Communications
       Among Defendants And To Provide Data And Analysis Critical To The Monitoring
       And Enforcement Of Defendants’ Conspiracy.

         116.   According to a May 2010 study prepared for the National Chicken Council

(“NCC”), Agri Stats, Inc. is a private company that generates Broiler industry data “considerably

more detailed than [] USDA reports,” including data on weighted average price, top third

average, bottom third average, and volume traded on a daily, weekly, and monthly basis, and

supply, sales volume by detailed product type and form, export, and pricing information for

whole and cut-up Broilers.6 The USDA and various other entities publish aggregated weekly,

monthly, and annual supply and pricing information concerning the Broiler industry. But only

Agri Stats provides Defendants and other producers information with sufficient detail for an


6
  Because Agri Stats reports are not publicly available, see, e.g., ¶¶ 128, 130, Plaintiffs’ allegations
regarding Agri Stats and its reports are upon information and belief, except as to the public statements
alleged herein.



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informed subscriber to determine with reasonable accuracy producer-specific production, cost,

and general efficiency data. Agri Stats also collects from and reports back to Defendants

detailed statistics on almost every conceivable operating metric within the industry.

         117.   Defendants and Co-Conspirator Mar-Jac Poultry participate in Agri Stats and

provide and receive the detailed information described in this Complaint. However, because

many Broiler companies have kept their participation in Agri Stats completely secret, certain

other named and unnamed co-conspirators may also participate in Agri Stats.

         118.   Agri Stats has profited from collecting and reporting Defendants’ confidential

business information, including by charging substantial fees of hundreds of thousands of dollars

annually to each Defendant. Around March 2014, Agri Stats was acquired by the Eli Lilly

company, which has allowed Eli Lilly to sell drugs and vaccines to Broiler producers based on

the information Eli Lilly obtains through Agri Stats about producers’ operations.

         119.   According to former Pilgrim’s CEO Don Jackson, Agri Stats is “basically a []

third party accounting firm that companies [use] in their process.” Agri Stats claims its mission

is to “[i]mprove the bottom line profitability for our participants by providing accurate and

timely comparative data while preserving confidentiality of individual companies.” Agri Stats

describes itself as a “benchmarking” service, which it says “allows organizations to develop

plans on how to adopt best practice, usually with the aim of increasing some aspect of

performance.”

         120.   According to an expert witness for Pilgrim’s in contract-farmer litigation against

Pilgrim’s, “[p]robably no one in the industry would know better than [Agri Stats economist]

Mike Donahue [as to whether Broiler production increased in 2008] because EMI is the same

company as AgriStats, which is the company that gathers operating statistics from virtually every




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company in the chicken industry. And they know definitively how many breeders are out there,

how many pullets are out there, how many broilers are produced every week, and head count and

pounds, everything else. They have massive amounts of statistics. And that’s why they’re so

effective at reporting all of this [production information].”

         121.   Upon information and belief, in the wake of a $1.3 billion jury verdict in 2004

against Tyson for a conspiracy to manipulate pay to cattle farmers, increased fears of antitrust

liability led Tyson to withdraw from Agri Stats. However, in or around January 2008, Tyson

resumed its participation in Agri Stats.

         122.   Upon information and belief, certain Agri Stats reports list complex-level data for

roughly 120 Broiler complexes and identify each complex with unique numbers, including

identifying the sub-region of the data for each Broiler complex.

         123.   Agri Stats purports to maintain the confidentiality and anonymity of individual

companies’ data by providing each company a report identifying only that company’s specific

Broiler complexes by name, but not identifying by name other Broiler producers’ complexes

described in the report. For instance, in May 2008 Sanderson Farms CEO Joe Sanderson

claimed “[w]e use Agri Stats, which some of you are probably familiar with. Agri Stats is a

benchmarking service that we submit data to. Almost everyone in our industry does as well.

And we get the data back. It’s anonymous – the data is anonymous, so we don’t know whose

numbers the numbers belong to, but we can see performance indicators all over the industry.”

         124.   However, upon information and belief, Agri Stats reports are so detailed that a

reasonably informed producer can discern the identity of competitors’ individual Broiler

complexes, and it is common knowledge among producers that others can do so. For example,

the specific type or size of a Broiler house, breed of chick, average bird size, and production




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levels listed in Agri Stats data for complexes allows an industry insider to identify each

Defendant’s individual Broiler complexes. Some Defendants refer to the task of determining the

identity of individual competitor’s data as “reverse engineering.”

         125.   Each Defendant receives numerous types of Agri Stats reports, including separate

targeted reports for each major area of operations including, but not limited to, its breeding,

hatching, hauling, feeding, processing, selling, and administration, which are regularly shared

with area managers specifically dealing with those categories of information in their daily

business. Summaries of these separate Agri Stats reports are regularly provided to Defendants’

senior executives. Within each report, unique information referring to supposedly “anonymous”

data permits Defendants to identify their competitors’ information contained within each

category of report.

         126.   While some of Defendants’ managers received the targeted reports for the specific

aspects of Broiler operations for which they have responsibility, only the CEO, CFO, and a few

other top executives at Defendants are given access to Agri Stats’ monthly “Bottom Line Report”

that is geared to top level executives at each company. The contents of the Bottom Line report

are a closely guarded secret by company executives. The report contains one row for each

Broiler company reporting to Agri Stats, then has columns for certain categories of information,

such as operating profit dollars, profit percentage, corporate SG&A (aka overhead), interest

expense, and other key operational information. While each company receives a report that only

identifies by name that particular company’s “row” in the Bottom Line Report, top executives at

each company know their competitors well enough to pick out recurring unique data points for

other companies such that they are often able to identify competitors on the Bottom Line Report.

Furthermore, Tyson, Pilgrim, and Sanderson are public companies which report some aggregated




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data publicly, which top executives from other companies then can match up against the far more

detailed information in the Bottom Line Report to help identify specific data from these

companies. In other instances, a company’s interest expense data in Agri Stats can be matched

up against information already known about each Defendant’s debt level.

         127.   Even if a producer is unable to individually identify a specific competitor’s data

from the Bottom Line Report, Agri Stats’ employees are able to confirm for Defendants the data

for a particular company at quarterly meetings with each company or at the numerous trade

association meetings where Agri Stats executives present on a regular basis. For instance, Agri

Stats provided a service to Defendants whereby each quarter Agri Stats would meet each

Defendant’s executives and make a detailed presentation about company and industry data. At

these presentations, Agri Stats would lead detailed discussions about industry profitability and

the key factors that contribute thereto, including items such as size and average age of Broiler

breeder flock, average hatchability of eggs, mortality rates, average bird rate, feed cost, and other

performance factors based on data Defendants provided. At these presentations Agri Stats would

also lead discussions about the overall profit of the company and industry, including rankings of

companies, overall industry average, and top and bottom third of the industry. Agri Stats would

also tell company executives how much the industry was over- or undersupplying the market,

indicate its estimate of demand, and share other information based on the data Defendants

provided. At such meetings, Agri Stats would often be asked to confirm the identity of a

particular competitor in an Agri Stats report, which it could do more subtly during the Q&A

portion of the meeting. Further, since Agri Stats travelled between each Defendant regularly and

discussed each Defendant’s non-public, proprietary data, Agri Stats was in a unique position to

share information among Defendants.




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         128.   Agri Stats reports are as yet not publicly available because Defendants and Agri

Stats permit only participating Broiler producers to receive the reports. Accordingly, there is

little publicly available information about even the categories of information contained in the

lengthy weekly and monthly reports each Broiler producer receives. For instance, in response to

a request for production of Agri Stats reports by the State of Oklahoma in litigation involving

environmental issues, George’s Inc. responded that Agri Stats “information is proprietary,

privileged and is also confidential business/financial information not subject to disclosure.”

Nevertheless, despite the tight control over Agri Stats data, the National Chicken Council has

ready access to it and relies on Agri Stats data summaries for its studies and publications.

         129.   Upon information and belief, Agri Stats’ survey methodology involves direct

electronic data submissions on a daily, weekly, and monthly basis of financial, production,

capacity, cost, and numerous other categories of information by each Broiler producer. At each

of Defendants’ Broiler complexes, an employee is responsible for submitting its data to Agri

Stats. Agri Stats relies upon a detailed audit process to verify the accuracy of data from each

complex, sometimes directly contacting Defendants to verify data.

         130.   While Agri Stats reports are a closely guarded secret by Defendants and their

Producer Co-Conspirators, based on a handful of public comments by Defendants’ senior

executives and other information, and after an extensive investigation, Plaintiffs believe and

allege that Agri Stats reports include at a minimum the following categories of information:

                A.     Name of genetics company used for primary breeder stock;
                B.     Hatchery capacity, costs, and age of Broiler breeder flocks;
                C.     Feed Manufacturing, Delivery and Formulation data, including corn and
                       soybean meal costs;
                D.     Growout information for Broiler “flocks” provided to contract farmers,
                       including the number of Broilers placed, chick mortality by week and
                       overall percentage, chick cost, days between flocks provided to contract


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                      farmers (aka, “down time”), feed conversion rate (pounds of feed per
                      pound of Broiler), average daily weight gain by chicks, live pounds
                      produced per square foot of grower house, grower compensation,
                      including average grower payment in cents per pound and cents per square
                      foot, breed composition of flock (breed or cross-breed of flocks), detailed
                      information on numerous mechanical aspects of Broiler housing, and
                      numerous other detailed cost, mortality, and operational information about
                      disease, transportation, labor, and other grow out related information;
                E.    Slaughter, processing, and further processing information, including pay
                      for processing plant workers, total production volume, market age of
                      Broilers at slaughter, weight of Broilers at slaughter, birds per man hour,
                      processing line speeds, and labor hours per pound;
                F.    Inventory levels of Broilers;
                G.    Sales data for finished product form and type, such as type of cut (whole
                      bird, cut-up, deboned), various packaging forms (such as bulk, tray pack,
                      etc.), and data segmented into various categories (such as exports, retail,
                      foodservice, etc.); and
                H.    Financial information, such as monthly operating profit per live pound,
                      sales per live pound, and cost per live pound.

         131.   Defendants rarely mention their “proprietary, privileged, and confidential”

exchange of information with one another through Agri Stats. However, on a very small number

of occasions, Broiler producers (primarily Sanderson Farms) have referenced Agri Stats

information on earnings calls or in public statements. For instance:

                A.    Sanderson Farms reported in May 2008 that “every year we review our
                      operations and every facet within Agristats… we set operational goals
                      every year . . . and [we] try to improve our operations within this
                      benchmarking service we call Agristats.”
                B.    Sanderson Farms CEO Joe Sanderson commented on a December 2009
                      earnings call that “my judgment is that based on what I see in Agr[i] stats
                      nobody is planning on, pullet placements say no ramp up and what I’ve
                      gleaned from Agr[i] stats, people are not planning on ramping up. I see a
                      lot of information from Agr[i] stats that tells me that nobody is going to
                      ramp up.”
                C.    Sanderson Farms CEO Joe Sanderson commented in a May 2011 earnings
                      call that “my judgment is that there will be some others that are going to
                      have to make some adjustments that I believe cuts will be forthcoming in


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                       our industry based on the losses we see in Agri Stats.” Asked later on the
                       call by an analyst why he had said on the call and a few months earlier that
                       he “feel[s] confident that we are going to see cutbacks” based on Agri
                       Stats data, Sanderson indicated “industry participants expected that [the
                       market would improve in June and July] and I think they wanted to carry
                       their production into June and July and see if the market would reward
                       them for that it appears right now. . . . And then once you get past July 4 . .
                       . I think then you will start seeing reduced egg sets. . . . Typically in my
                       experience the first cut is not enough and you go back and look at 2008, I
                       think the industry started cutting back maybe in June and that cut back
                       was not enough and then they made another cut in the late fall and I
                       believe the industry became profitable in January.”
                D.     At a May 19, 2010 BMO Conference, Tyson compared its operating profit
                       per live pound statistic from Agri Stats against what it said were the total
                       of 121 plants in the Agri Stats survey.
                E.     Tyson Foods noted in a December 2014 investor presentation that “[t]he
                       point being is that when you talk about the chicken cycle, most people will
                       look at the cyclicality. It’s very profitable right now. And we will not hit
                       the top of the top, because within the profitability segmentation right now,
                       the most profitable segments are in fact big bird, and secondly, tray pack.
                       We can tell that through Agri Stats. Now at the same time, when there is
                       more poultry available and the industry may not be as profitable, we
                       would not expect to be anywhere close to what the bottom of that cycle
                       would be.”

         132.   Similar to Defendants, Agri Stats on occasion refers to the secret exchange of

information it facilitates among Defendants. In many instances, Agri Stats has played the role of

industry cheerleader rather than industry benchmarking service, with Agri Stats suggesting

specifically how much Broiler production should be cut based on Agri Stats data.

                A.     In July 2012 trial testimony in a contract-farmer lawsuit against Pilgrim’s,
                       testimony revealed that a November 2008 Agri Stats report “made
                       statements to the effect that it thought the industry was 5-percent
                       oversupplied . . . relative . . . to demand.”
                B.     Agri Stats holds regular “poultry outlook conferences” for meat industry
                       executives. For instance, Agri Stats hosted an April 23, 2015, conference
                       in Atlanta, Georgia for which an agenda indicated a presentation by Agri
                       Stats Vice President Sue Trudell would be provided concerning the
                       “broiler market situation and outlook” and an analysis of feed and



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              macroeconomic factors. Such presentations are restricted from circulation
              outside the invited participants to EMI’s poultry outlook conference and
              are not publicly available.
         C.   Defendant Sanderson Farms invites Agri Stats employees to present about
              the industry to Sanderson’s own investors, such as an October 18, 2013,
              presentation by Agri Stats Vice President Sue Trudell.
         D.   In January 2009 Agri Stats Vice President Mike Donohue commented that
              “We [i.e., Broiler producers] are an industry that is in demand . . . . We
              have a product that people want and continue to consume.” (emphasis
              added).
         E.   Agri Stats subsidiary EMI also holds regular invitation-only “Analytics
              Web Conference” calls.
         F.   Agri Stats Vice President Donohue also frequently appears at industry
              events, such as the Spring 2011 IPE conference. Donohue provided
              comments as part of an annual “market intelligence” forum about various
              industry performance metrics. Additionally, Donohue’s co-panelist,
              Broiler industry insider Paul Aho, explicitly suggested “[t]he market is
              calling for around a 5% reduction in chicken production” in order for
              producers to achieve higher prices in 2011.
         G.   Donohue also authors articles for the Agri Stats publication EMI Vital
              Signs. For instance, the sole “sample” publication available on EMI’s
              website is a May 2013 article in EMI Vital Signs by Donohue, which
              analyzes whether Broiler producers could continue to achieve high profit
              levels. Donohue carefully analyzed Agri Stats data concerning pricing,
              inventory, and production levels, ultimately concluding “[w]hen supply
              and demand factors are in good shape the industry can get a good return
              on investment and for the short and medium term it appears that there is
              certainly room for optimism in these factors.”
         H.   Donohue helps forecast supply and demand for the Broiler industry by
              using Agri Stats data on breeder placements and inventory. For instance,
              at the US Poultry & Egg Association’s Hatchery-Breeder Clinic in January
              2012, Donohue noted that chicken breast prices were at a particularly high
              level and “[i]t’s not just cutbacks in production that have already occurred
              but seasonal demand later this year which may set the industry up for an
              even better first half of 2012,” he said. “I hope this carries over into the
              latter half of 2012 based on some of the production forecasts that can be
              made based on breeder placements and inventories.” Donohue also noted
              a concern that “if the industry chose to do so, it could ramp up production
              within a 10-week period of time. The industry could blow apart any
              recover[y] in the short term by filing up incubators again,” but noted that



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                       Agri Stats data indicates the industry is slaughtering breeder flocks at 59
                       to 60 weeks (instead of the typical 65 weeks), which suggested to him the
                       industry was managing its production carefully.

         133.   One Broiler industry expert testified in a contract-farmer case that the sharing of

information through Agri Stats by Broiler producers regarding pay for contract-farmers creates

“a potential vehicle for collusion” and presents a “classical antitrust concern.” This conclusion is

important because besides Defendants, their agents, and their co-conspirators, only expert

witnesses and court-approved advisors in a handful of prior litigation have even seen an actual

Agri Stats reports, but such individuals are expressly prohibited from publicly releasing or

discussing such reports by the terms of protective orders Defendants and their Producer Co-

Conspirators require before producing Agri Stats reports in discovery. The same expert also

remarked that Agri Stats was unusual even among other price surveys, noting “[t]he sharing of

price and other market information by so-called competitors is well known as a significant

antitrust issue. Grower payout and cost information shared by most integrators is incredibly

detailed and comprehensive. As such it could provide critical data for competition investigations

and analyses of oligopoly and oligopsonistic behavior far more complex and advanced than

available for any other agricultural industry. An intensive inquiry is needed.”

         134.   There is no plausible, non-conspiratorial justification for Defendants to use Agri

Stats to secretly share highly confidential and proprietary information about their pricing,

capacity, production, and costs at the level of detail at which they do. In a competitive market,

such proprietary, competitively sensitive information would be a closely guarded secret.

Economic theory suggests that the routine exchange among competitors of such sensitive internal

company information reduces the intensity of competition.




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         135.   The FTC’s and DOJ’s 2000 Guidelines For Collaborations Among Competitors

(“FTC/DOJ Guidelines”), and presentations by FTC attorneys, suggest that Agri Stats is far

outside the scope of permissible information sharing among competitors. For example:

                A.     The FTC/DOJ Guidelines note the high risk of antitrust issues for
                       information sharing programs in industries with a history of collusion.
                B.     The more competitively sensitive the information being shared, the higher
                       the antitrust concern for such information sharing. Upon information and
                       belief, the weekly and monthly Agri Stats reports include dozens of
                       categories of detailed information that in a competitive industry would be
                       considered trade secrets. Therefore, the competitive sensitivity of Agri
                       Stats reports suggests a particularly high level of antitrust concern.
                C.     The older or more historical the information being shared, the less concern
                       the FTC and DOJ have with information collaborations. However, Agri
                       Stats reports are issued weekly and/or monthly, and its EMI reports are
                       issued daily, so as to provide nearly current production, sales, and other
                       data to Defendants. Moreover, the nature of Broiler breeder flocks is that
                       they predict future Broiler supply, so by sharing such information in a way
                       that permits company-by-company identification, Defendants are in fact
                       sharing future anticipated production information with one another, which
                       clearly suggests high antitrust concern under the FTC/DOJ Guidelines.
                D.     The FTC/DOJ Guidelines also provide a “safety zone” (i.e., presumptively
                       permissible) for collaborations among competitors that account for no
                       more than 20 percent of each relevant market in which competition may
                       be affected, but Defendants and their Producer Co-Conspirators account
                       for approximately 90-95% of Broiler production.

   D. Defendants Coordinated Production Cuts To Stabilize And Then Increase The Price
      Of Broilers From 2008-2012, Then Continued Depressing Broiler Supply To
      Maintain Artificially High Prices.

         136.   As alleged in this Complaint, Defendants engaged in a conspiracy to fix, raise,

stabilize, and maintain the price of Broilers throughout the Class Period. Defendants’ acts,

practices, and course of conduct in furtherance of their conspiracy evolved over time and

included but were not limited to the following: engaging in continuous communications on

confidential and proprietary business matters to eliminate price competition; allocating market

shares; restricting supply of Broilers; using input costs and other events as a pretext for industry-


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wide production cuts; manipulating one or more publicly reported Broiler price indices; and

concocting mechanisms to nullify competitive sales processes to their customers. Examples of

Defendants’ conduct are described in detail below.

         137.   In 2008, Pilgrim’s retained consultant Bain & Company to analyze its business

operations. Bain outlined a strategy for Pilgrim’s to help reshape the dynamic of the Broiler

industry. The Bain plan suggested that Pilgrim’s management needed to take action to reduce

supply in the Broiler industry, similar to other industries which in the then-recent past had been

able to restrict production and increase prices.

         138.   Defendants adopted the euphemism “capacity discipline” or simply “discipline”

to refer to their agreement to limit Broiler production. The key to “production discipline” and

“capacity discipline” is widespread participation by the industry. Broiler companies will not

reap outsized profits if only one or a few Broiler companies exercise discipline by cutting

production. Put differently, if a single Broiler company reduces Broiler capacity, there is no

guarantee that competitors will do the same, and therefore the company acting alone has simply

ceded market share to its competitors. However, if other Broiler companies similarly exercise

discipline and reduce capacity and production, Broiler purchasers will be faced with resulting

higher prices, which they will have no choice but to pay. The alternative – to not purchase

Broilers – is not an option for most of Defendants’ customers.

         139.   Thus, exercising capacity discipline will only benefit a Broiler company if it

knows or is reasonably sure that its competitors will do likewise. Absent such assurance, it

would be against each Broiler company’s independent self-interest to cut capacity and

production. In Defendants’ case, their shared commitment to capacity discipline was made

feasible and rational by their knowledge that each had agreed to engage in the same capacity




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limitations. As explained in this complaint, Defendants repeatedly confirmed to each other that

they remained committed to this agreement by publicly (and privately) discussing their plans to

continue exercising “capacity discipline,” so long as others did the same.

         140.   Broiler producers have several mechanisms to reduce the supply of Broilers.

Given Broiler producers’ vertical integration and control of breeder farms, hatcheries, growout

farms, and slaughter houses, they have several methods to manipulate supply, including the

following:

                A.    Reduce the size of Broiler breeder flocks through two measures: (1) retire
                      and kill off Broiler breeders at an earlier age than would normally be the
                      optimum age for doing so and/or (2) reducing purchases of Breeder pullets
                      from genetics companies that supply them. Such reductions in Broiler
                      breeder flock purchases by Broiler companies effectively forces genetics
                      companies to in turn reduce their own stocks of parent and grandparent
                      Broiler breeders (the one from which broiler company pullets are
                      supplied). Such reductions by the genetics companies extend into a period
                      of years the time it takes to materially increase the supplies of Broilers.
                B.    Reduce “egg sets” or “egg placements” (i.e., number of eggs placed in
                      incubators) by destroying such eggs and selling them to a rendering plant,
                      which causes a reduction in production within roughly 7 weeks, but this
                      does not reduce the size of Broiler breeder flock itself and does not
                      prevent a producer from being able to ramp up production in the short or
                      medium term should it subsequently decide it wants to quickly ramp up
                      production;
                C.    “Break eggs” at hatcheries by destroying the eggs prior to setting them in
                      incubators;
                D.    Pull (i.e., destroy) eggs already set in incubators sometime before the 21
                      days necessary for eggs to hatch;
                E.    Destroy newly hatched chicks at hatcheries before delivery to farmers for
                      grow-out;
                F.    Reduce the number or health of chicks delivered to contract farmers for
                      grow-out, including by manipulation of the genetics of chicks or providing
                      an inferior type of Broiler to farmers for grow-out of Broilers into mature
                      Broilers;




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                G.     Extend the period of time between pickup of mature Broilers for slaughter
                       and delivery of new chicks to contract-farmers for grow-out (a/k/a, “days
                       between flocks”);
                H.     Reduce the size of birds at slaughter, including by slaughtering birds
                       before they reach full maturity or weight;
                I.     Slow down, temporarily close, or permanently close Broiler processing
                       plants; and
                J.     Export hatching eggs and/or day-old chicks outside the United States.

         141.   Historically, when Broiler producers “cut production,” they did so through short-

term cuts that targeted the end of the supply chain, such as slaughtering Broilers early,

destroying eggs before incubation, killing newly hatched chicks before delivery to contract

farmers, and/or increasing the days between flocks delivered to contract farmers.         Broiler

companies historically did not cut their Broiler breeder flocks (except for normal seasonal

variations), however, because doing so would leave a producer unable to ramp up production in

the short or medium term should market conditions improve.

         142.   With respect to the type of production cuts used by Broiler producers, the period

from 2008 through the present is characterized by both traditional production cuts (short-term in

nature), as well as by unprecedented reductions in Broiler breeder flocks by Broiler producers.

As discussed below, Broiler producers made substantial and unprecedented cuts to Broiler

breeder flocks in 2008 and 2011 that prevented them from being able to meaningfully increase

supply for years to follow.

                1.   Pre-Class Period Events.

         143.   In 2007, the two largest Broiler producers, Pilgrim’s and Tyson, reduced their

production of Broilers, but only a few other Broiler producers followed their lead, namely Foster

Farms (4.8% reduction in Ready-to-Cook (“RTC”) pounds), Peco Foods (5.4% reduction in RTC

pounds), and Perdue (unspecified cuts). However, cuts by only five industry participants were



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not enough to affect industry supply sufficient to increase prices meaningfully.         Industry

publications noted that oversupply of Broilers was due to overproduction by Sanderson Farms,

Mountaire Farms, and House of Raeford Farms. Due to the resulting oversupply of Broilers,

prices fell in late 2007 and into early 2008. In addition, production cuts in 2007 followed the

typical pattern of focusing on short-term reductions in production, such as slaughtering Broilers

early, but not on longer-term cuts to Broiler breeder flocks.

         144.   The failure of the 2007 shorter-term production cuts to raise prices made Tyson

and Pilgrim’s realize that their unilateral supply cuts would never be enough to raise industry

prices without a broader industry supply cut by most of their competitors, and further, that cuts

that did not reduce Broiler breeder flocks left the industry vulnerable to near-term increases in

supply. Tyson and Pilgrim’s realized that by making cuts that were not followed by their smaller

competitors, they were essentially giving away market share to those competitors.

                2.   2008-2009 Production Cuts.

         145.   On January 23-25, 2008, Defendants attended the IPE conference in Atlanta,

Georgia. According to the IPE, attendees representing over 99.4% of the production of the major

Broiler companies participated in the IPE. Numerous employees from Defendants attended the

conference, including Defendants’ senior executives.

         146.   On a January 28, 2008, earnings call, Tyson CEO Dick Bond declared bluntly

“we have no choice [but] to raise prices substantially.” However, the commodity nature of

Broilers does not allow one producer to successfully raise market prices in the absence of

widespread reductions in supply relative to the then-current demand, so Bond’s comment does

not make sense absent an intention (or knowledge) on his part that Defendants would coordinate

a reduction in supply across the Broiler industry. After learning in 2007 that its production cuts




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alone could not force up industry prices, Tyson also sent a clear message to its co-Defendants

and co-conspirators: we are not making production cuts until you do.

         147.   In response, Pilgrim’s issued a call to action for its competitors to reduce their

production of Broilers to allow prices to recover. On a January 29, 2008, earnings call, Pilgrim’s

CFO Rick Cogdill said the industry was oversupplying Broilers and it was hurting market prices.

Cogdill explained that his company had done its part in 2007 by reducing production 5%, so “the

rest [] of the market is going to have to pick-up a fair share in order for the production to come

out of the system.” During the call, Cogdill went on to explain that Pilgrim’s alone could not

reduce supply enough to help market prices recover and its past efforts to reduce supply had

merely led to smaller players increasing their market share at Pilgrim’s expense. Cogdill went

even further in describing specifically how he thought the industry needed to coordinate

production cuts in order to drive up market pricing, including making the following statements

urging Pilgrim’s competitors to do their part in reducing Broiler industry supplies:

                A.     “[A]ctions are going to have to be taken one way or the other through the
                       industry to pass along these costs. We were the leader in cutting
                       production last year to help drive that. . . . [W]e’ve got to make sure that
                       we get the supply in line with demand at an acceptable price, not just in
                       line with what the customer wants to buy at a cheap price.”
                B.     When asked by an analyst “do you have an estimate internally of what the
                       state of oversupply in the industry might be? What you would hope to see
                       cut from others that would make you feel like the industry was more
                       rational?” Pilgrim’s CFO Cogdill replied “It’s really hard to say that the
                       faster we get to production adjustment the quicker the recovery could
                       happen . . . . And if the industry doesn’t react soon enough it will have to
                       react stronger in the end.”
                C.     “[W]e have walked away from sales in certain cases, where the pricing
                       just did not make any sense. So we are trying to hold the line. We are
                       losing at times the competitive bids . . . . So we are trying to take a
                       leadership position from a pricing perspective.”
                D.     JP Morgan analyst Pablo Zuanic asked “[D]o you and Tyson have the
                       evidence that your production call backs lead to significant price


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                      improvements last year[?]….Clearly, there are more producers who are
                      not following you. On my mask [sic], according to USDA, the industry
                      was up 5% in the December quarter….So, it means that the rest of the
                      industry was up about 9% in the December quarter. So there is evidence
                      that rest of the industry is not following you. You guys are the leaders.
                      You know that this worked last year. . . . Is it just that last year we did it
                      for the industry, and they didn’t follow and now it’s their turn?” In
                      response, CFO Cogdill noted, “I think you kind of hit on it there. . . . It’s
                      not like we had 5% of surplus capacity that we could just reduce our
                      operations and not feel that . . . I mean we cannot be the ones that are out
                      there continually reducing production, and let the other producers
                      capitalize on that. I mean if it’s 5% last year, 5% this year, 5% next year,
                      you can see that that’s a spiral to the demise of our company, which we
                      are not willing to accept.”

         148.   On a January 31, 2008, earnings call, Sanderson Farms CEO Joe Sanderson

explained that he anticipated the industry would cut production. Asked about Broiler industry

cuts by an analyst, Sanderson replied “we could see some reductions in production.” Asked to

expand on his comments by another analyst, CEO Sanderson said he thought a production cut

was “probable” and “if it’s bad and ugly and deep in February, March and April, you’ll see the

production cuts take place during that period of time. There’s still 25% of the industry still

making money but I would expect to see those reductions come over the next 90 to 120 days.”

Upon information and belief, CEO Sanderson’s basis for the statement that “25% of the industry

[was] still making money” was through the secret sharing of information by Defendants through

Agri Stats.

         149.   Around March 4, 2008, senior executives from Defendants met at an Executive

Committee meeting of the National Chicken Council’s Board of Directors including Pilgrim’s

CEO Clint Rivers, Tyson Senior VP Donnie Smith, and Fieldale Farms President Thomas

Hensley.




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         150.   Only a month and a half after installing its new CEO, Pilgrim’s again led the

charge to cut overall industry supplies, but this time it backed up its rhetoric with production

cuts. On March 12, 2008, Pilgrim’s announced a massive closure of its Broiler processing

plants. Just five days after taking over the position of Pilgrim’s CEO, Clint Rivers, publicly

announced the closure of seven Broiler facilities in order to reduce industry oversupply, stating

“we believe [these] actions . . . are absolutely necessary to help bring supply and demand into

better balance . . . . That portion of the demand for our products that exists solely at pricing

levels below the cost of production is no longer a demand that this industry can continue to

supply.” (emphasis added).

         151.   Normal supply and demand would suggest that in the wake of massive supply

cuts by Pilgrim’s, other Broiler producers would jump into the massive gap in supply that

Pilgrim’s closures left.      However, just the opposite occurred.          Following Pilgrim’s

announcement, a series of production cuts were publicly announced by other Defendants

between April 3 and April 11, 2008.

                A.     On April 3, 2008, Fieldale Farms announced a 5% production cut. In
                       connection with the cut, Executive Vice President Thomas Hensley
                       commented that Fieldale has had trouble passing on cost increases to both
                       foodservice and retail customers. “Every time we try [to increase prices],
                       one of our competitors comes in with a price lower than our previous
                       price,” Hensley said. Fieldale, which has been absorbing feed-cost
                       increases, hopes its move will help ease continuing price pressure. “We
                       can’t sell [some of] the chickens at a price higher than the cost,” Hensley
                       said. “We’re hoping this cut puts supply and demand back into better
                       balance.”
                B.     On April 9, 2008, Simmons Foods announced a 6% reduction in
                       production throughout its processing plants. Simmons Prepared Foods
                       President David Jackson said in a press release that “[r]ecent U.S. chicken
                       market price levels have not allowed processors to recover the spiraling
                       costs of corn and soy meal. . . . This increased cost burden has yet to be
                       reflected in domestic poultry prices.” BMO Capital Markets analyst
                       Kenneth Zaslow welcomed Simmons’ production cut, saying in a note to


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                        investors that production cuts across smaller companies in the Broiler
                        industry would be positive for Broiler prices. On April 9, 2008, BMO
                        Capital Markets analyst Kenneth Zaslow welcomed Simmons’ production
                        cut, saying in a note to investors that production cuts across smaller
                        companies in the Broiler industry would be positive for Broiler prices.
                 C.     On April 10, 2008, Cagle’s Inc. announced a 4% reduction in processing
                        of Broilers. According to a press release from Cagle’s President and CEO,
                        Doug Cagle, “[c]urrent chicken prices have failed to reflect the
                        tremendous increase in the cost of feed. Ingredient prices, mostly corn and
                        soybean meal, have increased over 80 percent in the last two years raising
                        the cost to produce chicken by more than $.17 a pound. These are
                        unprecedented times and given current USDA forecasts it appears that
                        high feed costs are here for the foreseeable future. The cut back in
                        production will not effect [sic] our customers with existing commitments
                        but will reduce product being sold through less profitable commodity
                        outlets.”
                 D.     Between April 3-11, 2008, Wayne Farms, O.K. Foods, and Koch Foods
                        each announced 2-8% reductions in production.
                 E.     A number of other Broiler companies cut their production between April
                        1, 2008 and May 28, 2008, but did not publicly announce those cuts.
                        Instead, these Broiler companies communicated such cuts to their
                        Producer Co-Conspirators through Agri Stats and/or other means of
                        communication. For instance, at his BMO Capital Markets Conference
                        presentation on May 28, 2008, Sanderson Farms CEO Joe Sanderson
                        stated that “we have seen for the last 6 or 7 weeks . . . some companies in
                        our industry announce cutbacks. There have been I think six companies
                        have announced cutbacks. I know some companies have cut back and
                        have not announced.” Such knowledge of non-public production cuts by
                        competitors is highly suggestive of secret communication among Broiler
                        companies.

          152.   After witnessing a steady stream of its competitors close production capacity

between April 3 and 11, Pilgrim’s saw that other industry participants were contributing to

reducing industry supply. Pilgrim’s decided it could now take further steps to reduce industry

supply.

          153.   On April 11, 2008, Pilgrim’s suggested it might close its large El Dorado,

Arkansas processing plant, which employed 1,620 workers.



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         154.   On April 14, 2008, Pilgrim’s announced a further production cut of 5% of egg

sets.

         155.   On April 29, 2008, Tyson CEO Dick Bond described the change in the industry in

response to an analyst question, noting “[y]ou are right. I think the industry has changed. Diane, I

don’t think the industry will be up that much anymore, we have seen some sizable declines here

lately in egg sets and placements. So, we’re going to be up a little bit but probably not a

significant amount, not as much as we might have once anticipated.”

         156.   Despite the large number of coordinated production cuts announced by producers

in April 2008, Pilgrim’s concluded these cuts were not sufficient. Therefore, Pilgrim’s CEO

Clint Rivers encouraged further action by the industry at a May 15, 2008, speech at the BMO

Capital Markets Third Annual Ag & Protein Conference, which was attended by Sanderson

Farms CEO Joe Sanderson and CFO Mike Cockrell, Tyson CEO Richard Bond, and Pilgrim’s

CFO Richard Cogdill. CEO Rivers announced that he hoped to see the Broiler industry continue

to cut production to help the industry return to profitability, stating that “he would like the

industry to trim total production by 3%-4%, calling it a prudent move in light of recent price

volatility in the grain markets.” He also noted that “[t]he cuts need to be fairly deep.”

         157.   A May 21, 2008, Wall Street Journal article noted that conditions in the industry

were starting to change. “Three things are making analysts more optimistic: Companies are

cutting production, weekly egg-set numbers are declining (egg sets are fertile eggs placed in

incubators), and prices are responding positively to the thinning supply lines.” The article also

noted “[i]t is unusual for egg sets to decline at this time of year.” The reason such a reduction

was unusual in May is that egg sets result in Broilers that are ready for market approximately 10




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weeks later, which in this case would have been first week of August, and is still the peak of the

high-demand summer grilling season.

         158.   During an earnings call on May 22, 2008, Sanderson Farms CEO Joe Sanderson

was asked if he thought industry cuts were sufficient to keep the industry profitable in the fall.

In response, Sanderson noted, “[w]e don’t know yet. We will make a cut as we always do after

Labor Day. We will make a 4-5% cut following Labor Day as we always do going into

Thanksgiving, Christmas, and January we reduce our egg sets and around Thanksgiving,

Christmas, New Years and Martin Luther King. That is a period of slow demand for us, and we

don’t announce that, but we always do it. It is just a period when we take downdays and we will

do that. But if we think more is needed, we will evaluate that sometime in August, and if need

be will do it. We cut back in 2006, we cut back in ’97-98. I don’t know if we announced it or

not, but we will do what we need to do.” Sanderson provided no explanation why it was

choosing to publicly disclose its “regular” production cut if it had never done so in the past.

         159.   Six days later, on May 28, 2008, CEO Sanderson attended the BMO Capital

Markets Conference Presentation. One or more of Sanderson Farms’ competitors attended the

same conference. Sanderson explained to the attendees that the company tracks egg set data

closely and it had observed many companies cutting production “for the last 6 or 7 weeks.”

         160.   In early June 2008, Pilgrim’s CEO Clint Rivers continued to keep up the

drumbeat for further production cuts, noting in a June 4, 2008, presentation that “[o]ur supply in

chicken, we are oversupply . . . we need to see some balance in the supply. . . . Simply put, at this

time there is still too much breast meat available to drive market pricing significantly higher.”

         161.   Other CEOs picked up on Pilgrim’s call for further action. A few weeks later on

June 19, 2008, Broiler industry executives participated in a media conference call intended to




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lobby the federal government to limit the ethanol subsidy. According to one report, Mark

Hickman, Chairman of the National Chicken Council and CEO of Peco Foods, told participants

that “the poultry industry is entering a second phase of production cutbacks, following a 1

percent to 2 percent cutback in production earlier this year. ‘We are hearing talk that this was

not nearly enough, so liquidation is in round two.’” Upon information and belief, “liquidation”

is a reference to the need for Defendants’ decision to reduce Broiler breeder flocks to affect

longer-term supply restraint in the industry, rather than mere short-term production cuts like

breaking eggs or slaughtering Broilers earlier to reduce weight.

         162.   As noted above, Agri Stats’ subsidiary EMI issues regular reports to its clients,

which are not publicly available. However, EMI’s website currently has available a “sample”

report available from June 20, 2008. The sample report notes that “[b]eginning in April [2008],

the weekly hatchery data started to show declines in egg sets and chick placements relative to

year-earlier, which confirms the announced intentions to reduce Broiler production and will

result in slaughter falling below year-ago by mid June.” The same report also notes that “[i]t is

unclear how long the slaughter declines will continue, and if other companies will choose to cut

production as well making them deeper than initially thought. Those who have announced

cutbacks indicate they will continue until margins normalize. At this time we expect to see the

declines continue until at least late 2009, and cuts could be deeper than now projected.”

         163.   Three days later, on June 23, 2008, Wayne Farms announced an additional 6%

production cut.    Wayne Farms President & CEO Elton Maddox said in a statement that

“[s]oaring feed ingredient costs aggravated by the government’s food for fuel mandate has

created the need for us to rationalize our business.” Like many other executives, Maddox cited

ethanol subsidies as the reason for the production cuts. Wayne Farms’ announcement came only




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three days after Agri Stats suggested further cuts were needed and four days after Peco Foods

CEO Hickman suggested further cuts were needed.

         164.   On June 23-25, 2008, USPOULTRY held its annual Financial Management

Seminar. Defendants’ senior executives attended the seminar.

         165.   On July 2, 2008, Foster Farms announced it was abandoning plans to build a new

Broiler plant in northeastern Colorado that it had previously announced in April 2008 would

employ about 1,000 people. In a statement, Foster Farms CEO Don Jackson noted “[i]n these

difficult conditions with costs escalating primarily due to grain and fuel prices and chicken prices

lagging it does not make economic sense to go forward with expansion at this time.”

         166.   On July 7, 2008, O.K. Foods announced a 7.5% reduction in egg sets, citing

“record high prices for corn and soybean meal, which it attributes to the U.S. government’s

mandated ethanol policies along with recent flooding in the Midwest ‘Corn Belt’ region.”

         167.   On July 20-22, 2008, the National Chicken Council held a three-day “Chicken

Marketing Seminar” attended by Defendants’ senior executives. The event was billed as a

marketing seminar that “includes social networking events and recreational opportunities,

including a golf tournament.”

         168.   On July 31, 2008, Tyson cancelled a contract with Petit Jean Poultry for the

processing of Broilers at Petit’s Buffalo, Missouri plant. Tyson subsequently told the City of

Buffalo that no amount of incentives could convince it to renew its contract with Petit.

         169.   On August 11, 2008, Pilgrim’s announced the closure of its Clinton, Arkansas,

processing plant and a further processing facility in Bossier City, Louisiana.7 Pilgrim’s press


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  “Further processing plants” are facilities that process whole or cut-up Broilers into products for end
users, such as chicken nuggets. Notably, further processing plants alone are not a bottleneck for the
supply of Broilers and were not the focus of Defendants’ coordination to reduce and restrict Broiler



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release noted the closures “are part of the company’s ongoing effort to operate more efficiently

and return to profitability amid high feed costs and an oversupply of chicken on the market.”

The closure of the Clinton processing plant represented an additional 1.25% incremental increase

of the company’s previously announced production cuts. Pilgrim’s stated that it would keep both

plants idled until “industry margins can be sustained at more normalized levels of profitability.”

Pilgrim’s also noted that “[w]ith Labor Day approaching and no indication that the actions taken

to date by Pilgrim’s Pride or other industry members are having a positive effect on selling prices

for our products, it is now clear that more significant decisive action is necessary.”

         170.   In August 2008, House of Raeford announced that it would begin reducing its

Broiler production by 5%. The company said in a statement that “[t]he current obstacles that

face our industry require that supply be brought in line with demand.” A production cutback was

remarkable for House of Raeford, which had pursued a strategy of aggressive production growth

that resulted in the company doubling its Broiler production from 2001 to 2007.

         171.   On an August 26, 2008, earnings call, Sanderson Farms CEO Joe Sanderson

stated that “[s]o long as this weakness continues, the poultry industry will need to cut production

further until supply is in line with demand.” When asked later whether the industry had already

made enough production cuts, he noted “we kind of thought we were going to see reductions in

July . . . [based on] 213/214 [million] eggs sets back in April and that really did not materialize.

When you look at USDA slaughter numbers in July, they were 100% and 101% and now we’re

looking at egg sets of 206 and 207 million that are going to show up sometime in October or


supplies as alleged herein. During the Class Period, some Defendants have increased the amount of
further processing they perform internally in order to capture profits that had previously been earned by
third party further processors who purchased unprocessed Broilers from Defendants. A few further
processing plant closures are noted in this Complaint where they were closed in conjunction with
processing plants.



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November. We’ll see when we get there. Those are barely impressive cuts. My suspicion is, as

I’ve told you in May, the industry typically make the cut [sic] and it’s tentative. We’ll have to

see if it works. . . . I’m very skeptical that those cuts are going to be enough to return us margins

to cover these grain costs.”

         172.   On September 23, 2008, Pilgrim’s announced the layoff of 100 employees at its

El Dorado, Arkansas processing plant.

         173.   By September 2008, Broiler industry publication Watts PoultryUSA reported that

“[m]ost U.S. broiler integrators ha[d] announced plans to close small operations, consolidate

complexes and further processing plants and to reduce output by 3 percent to 5 percent to

‘maximize efficiency.’”

         174.   On October 3, 2008, Defendants’ senior executives attended the National Chicken

Council’s Annual Meeting. Agri Stats CEO Bill Snyder moderated a CEO panel that included

Pilgrim’s, Tyson’s, Perdue’s, and Sanderson Farms’ CEOs. Explaining Pilgrim’s desire to push

through an industry-wide price increase, Pilgrim’s CEO Clint Rivers told panel members and the

audience “[w]e need to get those [input] costs pushed through, but we’ve yet to see that happen.”

         175.   On October 10, 2008, Pilgrim’s gave an interview to the Associated Press

regarding a USDA report of falling egg sets in the Broiler industry. Spokesman Gary Rhodes

noted that “[t]his is very positive news for the industry and may signal that the industry is taking

a more rationalized approach to production heading into the fall.”

         176.   During Fall 2008, Sanderson Farms also implemented its previously announced

“fall cuts” a month early and delayed the opening of a new deboning facility.

         177.   On October 18, 2008, Wayne Farms President & CEO Elton Maddox released a

statement announcing the closure of the company’s College Park, Georgia plant, resulting in the




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layoff of over 600 employees. Maddox cited “changing market conditions” and a need to

“maximize efficiencies” as justification for the plant closure.

         178.   On a November 10, 2008, Tyson earnings call, CEO Dick Bond claimed that

Tyson would not be making additional production cuts because it had already done its part to

reduce industry supply with prior production cuts in 2007 and earlier. However, D.A. Davidson

& Co. analyst Tim Ramey asked “Dick, a year ago you talked about price encourage [sic] then I

was out with Donnie Smith four five months ago, you guys talked about well we’re not going to

be the one to cut.” Tyson didn’t respond directly, but cited Tyson’s attention to “supply and

demand.”

         179.   On November 12, 2008, industry analyst Ken Zaslow noted that “many

companies, such as Pilgrim’s, have pledged to cut production, but Tyson increased its volume

about 6 percent in the quarter . . . . The industry has cut about 10 to 12 percent of its production.”

         180.   Despite claims to the contrary on its November 2008 earnings call, Tyson

substantially reduced production in December 2008.           First, on December 18, 2008, Tyson

announced the canceling of a deboning contract with Petit Jean Poultry at Petit’s Little Rock,

Arkansas processing plant that resulted in the layoff of 700 employees by Petit. Second, by

December 23, 2008, it was reported that Tyson had cut its production by 5%. Asked by a

reporter about the cuts, Tyson spokesman Gary Mickelson stated that “[w]hile we would rather

not share details of our current poultry production levels, we can tell you we continue to closely

evaluate market conditions in an effort to match customer demand with our supply.” Tyson also

noted that it had reduced production “in recent years through the closing or sale of poultry plants

and by running the company’s remaining operations at reduced capacity utilization.”




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         181.   On a January 26, 2009, Tyson earnings call, an analyst asked why Tyson cut

production in December 2008 after claiming it would not do so in its November 2008 earnings

call. Tyson’s Senior VP Donnie Smith replied that Tyson’s inventory growth had triggered it to

cut production in December 2008.

         182.   On January 28-30, 2009, Defendants’ senior executives attended the 2009

International Poultry Expo in Atlanta, Georgia.

         183.   In a February 18, 2009, interview, Tyson Senior Group Vice President Donnie

Smith noted that “[a]cross our industry, we’re down about six percent versus where we were a

year ago. We’re seeing an impact from that on market prices . . . the industry fundamentals are

improving.”

         184.   In late February 2009, a report noted that Pilgrim’s had cut another 9-10% of its

production. According to the same report, Tyson told the audience at a February 2009 investors’

conference that it did not intend to reduce its production further because “[u]sing WATT

PoultryUSA data on ready-to-cook (RTC) pounds, our numbers have declined 5-7% from 2000

to 2008 on RTC pounds while at the same time the industry has grown 31%. Over time, we have

done plenty of cutting back.” In other words, Tyson felt it had already taken its fair share of

needed production cuts, so competitors needed to take further actions. However, as indicated

below, Tyson’s statements about not reducing production appear to be posturing, because

generally Tyson did reduce its production during the 2008-2015 time period in line with other

producers, apparently hoping the threat of it not reducing production would lead other producers

to reduce production first.

         185.   By February 25, 2009, Sanderson Farms told The Morning News that it had made

cuts to its supply of Broilers by processing smaller Broilers and running its plants at lower




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capacity utilization rates.   Sanderson also told a group of investors around this time that

“[b]ecause we don’t expect much help from the demand side, chicken market improvement will

have to come from supply cuts.”

         186.   Similarly, Simmons Foods CEO Todd Simmons noted in a February 25, 2009,

interview that “[w]e are seeing lower demand in the food-service customer base. We have made

adjustments in bird weights to ensure our production meets with our customer’s needs.”

         187.   Seeing further cuts from smaller producers in the industry led Pilgrim’s to

announce historically large cuts to its production on February 27, 2009. In a press release

announcing the closure of three processing plants located in Douglas, Georgia, El Dorado,

Arkansas, and Farmerville, Louisiana, Pilgrim’s indicated the plants were “underperforming”

and said the closures would “improve the company’s product mix by reducing commodity

production and to significantly reduce its costs in the midst of an industry-wide oversupply of

chicken and weak consumer demand resulting from a national recession.” Pilgrim’s indicated

that the idling of these three plants would reduce production 9-10% in total pounds of Broilers

produced by the company.

         188.   Overall, “[a]t least 11 companies reported reductions in weekly ready-to-cook

production in 2008,” including Tyson, Pilgrim’s, Perdue, Simmons, House of Raeford, Cagle’s,

George’s, O.K. Foods, Coleman Natural Foods, Harrison Poultry, and GNP Company. Other

companies reduced their planned production levels and/or delayed the planned opening of new

Broiler complexes.

                3.   Defendants’ 2008 To Early 2009 Broiler Production Cuts Included
                     Unprecedented Reductions To Broiler Breeder Flocks.

         189.   As noted above, 2008 ended a decades-long trend of additional Broiler

production, and surprised industry observers. However, what makes the production cuts in 2008



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even more remarkable is that Broiler producers did not merely make an unprecedented reduction

in the pounds of Broilers they produced – they also went further up their supply chains than ever

before to restrict their ability to ramp up production for years into the future. This production

restriction was accomplished by reducing Broiler breeder flocks and thereby forcing genetics

companies to reduce supplies of grandparent stocks.

         190.   Broiler breeder flocks on average are kept in active “lay” for 65 weeks, so over its

lifespan a breeder hen produces an average of 140 eggs per year that are incubated at Broiler

producer-owned hatcheries. Because Broiler breeder flocks are created from a limited pool of

grandparent Broilers from the three Broiler genetics companies (Tyson’s Cobb-Vantress,

Aviagen, and Hubbard), it takes substantial time to re-populate a Broiler breeder flock that has

been reduced through early slaughter. By reporting the size of each Defendant’s supply flocks

through Agri Stats, Defendants could closely monitor one another’s supply flock reductions and

deal with a co-conspirator who was ramping up production in conflict with Defendants’

conspiracy.

         191.   Defendants’ reduction in Broiler breeder flocks during 2008 and the first two

months of 2009 was unprecedented. While previous downturns had led some producers to use

short-term methods to reduce overall pounds of Broilers slaughtered, in 2008 Defendants took

their reductions to the next level by substantially reducing their Broiler breeder flocks (aka,

“Broiler Hatchery Supply Flock”), as shown below.




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                4.   The Cuts in 2008 and 2009 Led To Record Broiler Prices For Much Of
                     2009 And Early 2010.

         192.   The effect of the supply cuts on Broiler pricing in 2008 and the first two months

of 2009 was clear – during the worst recession in generations, Broiler prices rose through mid to

late 2008, staying at or near all-time highs until late 2009. For instance, by May 28, 2009,

Sanderson Farms reported strong profits that were twice the predictions of Wall Street analysts,

which according to one industry publication was “aided by production cuts and lower feed costs

that offset still-weak demand.” Similarly, at a May 14, 2009, BMO Capital Markets conference,

interim Tyson CEO Leland Tollett noted that “poultry market fundamentals had improved.

Pullet placements, an[] indication of future Broiler supplies, have been down the past five

months compared to the same period last year. Egg sets continue to run six percent or more



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below year ago levels and cold storage inventories of poultry have declined about 20 percent

since peaking in November 2008.”

         193.   However, as prices continued to rise during late 2009 and early 2010, producers

started increasing production in response to the higher prices, as they had done in previous

decades. The rising production by producers in early 2010 led to a reported oversupply of

Broilers that began to depress prices by late 2010. However, Defendants had learned the value

of coordinated supply reductions in 2008, so were quick to react with a new round of publicly

announced production cuts in the first half of 2011, which quickly helped prices recover.

         194.   During 2009 and 2010, Defendants’ senior executives continued to meet with one

another at trade association meetings and industry events, such as the National Chicken Council

and the International Poultry Expo. For instance, at the National Chicken Council’s October

2009 Annual Conference, one industry analyst wrote that participants had emphasized continued

“production discipline.” As used by Defendants, “capacity discipline” is a euphemism for

limiting Broiler supplies. Defendants’ conspiratorial efforts to artificially limit Broiler supplies

enabled Defendants to raise prices of Broilers to supracompetitive levels.

                5.   Defendants Reacted With Unprecedented Speed To Overproduction In
                     2011, Which Led To A Second Wave Of Unprecedented Production Cuts.

         195.   Around early 2011, Tyson was one of the first Defendants to see the coming

overproduction of Broilers. In addition to limiting its own production, Tyson embarked on a

new strategy to soak up excess supply produced by its competitors. Tyson called the strategy

“Buy vs. Grow.” As described further in Section VI(G) of this Complaint, Tyson’s Buy vs.

Grow strategy allowed Tyson to buy up excess production from its competitors and avoid the

depression of prices that would occur had the excess production been sold on the open market.

In return, Tyson could communicate the volumes of Broilers it would be willing to purchase



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from competitors in the current and future months, thus suggesting to each competitor the

amount of production it should cut that would not be purchased by Tyson. As one investment

analyst described it, Tyson’s program “involves maintaining or even reducing [Tyson’s] own

chicken production levels, with buying more chicken on the open market from their rival chicken

producers, in an effort to keep the chicken market from being over supplied.” Even though it

would have been cheaper (with respect to the cost of pounds purchased) for Tyson to grow its

own Broilers instead of buying them from a competitor, Tyson engaged in its Buy vs. Grow

program because it allowed Tyson to better control supply and production in the Broiler industry

and reap the benefit of higher market prices on all of the rest of its Broiler pounds sold.

         196.   On January 24-26, 2011, Defendants’ senior executives attended the International

Poultry Expo in Atlanta, Georgia, including Tyson CEO Donnie Smith. The IPE featured an

annual market intelligence panel with Mike Donohue from Agri Stats and industry-insider Paul

Aho. According to one report, Donohue noted that “‘2008 was the worst year financially for the

(U.S.) broiler industry that most people have ever seen’ . . . The industry’s response in 2008 was

a 5 to 6% reduction in pounds produced. He said that the broiler industry is currently at record

high weekly slaughter volumes.” Aho noted “[t]his could be a very difficult year with cutbacks,

rationalization, and consolidation . . . . The market is calling for around a 5% reduction in

chicken production.”

         197.   On a February 4, 2011, Tyson earnings call, COO James Lochner noted that “until

industry supply more closely aligns with demand” Tyson’s Broiler business would “be

challenged.” Tyson CFO Dennis Leatherby also referred to a supply-demand imbalance in the

chicken industry.




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         198.   On a February 16, 2011, Cagle’s earnings call, Cagle’s reportedly said it had

begun a 20% reduction in production at a deboning operation in an effort to balance supply and

demand. Cagle’s told one publication that it was “optimistic that the industry will exhibit the

production restraint necessary to support higher pricing for Cagle’s products allowing for return

to profitable margins.”

         199.   On or around February 25, 2011, Sanderson Farms CEO Joe Sanderson

announced on an earnings call that Sanderson would be delaying the development and

construction of a second North Carolina Broiler complex.

         200.   On March 7, 2011, House of Raeford announced a 10% reduction in egg sets that

began in early February. CEO Bob Johnson noted in an accompanying press release that “we

decided that acting now was a responsible action for our company in light of continuing unstable

economic conditions. . . . Hopefully the chicken prices will begin to increase later this year. In

addition, if Congress will take action to cut unreasonable government support for the ethanol

industry, then grain prices should decrease to a more manageable pricing level.”

         201.   On March 15, 2011, Simmons announced it was laying off 180 workers at its

Siloam Springs, Arkansas processing plant “[d]ue to economics specific to our industry, resulting

from high grain prices predominantly caused by corn being used in ethanol, we have decided to

realign some of our production resulting in the elimination of 180 positions as of April 15.”

         202.   On April 13-15, 2011, the Georgia Poultry Federation held its annual meeting at

the Brasstown Valley Resort in Georgia. Defendants’ senior executives attended the meeting.

Among other positions that Defendants’ and their Producer Co-Conspirators’ employees were

elected to at the meeting, Donnie Wilburn (Director Live Operations, Harrison Poultry) was




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elected Vice Chairman of the Board of Directors and Phillip Turner (Plant Manager, Mar-Jac)

was elected to the Board of Directors.

         203.   On April 15, 2011, Mountaire Farms announced it was abandoning a 3-5%

capacity increase. Mountaire President Paul Downes explained Mountaire’s justification for the

cut to anticipated capacity in starkly simple terms: “The only way to higher prices is less supply.

The only way to less supply is chicken companies will shut down or cut back. That’s not good

for poultry growers or the economy. But I think that’s what we’re going to see.” In other words,

Mountaire had learned from the industry’s coordinated action in 2008 to reduce supply and

realized that the oversupply and decreasing prices in early 2011 could only be addressed through

collective action by the Broiler industry to restrain production.

         204.   During 2011, Fieldale Farms reduced its production by an unspecified amount.

         205.   During 2011, Mar-Jac reduced its production 10% and reported that other Broiler

Producers were doing so as well.

         206.   On May 1-3, 2011, Defendants’ senior executives, including Tyson CEO Donnie

Smith, attended Urner Barry’s Annual Executive Conference and Marketing Seminar, which

includes an annual golf outing at a local country club.

         207.   On May 17-18, 2011, senior executives from Sanderson Farms, Pilgrim’s, and

Tyson attended the BMO Farm to Market Conference. Attending were Sanderson Farms CEO &

Chairman Joe Sanderson, Sanderson President & COO Lampkin Butts, Pilgrim’s President &

CEO Bill Lovette, Tyson CEO Donnie Smith, and Tyson Senior Group VP of Fresh Meats Noel

White.

         208.   Pilgrim’s President & CEO Bill Lovette presented at the May 17, 2011, BMO

Farm to Market Conference. Lovette’s presentation noted Pilgrim’s shift away from fixed-rate




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contracts to market-based pricing. Pilgrim’s also noted its new focus on matching production to

forecasted demand, including by adjusting head and bird weights at selected plants to better

balance supply and customer demand.

         209.   On a May 24, 2011, earnings call, Sanderson Farms CEO Joe Sanderson stated

“the deal is that the industry — forget Sanderson — the industry cannot sustain losses like they

are sustaining for a long period of time. They will — they can’t do it and you have been

observing this for years and years and the industry has been losing money since Novemberish

and balance sheets deteriorate and losses have to stop. The only way to stop losses with $7 corn

is to reduce production and get prices up. That is the rule and the law of the jungle.” Sanderson

continued, “my judgment is that there will be some others that are going to have to make some

adjustments that I believe cuts will be forthcoming in our industry based on the losses we see in

Agri Stats.”

         210.   On June 6, 2011, Cagle’s announced on an earnings call that “[t]he industry must

lower supply in order to offset reduced demand and to support higher market prices. Cagle’s

continues to process at 80 per cent of capacity at its Pine Mountain Valley deboning facility and

does not contemplate any increase in the foreseeable future.”

         211.   On June 7-10, 2011, the USAPEEC held its annual meeting at The Greenbrier

America’s Resort in West Virginia. Defendants’ senior executives attended.

         212.   On approximately June 20, 2011, Tyson begin pulling eggs from its incubators to

reduce Broiler volumes.

         213.   On June 21, 2011, Cagle’s announced it was laying off 300 employees at its Pine

Mountain Valley, Georgia plant to reduce Broiler volumes.




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         214.     On June 27-29, 2011, the US Poultry & Egg Association held a Financial

Management Seminar at the Ritz Carlton in Amelia Island, Florida. Among other presentations,

Pilgrim’s President & CEO Bill Lovette presented to a group of 150 attendees that included

senior executives from Defendants.

         215.     On June 27, 2011, Simmons announced it was laying off 223 employees by

August at its Siloam Springs, Arkansas plant to “shift production to better address soaring corn

prices.” In its press release, Simmons blamed U.S. Ethanol policies for reducing its production.

         216.     On July 12, 2011, Tyson CEO Donnie Smith, Tyson executive Bernard Leonard

(Chairman of the NCC at the time), Sanderson Farms COO Lampkin Butts, Peco Foods CEO

Mark Hickman, and Perdue CEO Jim Perdue participated in a panel together at the 2011 Food

Media Seminar.

         217.     On July 29, 2011, Pilgrim’s announced the closure of its Dallas, Texas processing

plant and the layoff of 1,000 employees. Pilgrim’s President & CEO Bill Lovette explained that

“[w]hile the decision to close a plant and eliminate jobs is always painful, we must make better

use of our assets given the challenges facing our industry from record-high feed costs and an

oversupply of chicken . . . . A key component of that effort is improving our capacity utilization

through production consolidation and other operational changes. By closing the Dallas facility,

we can consolidate that production volume at three other plants and help those sites run closer to

full capacity.”

         218.     On an August 1, 2011, earnings call, Sanderson Farms’ CEO reportedly said that

Sanderson Farms’ normal fall production cut of 4% beginning in November would remain in

place beyond January of 2012 [and . . .] until demand improves. Sanderson also stated “we

aren’t going to set any more eggs until we pick up a big account or we can’t supply our




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customers’ needs. We think demand improvement will require unemployment to drop . . . . It

wouldn’t surprise me if the industry makes further, deeper reductions in egg sets in October or

November,” he said. “Nobody knows what cuts might be needed until we get to October,” “but I

think that the cutbacks may need to be more than the 6% in head that the industry already has in

place.”

          219.   On an August 8, 2011, Tyson earnings call, CEO Donnie Smith said that

“[d]omestic availability must be in balance with demand before industry economics can improve.

Tyson continuously strives to match our supply to demand and as a result we made a production

adjustment in the third quarter. . . . Our goal is to match supply to demand. And following over-

production the industry experienced, we cut production in the third quarter, but those cuts have

not yet impacted the market.”

          220.   On August 18, 2011, Cagle’s announced it was reducing 20% of its production at

its large Pine Mountain Valley, Georgia plant.

          221.   From October 5-7, 2011, Defendants’ senior executives attended the National

Chicken Council’s 57th Annual Conference. As part of the conference, senior executives from

Perdue and Koch Foods participated in a panel regarding the “new paradigm” in the Broiler

industry. Panel members Clint Rivers (Perdue, President of Foodservice and Supply Chain), Bill

Anderson (Senior Vice President, Keystone Foods), Mike Helgeson (CEO, GNP), and Mark

Kaminsky (Koch Foods COO & CFO) said “the industry is accustomed to cycles, but not one

quite like the latest, and companies are going to need to adjust. Discipline on the supply side

was one suggestion. Getting better prices from retailers was another.”

          222.   On November 17, 2011, Wayne Farms issued a press release announcing the

closure of its Decatur, Alabama plant and layoffs of 360 employees.




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         223.   On a November 21, 2011, earnings call, Sanderson Farms CEO Joe Sanderson

responded to a question about a production decrease that “when we talk about the 4% number,

that is what we project the industry to be. Obviously, we’re going to be a part of that.”

         224.   On December 6-8, 2011, the USAPEEC held its annual Council members only

winter meeting. Defendants’ senior executives attended the meeting.

         225.   At USPOULTRY’s Hatchery-Breeder Clinic in January 2012, Agri Stats Vice

President Donohue noted the importance of reducing Broiler breeder flocks, noting that “if the

industry chose to do so, it could ramp up production within a 10-week period of time. The

industry could blow apart any recover[y] in the short term by filing up incubators again,” but

noted that Agri Stats data indicates the industry is slaughtering breeder flocks at 59 to 60 weeks

(instead of the typical 65 weeks), which suggested to him the industry was managing its

production carefully. The early slaughter of breeder flocks in 2011 through mid-2012 meant that

Defendants subsequently were unable to increase production for at least eighteen months, as they

would have been able to do had they not made cuts so high in the supply chain.

         226.   Defendants’ senior executives attended the January 25-26, 2012, International

Poultry and Processing Expo in Atlanta, Georgia. The National Chicken Council held its Board

of Directors meeting in conjunction with the meeting.

         227.   In early 2012, Sanderson Farms cut its production 4%.

         228.   On March 20-21, 2012, the National Chicken Council Board of Directors met in

Washington D.C. Defendants’ senior executives attended the meeting.

         229.   On an April 27, 2012, earnings call, Pilgrim’s President & CEO Bill Lovette

reported that “the die is cast for 2012,” and that “we’re comfortable that the industry is going to

remain constrained.”




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         230.   On April 29-May 1, 2012, Urner Barry held its Annual Executive Conference and

Marketing Seminar. Defendants’ senior executives attended the conference.

         231.   On May 7, 2012, Tyson held an earnings call and announced it had decreased its

production by 4% through longer days between flocks for its growers and by increasing its Buy

vs. Grow program. Tyson noted on its earnings call that “the industry as a whole has reduced

production pounds by 4% to 6% year-over-year. To help keep our production balanced, we

bought chicken on the open market rather than growing all the birds we needed. We won’t grow

a bird solely for the part in the highest demand because we have to sell the entire bird. Grow

versus buy is a strategy we look at continually based on input costs, revenue demand forecast

and the needs of our customers.” Tyson CEO Donnie Smith also noted on the earning call that

“we began to cut back last year” with respect to egg sets and placements.

         232.   On June 6, 2012, Pilgrim’s announced the layoff of 190 employees at its

Chattanooga, Tennessee deboning plant. The company noted that “[w]hile the decision to reduce

the workforce in Chattanooga was not made lightly, we are confident that these actions will

improve the efficiency of our plant, maintain our mutually profitable relationship with growers,

and strengthen our ability to produce quality poultry products in Tennessee, . . . [but] [t]he

Chattanooga operation remains a vital part of our ongoing strategy.”

         233.   On June 21, 2012, the National Chicken Council Board of Directors held its

summer meeting at the Ritz-Carlton Highlands in Lake Tahoe, California. Defendants’ senior

executives attended the meeting.

         234.   In a July 9, 2012, article, Tyson CEO Donnie Smith was quoted as saying “the

company will not over produce chicken at these expensive grain levels, preferring to buy

commodity pieces in the secondary market to fill orders where necessary.”




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         235.     On July 15, 2012, Defendants’ senior executives attended a meeting of the

National Chicken Council’s Marketing Committee at the Stone Mountain Lodge in Stowe,

Vermont.

         236.     On an August 6, 2012, earnings call, Tyson CEO Donnie Smith stated that “[o]ver

the past couple of years we have substantially reduced a number of fixed price contracts we have

with customers and currently have less than 15% of our Poultry volume [on] annual fixed price

contracts.      The vast majority of our contracts are tied to specific markets or allow for

conversations about adjusting prices to move – prices to offset higher input and we will continue

to push for even more of these types of contracts. I believe supply will begin to rationalize as

well, making it easier for us to have those pricing conversations.”

         237.     On August 23, 2012, Koch Foods CEO Joseph Grendys gave an interview with

Bloomberg News. He stated that “[c]osts have gone up so much due to the drought that the

industry will be forced to get price increases of 10 to 15 percent across all product lines” for

2013 over this year. He went on to note that “‘[t]he industry needs to be smart’ and focus on

pricing to ensure it remains profitable . . . . Even if it does become unprofitable in the fourth

quarter, the industry may resume making money after the first quarter of 2013.” The article also

mentioned Koch was going to use quarterly adjustments for price in its contracts for the first time

since 2008.

         238.     On August 28, 2012, Sanderson Farms announced a further 2% production cut

that it blamed on corn and soybean prices.

         239.     By September 2012, the effect of Defendants’ earlier production cuts starting in

2011 had begun to lead to increased Broiler prices. Most important to the record profits that

were to come, Defendants had not just cut the number of pounds of Broilers slaughtered, but




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Defendants destroyed a significant proportion of their Broiler breeder flocks.           As noted

previously, doing so meant that Defendants could not increase Broiler supplies in the short or

medium term, even if they wanted to.

          240.   On October 10-11, 2012, the National Chicken Council held its annual meeting at

The Mandarin Hotel in Washington, D.C. Defendants’ senior executives attended the meeting.

The meeting featured an “Industry Outlook Panel” that included speakers Thomas Hensley

(President, Fieldale Farms) and Paul Fox (CEO, O.K. Foods) and discussed the question of

“[w]hat did the broiler industry learn from 2011 and how will the industry apply those lessons in

2012 and 2013?” O.K. Foods CEO Paul Fox’s comments during the panel continued to point to

the ethanol mandate as a pretext for higher Broiler prices, stating “[i]n 2006, the ethanol mandate

began to really take a bite against the protein complex, and since that time on a cumulative basis,

we’ve seen about $31 billion in new costs that have come in to the chicken business.”

          241.   The actions alleged above, taken collectively and not in isolation, demonstrate a

level of coordination and “discipline” not seen in this industry prior to the Class Period alleged

herein.

                 6.   Defendants’ 2011-2012 Production Cuts Lowered Broiler Breeder Flocks
                      To Unprecedented Levels, Which Led To Record Profits For The 2013-
                      2014 Time Period.

          242.   Defendants’ cuts to the Broiler breeder flocks in 2011-2012 sent flock levels

down to levels not seen for almost two decades, as shown by the graph below.




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         243.   For much of the remainder of 2012 through 2014, Defendants reaped the benefits

of coordinated supply restraints in the form of rising prices and record profits. During this

period Defendants’ executives repeatedly made statements congratulating industry players on the

“discipline” they had shown by keeping supply restrained. For instance, on a May 3, 2013,

earnings call, Pilgrim’s President & CEO Bill Lovette stated that “[w]ell, obviously, revenue is

going to be a function of price, in part, and in this case a big part; and obviously, price is going to

strengthen as supply continues to be disciplined and constrained . . . . So I think the industry is

doing an admirable job in being disciplined on the supply side and I think we’ve got a

combination where we combine that discipline with strong demand for product and that’s why

you’ve seen the pricing environment that we’re now enjoying.” Lovette also commented that “I

believe the industry has learned over the past three to five years that chicken economics is going




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to be driven by the supply and demand of chicken and not necessarily what corn or soybean meal

costs. I think I’m confident to say we’ve, we figured that out and we’re doing a good job of

balancing supply and demand.”

         244.   On the May 3, 2013, earnings call, Pilgrim’s President & CEO Lovette also

discussed the importance of continued restraint of the industry’s breeder supply flock, noting

“[w]ell, I only know what we’ve seen happen in the past. Now, certainly, this summer if the

industry chooses to grow the breeder supply significantly, that’s definitely going to impact 2014.

What I’m saying is, so far, we’ve seen no indication that the industry plans to grow the breeder

supply and as a matter of fact, it’s actually shrunk. So that’s the source of my comments. Do I

know what’s going to happen in June or July or August of this year with respect to breeder

placements, I don’t know that. I would tell you that based on the last three to five years, though,

again, I’ll reiterate that I think the industry has learned that the economics of our business is tied

very closely to the supply of chickens and we’ve done a good job so far of maintaining discipline

such that even paying nearly $8.50 for corn, we’ve been able to be profitable as an industry.”

         245.   On October 4, 2013, CEOs and other senior executives of Defendants’ companies

met at the annual NCC meeting in Washington D.C. The meeting featured a panel with GNP

CEO Mike Helgeson, Tyson CEO Donnie King, and Simmons Foods CEO Todd Simmons.

According to one publication’s account of the panel, the CEOs were “chipper about the prospects

for their industry in the next few years.”

         246.   On a January 31, 2014, earnings call, Tyson CEO Donnie Smith reported that

through Tyson’s “buy versus growth strategy we continue to keep our supply short of demand . .

. .” Tyson’s continued use of Buy vs. Grow, including through the present, allows Tyson and




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other Defendants to reduce production on a month-to-month basis and have opportunities to

learn more information about one another’s production and pricing.

         247.   On a February 21, 2014, earnings call, Pilgrim’s President & CEO Bill Lovette

reflected on what had led to record earnings for Pilgrim’s. He noted that “I think the one thing

that creates…has created that stability is the discipline of the industry to not allow profitability in

the past to drive supplies in the future. I think we all have an understanding that our industry is

mature, especially in the U.S. Consumption of total meat in the last five years has not grown and

our growth in the future is going to come from markets outside the U.S. And so, we have a

different model today than we had 15…10 or 15 years ago in that consumption in this country is

not growing as robustly as it used to. And I think that discipline really, Ken, is the one ingredient

that has made for more stable earnings that we have seen. We have certainly seen a lot of

volatility in feed ingredient costs, even as recent as this past year. And I don’t know what…I

mean you can make a solid argument for corn and soybean meal being much cheaper in 2014

and ‘15, given the rebuilding of world inventories of corn and growing inventories of soybeans.

But we just don’t know what the next weather event in either, South America, North America or

even Eastern Europe may present in terms of the supplies of those feed ingredients.”

         248.   On March 12, 2014, Tyson CEO Donnie Smith attended an industry conference

and told the attendees that “[a] ‘meaningful change’ in bird production won’t occur until the

second half of 2015.” Smith’s confidence about broiler production was possible because of the

radical reductions in Broiler breeder flocks Defendants had made during 2011 and early 2012,

which Smith knew made it impossible for Defendants to “meaningful[ly] change” Broiler

production.




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         249.   Industry analysts noted the change in the nature of Defendants’ production cuts.

On May 6, 2014, a Stephens, Inc. analyst said in an interview that historically “it has been very

easy to increase the chicken supply because the cycle is so short. It only takes four to eight

weeks to grow a chicken, but U.S. chicken producers are having a hard time increasing the

chicken supply by much. They cut production capacity throughout the supply chain when grain

prices were very high. Because of this, they cannot materially increase supply for 2014. We

likely won’t see a material increase in production until the second-half of 2015.”

         250.   During 2013 and into 2014, Defendants continued to find ways to actively depress

the size of Broiler hatchery flocks, such as using the pretext of avian flu in Mexico to justify

exporting hatchery flock Broilers to Mexico to repopulate flocks rather than use such Broilers to

increase domestic production levels. Indeed, Defendants continued their program of exporting

Broiler hens and eggs to Mexico in 2015, with Tyson explicitly noting in a May 4, 2015,

earnings call that it was sending 3% of its eggs to Mexico to “fill incubators.” Similarly, during

a July 2016 earnings call, Pilgrim’s CEO Bill Lovette noted his “confidence that we’re going to

do the right thing with respect to maintaining [] discipline. We’ve certainly had the hatching egg

supply to grow much more if we chose not to export those eggs. I think in May we exported 81

million hatching eggs or so outside of the country. The industry could have chosen to set some of

those eggs domestically, but that was not the choice that was made. And so again that gives us

confidence that we’re going to continue to be disciplined as an industry.”

         251.   Defendants’ coordinated exportation of Broiler hatching eggs from the U.S. from

2013 through the present is an active effort to artificially reduce the supply of Broilers in the

U.S. below what it would be absent Defendants’ active and continued participation in an illegal

antitrust conspiracy.   Upon information and belief, Tyson and other Defendants exported




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hatching eggs to Mexico and other foreign countries from 2013-2016 to artificially reduce the

supply of Broilers in the U.S. and increase the price of Broilers in the U.S. The value Tyson and

others received for exporting hatchery eggs to Mexico would have been far exceeded by the

price Tyson would have received for hatching those same eggs in the U.S. and selling the

resulting Broiler meat in the U.S. market.     Therefore, but for Defendants’ agreement and

conspiracy as alleged in this Complaint, it would have been against Tyson’s independent

economic self-interest to export hatching eggs to Mexico and to forgo higher hatching egg prices

in the United States. But Defendants’ new-found discipline ameliorated any remaining risk and

resulted in higher U.S. broiler prices.

         252.   According to an October 1, 2014, CoBank analysis of the Broiler industry, the

strategy of Defendants to target Broiler breeder flocks paid dividends during 2013 and 2014.

According to the report, “[b]roiler product demand should remain robust through the rest of this

year and well into 2015, bolstered by a gradually improving domestic economy, continued

strength in export demand, and the towering prices of beef and pork. Broiler production,

however, has been slow to respond, with integrators having had problems expanding the number

of chicks placed for growout. Broiler meat production is on track to grow just 1.5 percent in

2014 from a year ago, with a similarly modest gain expected for 2015. Producers have been

somewhat constrained in their attempts to expand the nation’s chicken flock by the limited

supply of broiler hatching eggs. When the broiler-producing industry reduced production in 2011

and 2012, the hatchery supply flock was also reduced, and it has not yet been rebuilt to prior

levels. Following seven months of [Year-over-Year (“YoY”)] declines, the number of chicks

placed for growout finally posted a modest 1 percent YoY gain in August. However, it will take

another 6-9 months for integrators to rebuild the supply of broiler hatching eggs in preparation




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for expanding the overall flock, so significant growth in broiler production will not materialize

until late-2015 or early-2016.”

         253.   On October 10, 2014, NCC President Mike Brown wrote an op-ed in The

National Provisioner. The title of Brown’s article, “Biofuel policy holds back production ramp-

up,” continued to blame the Broiler industry’s boogey man of the Renewable Fuel Standard (aka

the ethanol mandate) instead of Broiler producers’ collusive agreement to not increase

production in line with demand. Brown wrote, “current favorable market conditions would

normally stimulate production to be somewhat higher, that is, a percentage more aligned with the

long-run annual average of 4 percent. So why are chicken producers not stepping up production

to better match the long-term average of 4 percent? We would if we could, but we can’t. We

would like to produce more pounds of chicken, but unfortunately we are not there yet. The

primary reason for the industry’s inability to increase production can be attributed to problems

caused by a failed policy” of the Renewable Energy Standard. Brown also went on to blame

fertility issues in the breeder stock and a propane shortage that made it difficult to heat chicken

houses as other reasons the industry could not increase production.

         254.   On October 29, 2014, Simmons Foods announced the closure of its Jay,

Oklahoma spent hen processing plant. Spent hens are Broiler breeders that have reached the end

of their productive life cycle. The Simmons facility processed spent hens on behalf of many

Defendants, providing Simmons with opportunities to monitor changes in other Defendants

Broiler breeder supplies. The closure of Simmons’ Jay, Oklahoma facility is indicative of the

reduced Broiler breeder capacity resulting from Defendants’ initiatives to cut Broiler breeder

capacity across the industry.




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                7.   Avian Flu Disrupted The Export Relief Valve During 2015, But Prices And
                     Profitability Remained Relatively Stable Into 2016.

         255.   Signs in late 2014 began to point towards the possibility of rising production

levels. A few Defendants announced production cuts, but due to the substantial reductions in

Broiler breeder flocks Defendants had already taken, Defendants’ production was already

constrained. Defendants undertook various affirmative acts in furtherance of the conspiracy,

including exporting of hatching eggs outside the U.S., inter-Defendant purchases in furtherance

of Defendants’ conspiracy such as Tyson’s Buy vs. Grow program, breaking eggs rather than

setting eggs, dumping of excess Broiler supply in foreign markets, closing Broiler production

facilities, and manipulating at least one Broiler price index.

         256.   For example, Tyson announced on May 4, 2015, the closure of its Buena Vista,

Georgia, Broiler plant as part of an ongoing effort to “increase efficiencies.”       Tyson also

announced it was eliminating one shift at its Dawson, Georgia plant. Tyson announced in May

2015 that it planned to reduce its production after July 2015 and keep production flat through

2016 by increasing its Buy vs. Grow purchases.

         257.   In addition to the continuation of Defendants’ illegal supply restriction that

artificially increased the price of all Broilers, around January 2015 the Georgia Dock price index

began to deviate significantly from other price indices (see ¶¶ 97-115).

         258.   As alleged above, due to the GDA’s One Cent Rule, it was not possible for only

one or two Broiler companies to report a significantly higher Broiler price to the Georgia Dock

without being disregarded as outliers by the GDA. Accordingly, on information and belief,

Plaintiffs allege that Defendants and their Producer Co-Conspirators began collectively reporting

prices to the GDA that not only were identical or nearly identical, but also were significantly

above the actual market rate. As a result, Georgia Dock prices continued to rise and later



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stabilize during 2015-2016 at near historic highs. As described further in this Complaint, it was

not until a series of articles was published between November 3, 2016 and November 17, 2016

that information was publicly available to show Defendants and the Producer Co-Conspirators

may have fixed the Georgia Dock price.

         259.   During 2015, despite the devastation Avian Flu caused to the turkey and table egg

industries, the Broiler industry was largely unaffected by the disease, with the primary effect

being temporary bans on exports from some specific states or of all Broiler exports from the U.S.

to various countries, such as China, Korea, and a number of other nations.

         260.   Avian Flu-related export limitations during 2015 caused frozen Broiler

inventories to build up in the U.S., threatening the stability of Broiler prices Defendants had

worked so hard to increase since 2008. In response, Defendants worked in concert to coordinate

the dumping of excess inventories of Broilers in foreign markets to avoid deterioration of the

artificially high prices in the U.S. resulting from Defendants’ conspiracy. For instance, in early

October 2015, Vietnam launched an inquiry into dumping by U.S. Broiler producers after

Vietnamese Broiler producers determined that dumping of frozen chicken by U.S. producers had

cost it over $120 million in the last 16 months. A report by Vietnam’s Southeast Livestock

Association concluded that U.S. Broiler companies were selling chicken thighs in Vietnam for

29% of the price of a similar product sold in the U.S. market (e.g., at a Walmart), excluding the

additional cost of frozen shipping rates, import duties and other fees associated with U.S.

producers selling chicken thighs in the Vietnamese market. By late May 2016, Sanderson Farms

CEO Joe Sanderson reported on an earnings call that all but one of the Avian Flu export bans had

been lifted.




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          261.   In late 2015, Broiler industry analyst Heather Jones noted that chicken supplies

had not increased as expected from the Avian Flu due to the fact Defendants had started breaking

eggs rather than setting eggs. Defendants coordinated the breaking of eggs with one another

during 2015, in part, by the exchange of production information through Agri Stats.

          262.   Watts PoultryUSA’s March 2016 issue noted that Tyson Foods achieved “record

earnings and sales in fiscal year 2015 . . . posting $40.6 billion in sales, including ringing up

higher chicken sales. Yet, Tyson lowered chicken production in 2015. What’s at work here?

This paradoxical performance, in part, reflects the fact that Tyson, along with other top U.S.

broiler companies, is redefining its business model to achieve profitable growth.” In fact, the

explanation for Tyson’s “paradoxical” 2015 performance—including increasing its Broiler

profits but lowering its Broiler production—was the result of the illegal conspiracy alleged in

this Complaint.

          263.   Prices during the first half of 2015 remained relatively flat, which led NCC

President Mike Brown to write another op-ed in The Wall Street Journal on May 15, 2015, to try

to explain why Broiler prices remained so high. Like his previous op-ed, he again blamed the

Broiler industry’s typical boogeyman – the Renewable Fuel Standard – for increased Broiler

prices.

          264.   During 2016, Broiler prices have declined, but significantly less so than input

costs. Defendants have maintained artificially high Broiler prices and high profitability during

2016 by exercising “discipline” on their Broiler supply and manipulating at least one Broiler

price index. For instance, during an April 2016 earnings call, an analyst noted that Pilgrim’s

CEO Bill Lovette “mentioned that you think the industry domestically has been much more

disciplined than they have been in the past, I’m wondering if you could just elaborate a little bit




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more on what sort of drives that view and then maybe what gives you confidence that this

discipline will hold.” Lovette responded, “[w]hat drives the view is the actual numbers that we

see, ready to cook pounds are up about 3.1% year to date. If you look at placements year to date,

they’re up 1%, egg sets up 0.7%, hatchery utilization actually declined in Q1 to 91%. So in the

phase of coming off two of the most profitable years in the industry, we’re not seeing, not

realizing large amount of production increases.” Tellingly, Pilgrim’s CFO Fabio Sandri added

immediately after Lovette’s comments that “what drove that I believe it is that industry is more

geared towards profitability rather than just market share or field growth.” Put another way,

Defendants are no longer competing with one another to gain market share by growing their

companies as one would expect in a competitive market, but instead Defendants are working

collectively to increase profitability by being “disciplined” in terms of supply growth.

         265.   Other CEOs have also been forced recently to try to explain the marked shift in

the Broiler industry’s profitability in recent years, after the decades’-long pattern of boom and

bust regarding Broiler pricing and profitability. During a February 2016 Sanderson Farms

earnings call, BMO Capital Markets analyst Ken Zaslow noted the Broiler industry’s history of

volatility in pricing and profitability for chicken companies and questioned if there was “any

changing of the industry dynamic” that had occurred. Sanderson Farms CEO Joe Sanderson

replied “we might be at a capacity wall, you know? . . . Since back in 2007 . . . there are three or

four plants shuttered . . . It does feel different.”

         266.   A January 18, 2016, article in The Wall Street Journal questioned whether

Defendants, including Tyson, Sanderson Farms, Pilgrim’s, and Wayne Farms, have intentionally

manipulated the pricing data they report to the Georgia Department of Agriculture. As discussed




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above, in early November 2016 evidence became public suggesting that the Defendants and

Producer Co-Conspirators may be fixing the Georgia Dock price.

         267.   During 2016, Defendants’ profitability has also been aided, in part, by the fact

that input costs have decreased substantially, though Broiler prices have not experienced a

similar decline. During a Broiler industry conference in February 2016, industry analyst Dr.

Paul Aho reported that overall profitability has remained steady or increased, as input costs have

drastically decreased. Aho noted that during 2016 there have been “broad-based declines in key

commodities, especially feed grains and energy.” In fact, in May 2016 Tyson posted record

quarterly growth, with profit margins for Broilers rising to between 9 and 11 percent.

         268.   Not only is the harmony among Defendants and resulting high profit margins

achieved by Tyson and other Defendants in recent years remarkable, so is their fairly recent

ability to accurately predict their profit margins into the future. For instance, before 2008, Tyson

had profit margins in the 5-6% range and would not predict future profit margins, but after 2008,

Tyson would routinely predict record margins of 13% or more with surprising accuracy.

         269.   Defendants have also kept up the use of signals to one another to perpetuate their

conspiracy during 2016 by using the code word “discipline” to note their continued adherence to

Defendants’ conspiracy. For instance, during a February 2016 earnings call, Pilgrim’s CEO Bill

Lovette noted that “[t]he industry continues to be disciplined in terms of U.S. supply. Although

monthly pullet data tend to be volatile and have occasionally been at the high end of our

expectations, we see modest growth of the breeder flock, and more importantly, little to no

increase in egg sits [sic] and chick placements as a positive. We believe that at least part of the

reason is because chicken producers are being disciplined and are much quicker to react than in

the past and in adjusting supply growth to the actual market conditions.” Similarly, in a July




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2016 earnings call, Pilgrim’s CEO Bill Lovette noted that “I think what we’ve seen with egg sets

is absolutely a testament to the discipline of our industry that we’ve seen the last really two to

three years.”


     E. The Structure And Characteristics Of The Broiler Market, Together With Other
        Factors, Render The Conspiracy Economically Plausible.

                   1.   The Broiler Industry Is Highly Vertically Integrated.

          270.     The Broiler industry is almost entirely vertically integrated, with Broiler-

processing firms owning or tightly controlling almost all aspects of production, processing, and

marketing. In the Broiler industry, “vertical integration” means the Broiler company owns or

controls each aspect of breeding, hatching, rearing, feeding, basic processing, and selling of

Broilers. Many integrated Broiler companies also own further processing plants.8

          271.     Because Broiler producers have determined over time that the economics of

growing chicks into full size Broilers are unfavorable, the Broiler industry has developed a

system of production-contract farming. The integrated producers provide the feed and chicks to

farmers (which remain under ownership of the integrated producer); the contract farmer then has

roughly 6-7 weeks to grow the chicks into full size Broilers. During this “grow out” period, the

integrated producer’s employees frequently monitor the Broilers. Once fully grown, Broilers are

picked up by the integrated producer and brought to an integrator-owned processing plant (aka,

slaughterhouse). Some of the Broilers are sold without any further processing, while other

Broilers are further processed by integrated companies into value-added specialty products (e.g.,

chicken nuggets, etc.).




8
    See fn. 7 above.



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increasing the time between collection and delivery of birds or reducing the number of flocks per

year rather than terminating grower contracts in much the same way the USDA requires all

commodity program recipients to adhere to acreage reduction program guidelines and grower

associations require members to cut back marketable output.”

         274.   Modern Broiler producers rely on a handful of unique Broiler breed lines to mass

produce essentially identical chickens with desirable genetic traits. Genetics companies, which

develop strains of grandparent and great-grandparent breeding stock, sell to integrated Broiler

producers breeders that have special hybrid characteristics, such as a tendency to produce a large

chicken breast. Genetics companies create a “biological lock” on their unique Broiler lines by

tightly controlling the purebred genetic strain that they develop. After an integrated producer

purchases young breeder hens (aka “breeder pullets”) from a primary breeder, the integrated

producer raises the birds to be breeders that lay eggs to be taken to incubators at an integrator-

owned hatchery. The chicks from Broiler company hatcheries are then sent out to the integrated

producer’s contract-farmers to raise into adult Broilers.

         275.   At present, no Broiler company except Tyson owns the genetics or produces the

grandparent or great-grandparent strain for the Broilers it raises and slaughters. Nearly all U.S.

producers now rely on 3 global genetics conglomerates: Cobb-Vantress (owned by Tyson),

Hubbard, and Aviagen.        These three companies supply the breeder stock, and therefore

ultimately the Broilers, that account for 98% of Broilers raised in the U.S. and 80% of Broilers

raised globally.    While there were 26 Broiler genetics companies world-wide in 1981,

acquisitions by the three remaining companies have essentially eliminated any other meaningful

competitors in the U.S. Tyson’s Cobb-Vantress subsidiary has approximately 50% market share.




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         276.   Since a supply of primary breeders is essential to each Broiler producer’s

business, Tyson’s ownership and control of subsidiary Cobb-Vantress provides it with

exceptional leverage over other Defendants to mandate compliance with Defendants’ illegal

agreement. Tyson can offer other Defendants the carrot of access to Cobb-Vantress’ unique

Broiler genetic lines, with desirable qualities like high conversion rates of feed into meat.

However, Tyson can also use Cobb-Vantress as a stick against any competitor who Tyson and/or

its co-conspirators believe is overproducing Broilers by providing such competitors inferior,

sick, or an insufficient number of breeder pullets, or withholding breeder pullets altogether that

the competitor needs to operate a profitable business.

         277.   Perdue was the last Broiler integrator in the U.S. to maintain its own genetics

research company besides Tyson, but Perdue sold its genetics company to Tyson in 2014. In

announcing the sale, Perdue issued a press release that stated “there are no longer significant

advantages to having our own breed . . . it is important that we have the flexibility to select the

breeder combination that works best for each specific customer requirement.” The press release

went on to note that “[w]ith the outstanding exception of the Cobb-Vantress enterprise owned by

Tyson Foods, no producer has managed to effectively compete using an in-company breeding

program against a multinational primary breeder. To be cost effective a genetics program based

on index selection incorporating the measurement of significant traits and applying sophisticated

molecular markers and field testing requires a magnitude of scale exceeding the capacity of

individual producers.”

         278.   Upon information and belief, Defendant Tyson, through its Cobb-Vantress

subsidiary, intentionally manipulates the supply of grandparent and great-grandparent Broiler

stock (from which it suppliers integrators with Breeder pullets) including, but not limited to, only




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providing healthy and high quality breeder pullets to certain of its co-conspirators, but providing

inferior and sick quality breeder pullets to other smaller non-Defendant Broiler producers. This

practice contributed significantly to the bankruptcy or failure of a number of smaller Broiler

companies in the 2010 time period.

                 2.   The Market For Broilers Is Characterized By Inelastic Supply And
                      Demand.

          279.   According to a May 2010 paper written by Broiler industry consultant Michael

Dicks, “[b]ecause of the inelastic nature of the supply and demand [of Broilers,] a reduction in

supply will produce an outcome more preferable to the industry than maintaining supply with a

lower price.” A study by consultant The Hudson River Group for Pilgrim’s in 2008 found that a

one percent decrease in the supply of Broilers leads to a 0.8% increase in the price of Broilers.

In other words, demand for Broilers is inelastic, so a decrease in supply will increase prices.

          280.   Defendants acknowledge that supply and demand in the Broiler industry is

inelastic. For instance, in his May 2010 paper, Broiler industry consultant Michael Dicks wrote

that “[a]ttempting to maintain supply levels would reduce price to levels unsustainable even in

the short run. Because of the inelastic nature of the supply and demand a reduction in supply

will produce an outcome more preferable to the industry than maintaining supply with a lower

price.”

          281.   Broiler producers have asserted in public statements that changes in wholesale

Broiler prices have been due to changes in “supply and demand.” However, demand for Broilers

has been flat since 2008, while at the same time wholesale Broiler prices have risen roughly

50%. Therefore, it is the reduction in the supply of Broilers that has led to Broiler price

increases.




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                3.   There Are No Significant Substitutes For Broilers.

         282.   Pork and beef are the most likely alternative sources of protein to Broilers, but

pork and beef are not economic substitutes for Broilers. Numerous studies have found that the

cross elasticity of demand between Broilers, beef, and pork is either negative or statistically

insignificant, meaning that pork and beef are complements to Broilers, but not substitutes.

         283.   The historically high spread between the price of pork and beef versus Broilers

since 2008 has also reduced any possibility of substitution of Broilers with pork or beef.

                4.   The Broiler Industry Has Experienced High Consolidation And Is Highly
                     Concentrated.

         284.   According to a November 2013 USDA report, “[d]uring the past 16 years, firms

in the Broiler industry continued to decrease in number and grow in size, thereby gaining further

economies of scale and scope in processing and marketing. According to the National Chicken

Council, 55 federally inspected Broiler companies operated in 1995, compared with 41

companies in 2010.” By 2014, there were only 35 such companies.

         285.   In fact, the trend towards consolidation among all segments of the Broiler

industry goes back decades, as shown below. This consolidation has largely squeezed out the

large number of smaller Broiler companies that used to represent a significant portion of Broiler

industry production.




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         287.   In addition to formal consolidation among Defendants, increased antitrust scrutiny

of acquisitions in the Broiler industry by the U.S. Department of Justice has led Broiler

companies to increasingly rely on de facto consolidation whereby Defendants acquire nearly

complete control over seemingly independent smaller Broiler companies. Defendants’ de facto

consolidation creates “zombie” Broiler companies that on paper are separate and independent

entities, but are in fact completely controlled by Defendants through co-packing contracts. For

instance, Tyson Foods has co-packing arrangements with a number of smaller Broiler producers

in which Tyson purchases either (1) the company’s entire production of Broilers (including dark

meat) or (2) all of the company’s white meat (i.e., chicken breast and wings) and encourages the

company to export the less valuable dark meat to remove that supply from the United States

market.

         288.   Upon information and belief, Defendants’ co-packing contracts with smaller

producers are typically 2-5 years in length. Even where the co-packing arrangement is only 10-

20% of a smaller producer’s overall supply, Defendants are in a position to pressure smaller

producers to limit their production. Co-packing contracts give Defendants unprecedented control

over supposedly independent producers, including control over the breed of bird grown, what

feed can be used, how many birds can be grown, and numerous other aspects of raising Broilers.

With respect to processing, Defendants not only require exacting specifications for co-packing

partners, but also put Defendants’ own employees in the processing plants of their co-packers

and supervise every significant detail of the slaughter and packing process.

         289.   Upon information and belief, the purpose and/or effect of Defendants’ co-packing

arrangements is it avoids scrutiny from antitrust regulators that would come with formal merger




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arrangements, including possible discovery of Defendants’ anti-competitive agreement to reduce

the supply of Broilers in the U.S.

                5.   The Broiler Industry Has A History Of Government Investigations And
                     Collusive Actions.

         290.   In response to a Federal Trade Commission investigation in 1919 which found

oligopoly domination and anti-competitive monopolistic behavior in the meat-packing industry,

Congress passed the Packers and Stockyards Act (“PSA”). See 7 U.S.C. § 193(a), § 209.

Congress amended the law to include the poultry industry in 1935.

         291.   In 1922, the Supreme Court upheld the constitutionality of the PSA in Stafford v.

Wallace, finding that “the object of the PSA was to secure the flow of livestock from the farms

and ranges to the slaughtering center and into meat products unburdened by collusion that unduly

lowered the prices to the shipper and unduly increased the price to the consumer.”

         292.   In April 1973, the United States Department of Justice filed a civil antitrust action

against the National Broiler Marketing Association (“NBMA”) alleging the NBMA and its

members conspired to fix Broiler prices and restrict Broiler production in violation of Section 1

of the Sherman Act. The DOJ sought to enjoin the NBMA and its dozens of members from

continuing a conference call program where members (and even some non-members)

coordinated the pricing and production of Broilers. In response, numerous private civil antitrust

actions were filed against the NBMA and 42 individual defendants in the In re Chicken Antitrust

Litigation case. The NBMA and Broiler producers eventually settled the case, resulting in a

settlement of roughly $30 million.

         293.   Beginning in 2010, the USDA undertook a series of public workshops to explore

competition issues in the upstream, contract-farmer Broiler market. A workshop held in Normal,

Alabama, on May 21, 2010, focused on corporate concentration and lack of competition in the



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Broiler industry.      The workshops led to the proposal of new rules aimed at encouraging

competition in the meat industry, but extreme political pressure from Defendants and their allies

eventually watered down the rule and led to the resignation of the official charged with imposing

tougher regulations.

          294.    In 2011, George’s Inc. acquired the Harrisonburg, Virginia processing plant from

Tyson Foods. The DOJ brought an action to stop the acquisition (United States v. George’s,

Inc.),9 which alleged the purchase would impermissibly reduce the available options for contract

farmers to sell their grower services. The DOJ eventually settled with George’s in June 2011

after obtaining an agreement to require George’s to make capital improvements to the facility

that would increase its capacity and permit contract farmers to sell more grower services to the

processing plant.

          295.    According to a June 2014 USDA Report, “the [Broiler] industry faces a range of

public policy issues, [including] competition . . . . [c]oncerns[, including] the exercise of market

power by Broiler integrators have prompted merger litigation, USDA regulatory initiatives,

congressional proposals, and investigations by Federal agencies.”


          296.    Numerous cases in recent years have documented the lack of competition in the

contract-farmer Broiler market, which while upstream in the supply chain from the Plaintiffs’

and Plaintiff Class’s direct purchaser market, suggest an absence of true competition and instead

suggest a practice of coordination and collusion among Defendants. In cases such as Adams v.

Pilgrim’s Pride, No. 2:090-cv-00397 (E.D. Tex.), Been v. O.K. Industries, No. 08-7078 (E.D.

Okla.), and Wheeler v. Pilgrim’s Pride Corp., No. 5:06-cv-00004 (E.D. Tex.), contract-farmers

have alleged violations of the Packers and Stockyards Act by integrated Broiler producers.

9
    United States v. George’s Foods, LLC et al., No. 5:11-cv-00043 (W.D. Va.).



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                6.   Defendants Had Numerous Opportunities To Collude.

                     a.   Trade Associations.

         297.   Defendants are members of several Broiler-related trade associations and other

forums, which they used to facilitate their conspiratorial conduct. Integrated Broiler producers

have numerous regular events through which they can communicate in person with one another.

Regular and frequent attendance by Defendants’ CEOs and top level executives at trade

association meetings is the norm rather than the exception.

         298.   According to its website, “[t]he National Chicken Council represents integrated

chicken producer-processors, the companies that produce, process and market chickens. [The

40] member companies of NCC account for approximately 95 percent of the chicken sold in the

United States.” The CEOs of the top integrated Broiler producers are routinely on the board of

directors and meet at least quarterly with one another through the NCC.

         299.   The NCC has three annual board meetings attended by Defendants’ and their

Producer Co-Conspirators’ senior executives, including most or all Defendants’ CEOs and other

top executives. CEOs generally always attend the following three NCC meetings each year, in

addition to special committee meetings or other special NCC events: (a) the January meeting of

the NCC held along with the International Poultry Expo, (b) the mid-year Board of Directors

meeting, and (c) the NCC Annual Meeting in October. Generally, CEOs arrive the night before

an NCC meeting and socialize with their colleagues, then have small private dinners with one or

more of their competitors’ CEOs or top executives. The next day, the formal NCC meetings are

held and executives from Agri Stats and other allied industry organizations make presentations at

the meeting. A formal lunch is held during the meeting and provides CEOs and top executives

and opportunity to talk casually with their competitors. Following the meeting, Defendants’ and




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their Producer Co-Conspirators’ CEOs and top level executives often meet, socialize and golf,

hunt, or fish together.

         300.   Upon information and belief, CEOs and top level executives from Defendants and

their Producer Co-Conspirators discuss topics with one another relating to pricing, production,

and other non-public, proprietary information outside of NCC’s formal meetings at the informal

settings surrounding NCC meetings described above. These regular, informal, and in-person

opportunities to discuss pricing and production in the Broiler industry gives CEOs and top level

executives comfort that their competitors remain committed to a plan to artificially restrict

Broiler production.

         301.   The United States Poultry & Egg Export Council (“USAPEEC”) has its home

office in Stone Mountain, Georgia. Defendants are all members of USAPEEC. USAPEEC has a

network of international offices and consultants in key export markets.         The mission of

USAPEEC is to promote exports of U.S. poultry and eggs around the world. The group has

evolved into an association that is an advocate for the industry on trade policy issues.

USAPEEC has about 200 member companies and organizations. USAPEEC holds Board of

Directors meetings quarterly and includes executives from all or nearly all Defendants and co-

their conspirators.

         302.   The U.S. Poultry & Egg Association (“U.S. Poultry”) describes itself as the

world’s largest and most active poultry organization. U.S. Poultry’s members include producers

and processors of Broilers, turkeys, ducks, eggs and breeding stock, as well as allied companies.

Defendants and their Producer Co-Conspirators are all members of U.S. Poultry. U.S. Poultry

holds regular Board of Directors meetings each quarter during January, March, June, and each

fall.




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         303.   The Georgia Poultry Federation “is a non-profit trade association which

represents the poultry industry in Georgia, the nation’s leading broiler producing state. The

Federation was founded in 1951, and since that time has represented the interests of the entire

poultry industry at the state and federal level on legislative and regulatory matters.” The Georgia

Poultry Federation’s mission is “[t]o protect and improve the competitive position of the poultry

industry in Georgia, the nation’s leading poultry producing state.”         The Georgia Poultry

Federation has regular meetings each April, August, and September which typically are attended

by Defendants’ senior executives.      Defendants House of Raeford, Perdue, Fieldale Farms,

Wayne Farms, Tyson, Sanderson Farms, and Pilgrim’s, and Producer Co-Conspirators Mar-Jac

Poultry, Harrison Poultry, and Claxton Poultry are members of the Georgia Poultry Federation.

         304.   The North Carolina Poultry Federation “has been the voice of the North Carolina

poultry industry since 1968.” The mission of the North Carolina Poultry Federation “is to create

a favorable climate for business success for everyone involved in the poultry industry in North

Carolina.” The North Carolina Poultry Federation holds regular meetings each year, including

annual meetings and Board of Directors meetings which typically are attended by Defendants’

senior executives.   Defendants Tyson Foods, Perdue, Mountaire Farms, House of Raeford,

Wayne Farms, Sanderson Farms, and Pilgrim’s are each members of the North Carolina Poultry

Federation.

         305.   The Poultry Federation was established in 1954 as a non-profit trade organization

to represent the poultry and egg industries in Arkansas, Missouri, and Oklahoma. In 1998, the

Arkansas, Missouri, and Oklahoma organizations were consolidated and became The Poultry

Federation. The Poultry Federation claims to promote all poultry interests relating to production,

distribution, merchandising, and consumption of poultry, and poultry products. It disseminates




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information relating to the various phases of the Broiler industry to improve and expand markets,

to increase efficiency in production and marketing, and to encourage and support research in

production and marketing of poultry. The Poultry Federation holds regular meetings each year,

including Board of Directors meetings with Defendants’ senior executives identified below.

Defendants Foster Farms, O.K. Industries, Inc., Pilgrim’s, Simmons Foods, Peco Foods, Tyson

Foods, George’s, Inc., and Wayne Farms are each members of the Poultry Federation.

         306.   The International Poultry Expo (“IPE”) was held annually from 2008-2012. The

IPE billed itself as “the networking hub of the world for the poultry industry.” The IPE was held

annually in late January in Atlanta, Georgia. Defendants’ and the Producer Co-Conspirators’

senior executives, and numerous mid-level executives and other employees, attended the IPE

each year. The International Producers and Processors Expo (“IPPE”) is the world’s largest

annual poultry, meat, and feed industry event. IPPE held its first event in January 2013 and

combined three previously separate expos – the IPE, the International Feed Expo, and the

International Meat Expo.    According to the IPPE’s website, a wide range of international

decision-makers attend this annual event to network and become informed on the latest

technological developments and issues facing the industry. The 2015 IPPE featured more than

7,245 international visitors from over 103 countries, including attendees from Chile, France,

Singapore, and Australia. IPPE indicates that Defendants and co-conspirators each sent their

“Top Management” to the 2014 IPPE in January 2014. The most popular panel each year is the

“market intelligence” forum, which features an Agri Stats executive speaking regarding the

Broiler industry. Similarly, Defendants’ and the Producer Co-Conspirators’ senior executives

attended IPPE in 2015 and 2016.




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          307.   The International Poultry Council (“IPC”) was formed in 2005 and is composed

of national trade associations from 23 countries, as well as 40 individual companies that are

“Associate” members. The IPC website bills the organization as the “voice of the global poultry

industry” and its mission is to “strengthen communication between the industries of different

countries.” The NCC, USAPEEC, and USPOULTRY are members of the IPC on behalf of

United States poultry producers, along with individual company members of the IPC, including

Tyson, Cobb-Vantress (a Tyson subsidiary), Sanderson Farms, and JBS S.A. (Pilgrim’s parent

company). Additionally, the Chilean poultry trade association (“APA”) and the Australian

Chicken Meat Federation (“ACMF”) are also members of the IPC.

                      b.   Overseas Distribution Solutions.

          308.   Overseas Distribution Solutions (“ODS”) is a Webb Pomerene10 organization

founded by a group of Defendants in 1999. A Webb Pomerene organization is an association of

exporters that is exempt from certain provisions of the Sherman Antitrust Act while engaging in

conduct to promote United States trade abroad. A Webb Pomerene organization may not engage

in importation or sales within the United States, however, and its members may undertake what

would otherwise be considered actionable collusive conduct only to export similar products.


          309.   ODS continued to operate at least through 2011.         ODS membership by

Defendants has included Defendants Wayne Farms, Peco Foods, Sanderson Farms, Pilgrim’s,

and Tyson, as well as Cagle’s. The principal office for ODS was located for much of the Class

Period in the same town as Sanderson Farms’ headquarters – Laurel, Mississippi.

          310.   While originally a member of ODS around the time it was founded, Tyson

withdrew from ODS some time prior to the start of the Class Period. However, Tyson re-joined

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     Webb Pomerene Act of 1918, 15 U.S.C. §§ 61-66.



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ODS in 2010, but then inexplicably withdrew within a few months. Within a few years of

Tyson’s sudden departure, ODS disbanded and stopped filing for Webb Pomerene status.

         311.   While ODS had a mandate under the Webb Pomerene Act to have no impact on

the U.S. domestic market, Broiler industry executives recognize it is inevitable that exports will

impact U.S. domestic Broiler prices. For instance, former Pilgrim’s CEO Dr. Don Jackson has

noted that “the broiler market is global in nature. Obviously, the U.S. business generally has

more volume obviously going into the domestic market, but both the domestic and export makes

up the market. And at times, the export market can be very impactful favorably or unfavorably

to the U.S. market.” Therefore, according to the testimony of one of Defendants’ own CEOs, it

was impossible for ODS to comply with the Webb Pomerene requirement that ODS not impact

domestic prices for U.S. Broilers.

                    c.   Investor Conferences.

         312.   Defendants’ CEOs and senior executives participate in numerous investor

conferences organized by Wall Street analysts, providing further opportunities to meet and

communicate with one another. Such conferences are held on an annual and/or ad hoc basis

including, but not limited to, the Goldman Sachs Global Staples Forum (held every May), Bank

of America Merrill Lynch Global Agriculture Conference (held every February), BMO Capital

Markets Annual Ag & Protein Conference (held every May), BMO Capital Markets Conference

(held every May), BMO Farm to Market Conference (held every May), Urner Barry Annual

Executive Conference and Marketing Seminar (held every April or May), and JP Morgan Basic

Materials Conference (held every June).

                    d.   Competitor Plant Tours.

         313.   Defendants also permitted one another to tour each other’s Broiler plants, which

revealed confidential business methods employed by a company. While such tours were often


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framed as “best practices” information exchanges, they permitted the opportunity to conspire

among senior executives.

         314.   Defendants also permit employees to regularly move between companies without

non-compete limitations or confidentiality agreements that would protect a company’s

(seemingly) proprietary business knowledge and customer base. For example, Dr. Don Jackson

was President of Foster Farms’ Poultry Division until December 2008, but then immediately

took a position as CEO of Pilgrim’s. Similarly, Clint Rivers, Pilgrim’s former President and

CEO until December 2008, left the company and became Senior VP of Operations and Supply

Chain Management for Perdue in 2009. Rivers then moved to Wayne Farms in 2012, where he

became Chief Operating Officer.      Greg Tatum served as CFO for Claxton Poultry, before

moving to Pilgrim’s in 2009 to serve as Senior VP of Business Development. Numerous other

high level and well as lower level executives move freely between Broiler companies with little

or no provision by Defendants to protect their confidential information.

                    e.   Merger, Acquisition, and Capital Financing Discussions.

         315.   Senior executives from Defendants had numerous opportunities to directly

communicate with one another regarding various mergers and acquisitions between 2008 and

2016. These merger and acquisition discussions include both completed agreements, such as

those described in Section VI(E)(4) of this Complaint, as well as proposed transactions that were

never completed.     In connection with mergers and acquisition discussions, due diligence

materials regarding confidential business information were shared between Defendants.

         316.   In addition, Defendants all rely on debt financing and merger and acquisition

services from the same small group of financial institutions. In the course of providing such

services, financial institutions obtain unusually detailed access to Defendants’ non-public




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operational information, including production and pricing information, which provides another

opportunity for Defendants to share confidential business information.

         317.   Complete information regarding the full scope of merger, acquisition, and capital

financing discussions, communications, and due diligence information exchanged presently is

known only to Defendants and their agents.

                      f.   Other Business Dealings.

         318.   Defendants also engaged in various business dealings with one another, including

purchasing feed from one another and forming joint ventures for various purposes, such as

construction and operation of rendering plants.

                7.    There Are High Barriers To Entry In The Broiler Market.

         319.   The existence of high barriers to entry is one factor which makes markets

susceptible to collusion. A collusive arrangement that raises product prices above competitive

levels would, under basic economic principles, attract new entrants seeking to benefit from the

supracompetitive pricing. Where, however, there are significant barriers to entry, new entrants

are less likely. Thus, barriers to entry help facilitate the formation and maintenance of a cartel.

         320.   During the Class Period and continuing today, substantial barriers impede entry

into the Broiler market. A new entrant into the market would face costly and lengthy start-up

costs, including multi-million dollar costs associated with research and development,

construction of processing plants, feed mills, hatcheries, equipment, energy, transportation

distribution infrastructure (aka, “rolling stock”), skilled labor, experienced management, a skilled

contract-farmer base in a specific geographic area, long-standing customer relationships, safety

and quality assurance, and regulatory approvals relating to environmental, worker safety, and

food safety issues.




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         321.   Defendants themselves acknowledge the substantial costs of entering the market

and view it as important that new entrants not be able to purchase closed facilities. For example,

when the State of Louisiana pressured Pilgrim’s to sell its closed Farmerville Broiler complex,

Pilgrim’s executives expressed concern about any state assistance to the buyer to purchase the

Farmerville Broiler complex because such assistance could substantially reduce the buyer’s cost

basis therein, which could then permit the buyer to flood the market with low-cost Broilers.

         322.   The price of construction of a new integrated Broiler processing complex

(hatchery, feed mill, and processing plant) able to compete on price with current integrated

producers is relatively high. Even for a current market participant, such as the third-largest

producer (Sanderson Farms), construction of a new Broiler complex (i.e., feed mill, hatchery,

and processing plant) in 2010 was estimated to cost $100-$125 million. However, these costs

fail to account for other hurdles to new market participants, discussed above.

         323.   The barriers to entry in the Broiler industry have proved insurmountable for

potential new market entrants. No company has created a new poultry company from scratch in

decades. Further, when one foreign meat company (a Ukrainian company, Omtron) tried to enter

the U.S. market in February 2011 by buying a portion of the assets of bankrupt Broiler producer

Townsend’s, Omtron invested $35 million to improve the facility’s processing operations, but

went bankrupt only five months after making the purchase.

         324.   A number of large foreign meat conglomerates have acquired U.S. Broiler

producers in the past decade, including Brazil’s JBS S.A. (Pilgrim’s), Mexico’s Industrias

Bachoco (O.K. Foods), Belgian company Continental Grain Company (Wayne Farms), and

Marfig Alimentos S.A. (Keystone Foods). However, each of these foreign meat conglomerates

were already large players in the global meat industry and simply continued operating their pre-




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existing U.S. Broiler company as a subsidiary. Ownership of U.S. Broiler subsidiaries by such

large, well-financed conglomerates deter entry by smaller, non-globalized companies that might

want to enter the U.S. Broiler production business.

         325.   A further barrier to new entrants is the unwillingness of large vertically integrated

producers to sell an idled Broiler complex, which also keeps open the threat that an integrated

producer will restart a closed Broiler complex. Pilgrim’s has been explicit about this threat to

new market entrants. For instance, in a February 2014 earnings call, Pilgrim’s was asked

whether it had any plans to sell “a couple of idled U.S. facilities . . . to use that as a source of

capital,” to which Pilgrim’s CFO Fabio Sandri replied “[n]o. We are thinking those are held

defensive, so we don’t plan to sell them in this short-term or in the near future.” Such a threat of

restarting idled facilities, rather than selling those facilities, represents a substantial barrier to

entry for new market participants because an existing Broiler producer can merely restart a

closed mill to drive down prices and run a new entrant out of business.

                8.   Defendants Have Similar Cost Structures And Work Collaboratively To
                     Share Cost Information.

         326.   Another factor antitrust law and economics have identified as making markets

susceptible to price-fixing is similar cost structures. The majority of production costs for Broiler

producers are variable. All other factors being equal, when variable costs are a high percentage

of production costs, there is less incentive for a producer to operate its facilities at full capacity,

and this may allow a cartel to boost prices artificially with greater success than when fixed costs

are the largest component of production costs.

         327.   The single largest cost component of producing Broilers is feed, which primarily

consists of soybean meal and corn. Broiler feed prices have varied widely from 2007-2016,

reaching 71% of the cost of growing Broilers in 2012, but falling to only about 50% by 2014.



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         328.   Input costs other than feed include processing plant labor costs (~15%), materials

(~11%), and capital equipment (~2.5%). Labor costs have declined significantly over the past

two decades for Defendants, while at the same time labor productivity has substantially

increased.

         329.   Broiler feed costs have been decreasing sharply since record highs in 2012. For

instance, prices for soybean meal were down 10% in 2014. Since January 1, 2008, corn prices

have declined roughly 21% and soybean prices have declined 13%. During the same period,

Broiler prices increased roughly 50%.

         330.   Defendants and their Producer Co-Conspirators have relatively similar cost

structures. The technology and process of industrial scale growing and processing Broilers is

well known and Defendants and their Producer Co-Conspirators employ the same types of

equipment and processes in the production process. Defendants also have only three companies

from which they can obtain breeder stock from which to raise Broilers, so there are very limited

options with respect to purchasing the most cost efficient Broiler genetic lines. Similarly,

Defendants all purchase corn and soybeans on the open market, so they have limited ability to

obtain substantially different pricing on these key variable cost inputs for their Broilers.

         331.   Defendants use Agri Stats to share extraordinarily detailed cost information (as

discussed below), so they are able to constantly realign their cost structures with one another.

Agri Stats permits each Defendant to have extremely unusual knowledge of competitor costs and

to make adjustments to standardize each company’s cost structure across all Agri Stats

participants.

         332.   Defendants engage in a program of “feedmill cross-testing” in which some

Defendants exchange feed and chicks with one another for the purported purpose of determining




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which Defendants’ feed and/or chicks have superior qualities. Defendants claim this strategy

helps them maximize efficiency. However, it is not economically rational in a truly competitive

market for a producer to provide its proprietary feed mixes and/or chicks to its competitor,

thereby giving away any competitive cost advantage over its competitors.

         333.   Another sign that Defendants do not view production costs as secret is the fact

that it is not unusual for Defendants to permit competitor’s CEOs access to each other’s

production complexes. In a competitive industry, production methods should be closely guarded

to protect proprietary methods of production that save a company money and give it a

competitive advantage over its competitors. However, this is not the case in the Broiler industry.

For example, from April 19-21, 2013, Pilgrim’s President & CEO Bill Lovette, Perdue Chairman

of the Board Jim Perdue, and Sanderson Farms President & COO Lampkin Butts attended a three

day long “Chicken Media Summit” in North Carolina that included visits by attendees to a

Sanderson Farms growhouse and processing plant. Similarly, from April 19-21, 2015, another

Chicken Media Summit was sponsored by the NCC and USAPEEC and included tours of

Perdue’s operations and panel discussions with Defendants’ senior executives.

   F. Since 2008 Defendants’ Collusion Has Led to Unprecedented Capacity Reductions,
      Artificially High Prices, and Record Profits.

         334.   As described above, Broiler prices have been artificially inflated since 2008,

despite a historic trend of boom and bust cycles for Broilers as producers oversupply the market

in response to price increases, leading to low single-digit profit margins in the Broiler industry.

As one industry observer noted, “[t]he profit margins of the nation’s biggest meat packers rose

dramatically between 2008 and 2010 (the most recent year for which good data is available),

even as the national economy cratered. Tyson Foods, the nation’s biggest meat company,




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reported record profits of $778 million last year [i.e., 2013] as the company hiked prices for beef,

pork, and chicken.”

         335.   The historic pattern of annual increases in Broiler production was so entrenched

over decades of experience by the 2000s that one widely repeated quip in the industry was that

there were now only three things certain in life: “Death, taxes and 3% more broilers.” A leading

industry publication noted in early 2009 that “[b]roiler production in the U.S. used to be just like

government spending, it never went down and cutbacks only resulted in slowing the rate of

growth, but not anymore” because “[f]or the first time in decades, total broiler production in

2008 remained virtually unchanged from the year before. WATT PoultryUSA 2008 rankings data

show the industry’s total weekly ready-to-cook (RTC) production at 724.05 million pounds, just

slightly more than the 723.71 million RTC pounds per week reported at the end of 2007.”

         336.   During a February 12, 2015, earnings call, Pilgrim’s President & CEO Bill

Lovette summed up the restriction of supply which Defendants had implemented since 2008: “I

looked at some numbers supplied by Agri Stats earlier in the week and found some interesting

facts. If you go back to 2008, the industry slaughtered 8.35 billion head. And by 2011, that

slaughtered head had declined by approximately 8% to 7.7 billion. And it’s actually remained

about that same level through 2014 at about 7.7 billion. If you look at live weight pounds

produced, it was 47.1 billion in 2008. It declined to 45.06 billion in 2011. And in 2014, for the

first time since 2008, it reached 47.3 billion, so only 200 million more pounds above 2008 levels.

And then on the average weight side, the average weight in 2008 was 5.64, and it’s averaged just

above 6 from 2011 through 2014. So with all of that data in mind, what it tells me is the industry

remains fairly disciplined on the supply side and demand has been increasing for chicken against

the backdrop of increasing beef and pork supplies.”




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   G. Defendants Reduced Their Own Production And Used Direct Purchases of Broilers
      To Reduce Industry Supply.

         337.   Economic theory and good business strategy suggests that relying upon one’s

competitors to meet a company’s own commitments to its customers is not rational, as the

competitor can decide to cut out the middleman and sell directly to the end customer.

Nevertheless, Tyson, Fieldale Farms, Koch Foods, and other Defendants have created a system

of inter-dependence whereby some Broiler companies purposely under-produce Broilers on the

assumption their competitors will sell them what they need.

         338.   Defendants use direct purchases of Broilers from one another and from smaller

Broiler producers to meet each company’s own sales needs. This permits Defendants to soak up

excess supply that could depress prices in the market and also facilitates the opportunity to

expressly discuss prices with competitors. Such purchases also permit companies to maintain

their market share despite reducing their own production. Additionally, in many instances large

inter-Defendant purchases are negotiated by CEOs or other senior level executives of

Defendants, providing an additional opportunity for such individuals to conspire.

         339.   Further, Defendants’ participation in Agri Stats gives them visibility into each

other’s profitability, operating margins, and supply that no ordinary customer could hope to

achieve.

         340.   In 2011, as noted above in Section VI(D)(5), Tyson began using what was

described as a “very unique strategy,” called “Buy vs. Grow.” Tyson’s strategy essentially treats

the industry supply as though it were for a single unified company, rather than competing

businesses that would rather sell self-produced product to a customer than a competitor.

         341.   What makes Tyson’s program exceptionally “unique” is that only a few years

before adopting a “Buy vs. Grow” strategy, Tyson declared such a strategy to be “stupid”



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because it would be subsidizing a competitor’s growth. Tyson’s Executive Vice President &

CFO, Wade Miquelon explained on an April 29, 2008, earnings call that “I think what we said

along is we’re going to match our supply and demand. We’re not going to cut beyond that and

then go out and buy open market meat to subsidize other people’s growth.” Therefore, Tyson’s

change in view towards open market purchases suggests it had confidence by 2011 that its

competitors would maintain their production levels and not grow.

         342.   In a November 5, 2012, interview, Fieldale Farms President Thomas Hensley

noted his company was also pursuing a strategy to buy up excess supply from its competitors,

stating that “[i]f you don’t have a home for your chickens on Monday morning, you shouldn’t

have those chickens. Now we know where all our chickens are going. So we are buying chickens

in that lower price area instead of selling them. So, no expansion for us.”

         343.   By the end of 2014, Tyson reported it was buying over 4 million pounds of

Broilers on the open market each week. Four million pounds of Broilers per week is more than

any of the 24th-30th largest Broiler companies produce on a weekly basis, so the amount of

Tyson’s purchases was quite significant in terms of volume.

         344.   During the first part of 2015, Tyson increased its Buy vs. Grow purchases by

50%, expanding Tyson’s purchases from competitors to unprecedented levels.

         345.   Tyson announced plans in May 2015 to increase its Buy vs. Grow strategy to 10

percent of its sales in the second half of 2015 and 2016. Ten percent of Tyson’s 2014 pounds

RTC is 17.6 million pounds per week, a volume that by itself would dwarf the entire average

weekly production of any of the 15th-30th largest Broiler producers. Notably, Tyson also

announced in May 2015 that it planned to reduce its production after July 2015 and keep

production flat through 2016 by increasing its Buy vs. Grow purchases.




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         346.   Upon information and belief, Defendants made use of Broiler purchases from and

purchase contracts between one another and smaller Broiler producers to reduce their own

production while soaking up excess supply from competitors.

         347.   Defendants’ use of direct purchases from one another and from smaller Broiler

producers provided Defendants an uninterrupted flow of supply and pricing information and

opportunities to communicate directly with one another.

   H. Defendants Made A Coordinated Move Away From Fixed-Price Contracts To
      Contracts That Changed Prices Quarterly Or Followed Broiler Price Indexes.

         348.   A coordinated move away from fixed price contracts to contracts that permit

prices to fluctuate with an indexed public market price helps facilitate an antitrust conspiracy.

See In re High Fructose Corn Syrup Antitrust Litig., 295 F.3d 651, 659 (7th Cir. 2002). This is

precisely what occurred in the Broiler market during the Class Period.

         349.   For several years prior to the Class Period, many vertically integrated Broiler

producers offered some customers long-term fixed-price contracts of a year or more. This

guaranteed customers a fixed price, but also prevented Broiler producers from being able to

realize market price increases that would naturally result from their planned supply cuts.

         350.   Starting around January 2008, senior executives from Koch Foods, Pilgrim’s,

Perdue, Sanderson Farms, and Tyson Foods publicly announced an effort to reduce annual fixed-

price contracts. This change coincided with Defendants’ efforts to reduce Broiler industry

supplies so as to drive Broiler market prices higher.

         351.   On January 28, 2008, Tyson CEO Dick Bond announced on an earnings call that

Tyson was looking at shortening its fixed price contracts, and by June 2009 Tyson reported it

had “dramatically” shortened the amount of fixed-price contracts over 90 days.




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         352.   On January 29, 2008, Pilgrim’s CFO Rick Cogdill reported on an earnings call

that Pilgrim’s had started moving away from fixed-price contracts, but Pilgrim’s moves were

being held back by legacy fixed-price contracts entered into by Gold Kist prior to its acquisition

by Pilgrim’s in late 2006. Cogdill also noted that “in a situation like where we are now where

we need to drive commodity prices up, that [i.e., having less fixed price contracts] is going to

give us the opportunity for more immediate benefit to our P&L than what we would have had

say, historically three year[s] ago, when a higher percentage was fixed price.” Pilgrim’s later

reported that by March 2012 it had reduced its exposure to fixed price contracts, with most

contracts now market-based or including a reset provision linked to the underlying commodity.

By 2014, Pilgrim’s reported that less than 5% of all its contracts were 12-month fixed price

contracts.

         353.   On July 28, 2008, Perdue spokesperson Julie DeYoung told an industry

publication that Perdue was looking to shorten its contract terms, stating, “the company is also

seeking to raise prices and shorten its contracts.”

         354.   Sanderson Farms’ CEO Joe Sanderson noted in a July 31, 2008, earnings call that

the industry may move towards “shorter term agreements.”

         355.   Industry observers noted the trend of Broiler producers moving away from fixed-

price contracts. For instance, a December 2013 report by Stephens, Inc. analyst Farha Aslam

noted that “[w]ith volume growth generally limited, companies are developing more

sophisticated strategies to generate profits . . . . ‘Rather than annual fixed price contract[s] that

are negotiated every fall, companies are partnering with customers and creating contracts that

can be multi-year in duration. Contracts are now being negotiated all year long and employ a

wide variety of pricing methodologies.’” This confirms that even contracts which are long-term




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in duration are not “fixed” so as to prevent price increases when coordinated supply reductions

drive up Broiler market price indices.

                           VII. CLASS ACTION ALLEGATIONS

         356.   Plaintiffs bring this action on behalf of themselves and as a class action under the

provisions of Rule 23(a), (b)(2) and (b)(3) of the Federal Rules of Civil Procedure on behalf of

the members of the following Plaintiff Class:

                All persons who purchased Broilers directly from any of the Defendants or
                any co-conspirator identified in this action, or their respective subsidiaries
                or affiliates for use or delivery in the United States from at least as early as
                January 1, 2008 until the Present. Specifically excluded from this Class
                are the Defendants; the officers, directors or employees of any Defendant;
                any entity in which any Defendant has a controlling interest; and any
                affiliate, legal representative, heir or assign of any Defendant.         Also
                excluded from this Class are any federal, state or local governmental
                entities, any judicial officer presiding over this action and the members of
                his/her immediate family and judicial staff, any juror assigned to this
                action, and any co-conspirator identified in this action.

         357.   Class Identity: The Plaintiff Class is readily identifiable and is one for which

records should exist.

         358.   Numerosity: Plaintiffs do not know the exact number of class members because

such information presently is in the exclusive control of Defendants and their Producer Co-

Conspirators. Plaintiffs believe that due to the nature of the trade and commerce involved, there

are thousands of Class members geographically dispersed throughout the United States, such that

joinder of all class members is impracticable. For example, Pilgrim’s alone reports that it has

over 5,000 customers.




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         359.   Typicality: Plaintiffs’ claims are typical of the claims of the members of the

Plaintiff Class because Plaintiffs purchased Broilers directly from one or more of the Defendants

or their Producer Co-Conspirators, and therefore Plaintiffs’ claims arise from the same common

course of conduct giving rise to the claims of the members of the Class and the relief sought is

common to the Class.

         360.   Common Questions Predominate: There are questions of law and fact common to

the Class, including, but not limited to:

                A.     Whether Defendants and their co-conspirators engaged in an agreement,
                       combination, or conspiracy to fix, raise, elevate, maintain, or stabilize
                       prices of Broilers sold in interstate commerce in the United States;
                B.     The identity of the participants of the alleged conspiracy;
                C.     The duration of the conspiracy alleged herein and the acts performed by
                       Defendants and their co-conspirators in furtherance of the conspiracy;
                D.     Whether the alleged conspiracy violated Section 1 of the Sherman Act, 15
                       U.S.C. § 1;
                E.     Whether the conduct of Defendants and their co-conspirators, as alleged in
                       this Complaint, caused injury to the business or property of the Plaintiffs
                       and the other members of the Plaintiff Class;
                F.     The effect of Defendants’ alleged conspiracy on the prices of Broilers sold
                       in the United States during the Class Period;
                G.     Whether Plaintiffs and other members of the Class are entitled to, among
                       other things, injunctive relief and if so, the nature and extent of such
                       injunctive relief; and
                H.     The appropriate class-wide measure of damages.

These and other questions of law or fact which are common to the members of the Class

predominate over any questions affecting only individual members of the Plaintiff Class.


         361.   Adequacy: Plaintiffs will fairly and adequately protect the interests of the Class in

that Plaintiffs’ interests are aligned with, and not antagonistic to, those of the other members of

the Class who directly purchased Broilers and Plaintiffs have retained counsel competent and


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experienced in the prosecution of class actions and antitrust litigation to represent themselves

and the Class.

         362.    Superiority: A class action is superior to other available methods for the fair and

efficient adjudication of this controversy since individual joinder of all damaged Class members

is impractical. Prosecution as a class action will eliminate the possibility of duplicative litigation.

The relatively small damages suffered by individual Class members compared to the expense

and burden of individual prosecution of the claims asserted in this litigation means that, absent a

class action, it would not be feasible for Class members to seek redress for the violations of law

herein alleged. Further, individual litigation presents the potential for inconsistent or

contradictory judgments and would greatly magnify the delay and expense to all parties and to

the court system. Therefore, a class action presents far fewer case management difficulties and

will provide the benefits of unitary adjudication, economy of scale and comprehensive

supervision by a single court.

         363.    The Class is readily definable and is one for which records likely exist in the files

of Defendants and their co-conspirators.

         364.    The prosecution of separate actions by individual Class members would create the

risk of inconsistent or varying adjudications, establishing incompatible standards of conduct for

Defendants.

         365.    Defendants have acted on grounds generally applicable to the Class, thereby

making final injunctive relief appropriate with respect to the Class as a whole.

                                 VIII.   ANTITRUST INJURY

         366.    Defendants’ conspiracy had the following effects, among others:

                 A.     Price competition has been restrained or eliminated with respect to
                        Broilers;



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                B.     The prices of Broilers have been fixed, raised, stabilized, or maintained at
                       artificially inflated levels; and
                C.     Purchasers of Broilers have been deprived of free and open competition.

         367.   During the Class Period, Plaintiffs and the members of the Class paid

supracompetitive prices for Broilers.

         368.   By reason of the alleged violations of the antitrust laws, Plaintiffs and the

members of the Class have sustained injury to their businesses or property, having paid higher

prices for Broilers than they would have paid in the absence of Defendants’ illegal contract,

combination, or conspiracy, and as a result have suffered damages.

         369.   This is an antitrust injury of the type that the antitrust laws were meant to punish

and prevent.

 IX.     THE STATUTE OF LIMITATIONS DOES NOT BAR PLAINTIFFS’ CLAIMS

   A. Plaintiffs Did Not And Could Not Have Discovered Defendants’ Anticompetitive
      Conduct.

         370.   Plaintiffs and the members of the Class had neither actual nor constructive

knowledge of the facts constituting their claim for relief. Plaintiffs and members of the Class did

not discover, and could not have discovered through the exercise of reasonable diligence, the

existence of the conspiracy alleged herein until shortly before filing this Complaint. Defendants

engaged in a secret conspiracy that did not reveal facts that would put Plaintiffs or the Class on

inquiry notice that there was a conspiracy to fix prices for Broilers.

         371.   The Adams v. Pilgrim’s Pride case was originally filed as an adversarial

bankruptcy proceeding against Pilgrim’s in 2009, but was stayed pending resolution of Pilgrim’s

bankruptcy. The bankruptcy court subsequently allowed the Adams case to proceed. The

Amended Complaint in the Adams case was filed on December 7, 2009, and like the original




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complaint, disclosed nothing about a horizontal conspiracy among Broiler producers to fix the

price of Broilers.

         372.   On February 18, 2014, “investigative reporter Christopher Leonard [published

The Meat Racket,] the first-ever account of how a handful of companies have seized the nation’s

meat supply.” The book was credited with being the first to explain how the meat industry had

changed over the past forty years into an “oligarchy controlling much of the food we eat.” While

The Meat Racket did not conclude that Broiler producers were engaged in a horizontal

conspiracy, it did suggest for the first time in a widely circulated book that conditions in the

Broiler industry had become susceptible to collusion.

         373.   In addition, five recent investigations by foreign governments into price-fixing

conspiracies in Broiler markets suggest that such price-fixing was possibly taking place in the

United States.       French, Chilean, Singaporean, Australian, and Indonesian price-fixing

investigations in the past two years (described in sub-paragraphs A-E) have indicated that

collusion is evidently rampant in Broiler industry. In particular, the large fine levied by France’s

competition authority against 21 separate companies and 2 other organizations suggests that even

in a Broiler industry with almost two dozen participants, a price-fixing conspiracy is plausible in

the modern, industrialized reality of Broiler production.

                A.     Chile: In a September 25, 2014, decision, Chile’s Tribunal de Defensa de
                       la Libre Competencia (Court for the Defense of Free Competition)
                       concluded that three Chilean Broiler producers had colluded to limit the
                       production of Broiler meat offered to the domestic market and allocated
                       market shares of production and marketing of Broiler. The Court found
                       that “the summoned poultry companies, by demand projections developed
                       in conjunction with the APA[, a Chilean Broiler trade association],
                       pursued the range in which Broiler prices should fluctuate through
                       coordinated definition of a certain level of production.” Based on the
                       projected future demand for broilers, each conspirator would be allocated
                       a production quota. The collusion was established through emails and



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                      other documents seized by the competition authority. The Court imposed
                      fines equivalent to roughly $85 million and disbanded a Broiler trade
                      association used by the defendants to facilitate their conspiracy.
                B.    Australia: On February 2, 2015, The Australian newspaper disclosed that
                      the Australian Competition & Consumer Commission had initiated an
                      investigation into price-fixing in the Australian broiler industry. The
                      investigation is ongoing.
                C.    Singapore: On March 7, 2015, a local newspaper reported for the first time
                      that the Competition Commission of Singapore (CCS) was investigating
                      price-fixing among live chicken slaughtering and fresh chicken
                      distribution by Malaysian based broiler producers and the Poultry
                      Merchants’ Association. On March 8, 2016, the Competition Commission
                      of Singapore charged thirteen fresh chicken companies that make up
                      ninety percent of the market in Singapore with engaging in anti-
                      competitive discussions from 2007 through 2014. The matter is ongoing.
                D.    France: On May 6, 2015, France’s competition authority, l’Autorité de la
                      Concurrence announced that after an investigation into the entire French
                      Broiler industry, it had decided to impose approximately $17.18 million in
                      fines on 21 companies and 2 organizations for price fixing. The French
                      competition authority concluded that between 2000-2007, French Broiler
                      producers held a large number of meetings to discuss the prices to charge
                      their customers, as well as other business details, all for the purpose of
                      gaining a stronger position in price negotiations with France’s larger
                      supermarket chains. One of the French broiler company conspirators,
                      Doux, collaborated with Pilgrim’s parent company, JBS, S.A., in the
                      Brazilian broiler market.
                E.    Indonesia: On February 3, 2016, Indonesia’s Business Competition
                      Supervisory Commission (KPPU) announced that it had compiled enough
                      evidence of price-fixing in the poultry industry to summon 12 companies
                      who constitute 90 percent of Indonesia’s poultry production. The
                      investigation is ongoing.

         374.   The Wall Street Journal article on January 18, 2016 regarding possible

manipulation by Defendants of the Georgia Dock Broiler price index raised the possibility of

collusion by Defendants to artificially raise, fix, or maintain Broiler prices. Subsequently, the

series of articles published between November 3 and 17, 2016, detailed for the first time that the

USDA had discontinued its reliance on the Georgia Dock price because its prices could not be



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verified. In an April 2016 letter to the Securities and Exchange Commission and the November

8, 2016, Washington Post article, Defendant Sanderson Farms continued to represent that the

Georgia Dock price was “reliable,” in order to induce purchasers of Broilers to believe the price

was not subject to illegal manipulation by Defendants and their Producer Co-Conspirators.

Further, not until November 10, 2016, was it disclosed publicly that Defendants and the Producer

Co-Conspirators had formed a secret Georgia Dock Advisory Committee that facilitated

opportunities for executives to meet and also discuss their scheme to fix the Georgia Dock price.

The existence of this Committee was not known to the Plaintiffs, nor would they have been able

to learn of how they conducted themselves in their secret meetings. Finally, not until November

17, 2016, was it publicly disclosed that the Florida Attorney General’s Office was investigating

the accuracy of the Georgia Dock price index.

         375.   One way to assess whether the public was aware of facts suggesting an antitrust

conspiracy among Defendants is to analyze the reaction of the market to the filing of the first

complaint in this action. In a reaction widely seen as driven exclusively by the filing of the

Maplevale Farms complaint, on October 7, 2016, Defendant Tyson Food, Inc.’s stock price

dropped as much as 11.5%, while Defendants Sanderson Farms and Pilgrim’s Pride dropped

6.9% and 6.1% respectively. Similarly, the November 3, 2016, the New York Times article,

published online that evening, revealed for the first time the USDA’s inquiry regarding the

Georgia Dock price index and raised the possibility that the index had been manipulated by

Broiler companies. The next business day, the stock prices of Defendants Tyson Food, Inc.,

Sanderson Farms, and Pilgrim’s Pride dropped 4%, 7%, and 8%, respectively, which media

reports blamed on fallout from the disclosure of the USDA inquiry regarding the Georgia Dock

price in the New York Times article.




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         376.   Defendants’ anticompetitive conspiracy, by its very nature, was self-concealing.

Broilers are not exempt from antitrust regulation, and thus, before these recent events Plaintiffs

reasonably considered it to be a competitive industry. Accordingly, a reasonable person under

the circumstances would not have been alerted to begin to investigate the legitimacy of

Defendants’ Broilers prices before these recent events.

         377.   Plaintiffs exercised reasonable diligence. Plaintiffs and the members of the Class

could not have discovered the alleged conspiracy at an earlier date by the exercise of reasonable

diligence because of the deceptive practices and techniques of secrecy employed by Defendants

and all of their co-conspirators to conceal their combination.

   B. Defendants Actively Concealed The Conspiracy.

         378.   Throughout the Class Period set forth in this Complaint, Defendants and their Co-

Conspirators effectively, affirmatively, and fraudulently concealed their unlawful combination

and conspiracy from Plaintiffs and the Class members.

         379.   The combination and conspiracy alleged herein was fraudulently concealed by

Defendants by various means and methods, including, but not limited to secret meetings,

surreptitious communications between Defendants by the use of the telephone or in-person

meetings at trade association meetings (and elsewhere) in order to prevent the existence of

written records, limiting any explicit reference to competitor pricing or supply restraint

communications on documents, communicating competitively sensitive data to one another

through a “proprietary, privileged, and confidential” system that kept both the content and

participants in the system secret, and concealing the existence and nature of their competitor

supply restraint and price discussions from non-conspirators (including customers).




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         380.   Defendants used code words including “discipline” and “capacity discipline” in

their public statements to conceal their conspiracy and signal one other in furtherance of their

conspiracy to restrain production while shielding their conspiracy from detection or suspicion.

As alleged above, specific examples of the use of such coded language abound during the Class

Period, including (1) the National Chicken Council’s Annual Conference in October 2011 where

a report noted that panel members Clint Rivers of Perdue Farms, Bill Anderson of Keystone

Foods, Mike Helgeson of GNP, and Mark Kaminsky of Koch Foods noted that “[d]iscipline on

the supply side was one suggestion” to increase Broiler prices, (2) on a May 3, 2013, earnings

call, Pilgrim’s President & CEO Bill Lovette stated that “price is going to strengthen as supply

continues to be disciplined and constrained….and “we’ve done a good job so far of maintaining

discipline,” and (3) on a July 2016 earnings call Pilgrim’s CEO Bill Lovette noted that “I think

what we’ve seen with egg sets is absolutely a testament to the discipline of our industry that

we’ve seen the last really two to three years.”

         381.   As alleged above, in 2008, after years of boom and bust cycles of production

leading to the regular rise and fall of prices, the price of Broilers began an unprecedentedly

steady increase that continues through the filing of this Complaint. Defendants affirmatively and

falsely attributed the price increase to increases in the price of inputs, among other reasons.

These were pretexts used to cover up the conspiracy. In fact, these price increases were the

result of collusive conduct among Defendants, which was undisclosed at the time.

         382.   During the relevant period, Defendants affirmatively made numerous misleading

public statements falsely portraying the market for Broilers as a competitive one. For example,

Defendants provided testimony at workshops held by the U.S. Department of Justice and USDA

suggesting the Broiler industry was competitive and not subject to anti-competitive practices and




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agreements. This included testimony at a May 21, 2010 workshop of a National Chicken

Council-commissioned study by Dr. Thomas Elam, which stated that “the chicken industry is

competitive and thriving,” and has “[i]ntense competition” that promotes “product innovation

and lower prices for consumers.”

         383.   Defendants also repeatedly blamed the Renewable Fuels mandate for increased

Broiler prices, both through the NCC, other trade groups, and through press releases, speeches,

and other public statements by Defendants’ employees, rather than disclosing the existence of an

agreement to illegally restrain the supply of Broilers. Some instances of these pretextual

explanations by Defendants and their agents include:

                A.    On a January 29, 2008, earnings call, Pilgrim’s Interim CEO Clint Rivers
                      claimed that “the U.S. government continues its misguided policy of
                      subsidizing ethanol production at the expense of affordable food, and a
                      lower corn yield expectation by USDA will contribute to decrease corn
                      suppliers next year.”
                B.    On June 23, 2008, Wayne Farms President & CEO Elton Maddox said in a
                      statement that “the government’s food fuel mandate has created the need
                      for us to rationalize our business.”
                C.    On July 7, 2008, O.K. Foods announced production cuts due to “record
                      high prices for corn and soybean meal, which it attributed to the U.S.
                      government’s mandated ethanol policies.”
                D.    On June 24, 2009, Harrison Poultry President & CEO Mike Welch and
                      Claxton Poultry President Jerry Lane met in Washington DC and
                      encouraged elected officials to end the “mistake” of the ethanol subsidy.
                E.    In 2010, Foster Farms delayed an expansion due, allegedly, to corn prices.
                      Ira Brill, Foster Farm’s Director of Market Services, blamed the ethanol
                      mandate for the delay, stating that it “places enormous pressure on our
                      input costs, and for that reason we can’t go forward with our expansion
                      plans.”
                F.    On March 7, 2011, House of Raeford announced production cuts due to
                      increased prices. It stated that “if Congress will take action to cut
                      unreasonable government support for the ethanol industry, then grain
                      prices should decrease to a more manageable pricing level.”




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                G.     On March 15, 2011, Simmons announced downsizing at a plant due to
                       economics “resulting from high grain prices predominantly caused by corn
                       being used in ethanol.” Simmons cited ethanol policies again on June 27,
                       2011, when it laid off another 223 employees.
                H.     In an April 13, 2011, hearing before a congressional subcommittee,
                       Michael Welch (President and CEO of Harrison Poultry) stated that
                       production of broilers was threatened by the diversion of corn to fuel
                       production. Welch claimed that shifting corn back to feed would “allow
                       consumers of poultry products to continue to enjoy an ongoing, adequate
                       supply of animal protein at reasonable prices.” Welch repeated similar
                       claims in 2012 as well, citing increased corn costs resulting in “tens of
                       billions of dollars in increased costs for livestock and poultry producers
                       and food manufacturers.”
                I.     In September 2011, Phillip Green (Vice President of Commodities, Foster
                       Farms) testified on behalf of the American Feed Industry Association at a
                       public hearing and blamed increasing meat costs on the ethanol mandate.
                J.     On October 10, 2014, National Chicken Council President Mike Brown
                       wrote an op-ed citing the Renewable Energy Standard as the primary
                       reason for the poultry industry’s inability to increase production. Brown
                       cited the Renewable Fuel Standard again in a May 15, 2015 op-ed in the
                       Wall Street Journal.

         384.   To explain the shortage of Broilers since 2012, Defendants have provided a

variety of pretextual explanations, including the following: (a) a breeding issue with Broilers

during 2014, (b) a Russian ban of U.S. Broiler imports starting in 2014, and (c) a 2013 shortage

in supply due in part due to an Avian Flu outbreak in Mexico that caused a surge in demand for

hens to repopulate farms in Mexico (see, e.g., ¶ 251 above). However, these explanations were

pretextual and Defendants sought to hide their conspiracy from discovery by blaming Broiler

price increases on these factors rather than Defendants’ own collusive conduct.

         385.   Throughout the Class Period Defendants repeatedly cited increasing input costs as

a pretext for their collusion to restrain supply and increase prices. For instance, Defendants

repeatedly claimed that input cost increases during 2008 justified Broiler price increases.

However, while corn was $5/bushel in 2005-2006 and increased to $9 by May or June 2008, it



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quickly fell back to below $5/bushel by fall 2008. In fact, prior to 2008 there is a statistical

correlation between Broiler prices and corn prices, but during the Class Period there has been no

statistical correlation between Broiler and corn prices. In other words, despite Defendants’

pretextual explanations to the contrary, Defendants were not determining the price of Broilers

based on the input price for corn.

         386.   Another example of the pretextual nature of cost justifications for Broiler price

increases is a November 2012 interview, in which Fieldale Farm President Thomas Hensley was

asked whether he thought the recently concluded NCC Annual Conference focused too much

time on the Renewable Fuel Standard because eliminating the ethanol subsidy would not “move

the needle on corn supply and prices that much” and whether there was “any danger the industry

has focused too much on this as a magic bullet?” Hensley responded, “I think that’s accurate.

The best-case scenario is that corn would go down $1.25 per bushel and some people say it will

only go down 50 cents.”

         387.   The National Chicken Council has served as the mouthpiece for Defendants

publicized pretextual excuses for rising Broiler prices. Among other actions, the following

indicate an intent to deceive purchasers of Broilers into believing that input costs, rather than a

collusive agreement among Defendants to reduce supply, was the cause of rising Broiler prices:

                A.     Through the National Chicken Council, Defendants ensured that the
                       pretext for their production cuts and price increases, the ethanol mandate,
                       continued to be blamed for increased chicken prices rather than
                       Defendants’ secret conspiracy. A May 19, 2010, report by FarmEcon
                       LLC was commissioned by the NCC and concluded “[o]n the national
                       scale, it is the overall conclusion of this study that the chicken industry is a
                       competitive and thriving sector.” The NCC trumpeted the findings
                       through a press release on its website with the headline “Competition in
                       Broiler Sector Benefits Chicken Farmers, Companies, and Consumers,
                       Study Finds.”




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                B.     As noted above, Brown’s October 10, 2014, and May 15, 2015, op-eds in
                       national newspapers attempted to explain away why “current favorable
                       market conditions that would normally stimulate production to be
                       somewhat higher” were not doing so. These op-eds were intended to
                       convince purchasers of Broilers that input costs, rather than a secret
                       conspiracy, were to blame for increasing Broiler prices.
         388.   By virtue of the fraudulent concealment of their wrongful conduct by Defendants

and all of their co-conspirators, the running of any statute of limitations has been tolled and

suspended with respect to any claims and rights of action that Plaintiffs and the other Class

members have as a result of the unlawful combination and conspiracy alleged in this Complaint.

                X.   VIOLATION OF SECTION 1 OF THE SHERMAN ACT

         389.   Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

         390.   Defendants and all of their co-conspirators entered into and engaged in a

combination or conspiracy in unreasonable restraint of trade in violation of Section 1 of the

Sherman Act, 15 U.S.C. § 1.

         391.   Defendants’ acts in furtherance of their combination or conspiracy were

authorized, ordered, or done by their officers, agents, employees, or representatives while

actively engaged in the management of Defendants’ affairs.

         392.   At least as early as January 1, 2008, and continuing until present, the exact dates

being unknown to Plaintiffs, Defendants and all of their co-conspirators entered into a continuing

agreement, understanding and conspiracy in restraint of trade to fix, raise, stabilize, and maintain

prices for Broilers, thereby creating anticompetitive effects.

         393.   Defendants’ anticompetitive acts involved United States domestic commerce and

import commerce, and had a direct, substantial, and foreseeable effect on interstate commerce by

raising and fixing prices for Broilers throughout the United States.




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         394.   The conspiratorial acts and combinations have caused unreasonable restraints in

the market for Broilers.

         395.   As a result of Defendants’ unlawful conduct, Plaintiffs and the members of the

Class have been harmed by being forced to pay inflated, supracompetitive prices for Broilers.

         396.   In formulating and carrying out the alleged agreement, understanding and

conspiracy, Defendants and all of their co-conspirators did those things that they combined and

conspired to do, including but not limited to the acts, practices, and course of conduct set forth in

this Complaint. Defendants’ conspiracy had the following effects, among others:

                A.     Price competition in the market for Broilers has been restrained,
                       suppressed, and/or eliminated in the United States;
                B.     Prices for Broilers sold by Defendants, their divisions, subsidiaries, and
                       affiliates, and all of their Producer Co-Conspirators have been fixed,
                       raised, stabilized, and maintained at artificially high, non-competitive
                       levels throughout the United States; and
                C.     Plaintiffs and members of the Class who directly purchased Broilers from
                       Defendants, their divisions, subsidiaries, and affiliates, and all of their
                       Producer Co-Conspirators have been deprived of the benefits of free and
                       open competition in the purchase of Broilers.

         397.   Defendants took all of the actions alleged in this Complaint with the knowledge

and intended effect that their actions would proximately cause the price of Broilers on the spot

market to be higher than it would be but for Defendants’ conduct. Defendants also knew and

intended that such an artificial inflation of spot market prices would increase other Broiler

market prices, including those paid by Plaintiffs and members of the Class.

         398.   As a direct and proximate result of Defendants’ anticompetitive conduct,

Plaintiffs and members of the Class have been injured in their business or property and will

continue to be injured in their business and property by paying more for Broilers than they would

have paid and will pay in the absence of the conspiracy.



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         399.   The alleged contract, combination, or conspiracy is a per se violation of the

federal antitrust laws.

                                 XI.   REQUEST FOR RELIEF

         WHEREFORE, Plaintiffs demand judgment against Defendants as follows:

         400.   The Court determine that this action may be maintained as a class action under

Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, appoint Plaintiffs as Class

Representatives and their counsel of record as Class Counsel, and direct that notice of this action,

as provided by Rule 23(c)(2) of the Federal Rules of Civil Procedure, be given to the Class;

         401.   The unlawful conduct, conspiracy or combination alleged herein be adjudged and

decreed:

                A.        An unreasonable restraint of trade or commerce in violation of Section 1
                          of the Sherman Act; and
                B.        A per se violation of Section 1 of the Sherman Act;

         402.   Plaintiffs and the Class recover damages, to the maximum extent allowed under

federal antitrust laws, and that a joint and several judgment in favor of Plaintiffs and the

members of the Class be entered against Defendants in an amount to be trebled to the extent such

laws permit;

         403.   Defendants, their affiliates, successors, transferees, assignees and other officers,

directors, partners, agents and employees thereof, and all other persons acting or claiming to act

on their behalf or in concert with them, be permanently enjoined and restrained from in any

manner continuing, maintaining or renewing the conduct, conspiracy, or combination alleged

herein, or from entering into any other conspiracy or combination having a similar purpose or

effect, and from adopting or following any practice, plan, program, or device having a similar

purpose or effect;



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         404.   Defendants, their affiliates, successors, transferees, assignees and other officers,

directors, partners, agents and employees thereof, and all other persons acting or claiming to act

on their behalf or in concert with them, be permanently enjoined and restrained from in any

manner continuing, maintaining, or renewing the sharing of highly sensitive competitive

information that permits individual identification of company’s information;

         405.   Plaintiffs and the members of the Class be awarded pre- and post- judgment

interest as provided by law, and that such interest be awarded at the highest legal rate from and

after the date of service of this Complaint;

         406.   Plaintiffs and the members of the Class recover their costs of suit, including

reasonable attorneys’ fees, as provided by law; and

         407.   Plaintiffs and the members of the Class have such other and further relief as the

case may require and the Court may deem just and proper.

                             XII.    JURY TRIAL DEMANDED

         408.   Plaintiffs demand a trial by jury, pursuant to Rule 38(b) of the Federal Rules of

Civil Procedure, of all issues so triable.




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Dated: November 23, 2016

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